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                       Exhibit D
                              Part 1 of 2
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Speech/Gesture
Interface to a                                                                Rajeev Sharma
                                                                              Pennsylvania State University

                                                                              Michael Zeller

Visual-Computing                                                              University of Southern California

                                                                              Vladimir I. Pavlovic, Thomas S. Huang, Zion Lo,
                                                                              Stephen Chu, Yunxin Zhao, James C. Phillips, and

Environment                                                                   Klaus Schulten
                                                                              University of Illinois, Urbana-Champaign




           A     lthough recent years have witnessed
                 tremendous progress in 3D immersive
display and virtual reality, the corresponding human-
                                                           understand the molecules’ important properties. A poten-
                                                           tial benefit, for example, might be reducing the time to
                                                           discover new compounds for new drugs.
computer interaction (HCI) technologies have lagged
behind. Current interfaces involve heavy headsets,         Virtual environment testbed
datagloves, tethers, and other virtual reality devices,       The Theoretical Biophysics Group at the University of
which may deter or distract the user. To fully exploit     Illinois, Urbana-Champaign, built
VR’s potential for visualizing and interacting with com-   the virtual environment we are
plex information, users must be able to interact with      using: MDScope. MDScope is a set We developed a speech/
the virtual display in a more natural way (see the “Hand   of integrated software components
gestures” sidebar on the next page).                       that allows simulation and visual- gesture interface that uses
   In this article, we describe a bimodal speech/gesture   ization of biomolecular systems in
interface, which we have integrated in a 3D visual-        structural biology. As Figure 1 (next visual hand-gesture analysis
computing environment used by structural biologists.       page) shows, three separate pack-
This interface lets researchers interact with 3D graphi-   ages, which may be used individu- and speech recognition to
cal objects in a virtual environment using spoken words    ally or together, constitute the
and simple, free hand gestures. The reason we used a       MDScope environment:1                  control a 3D display in VMD,
particular virtual environment context was to set the
necessary constraints to make our analysis robust and      ■ The NAMD (Numerical Analysis a virtual environment for
to develop a command language that optimally com-            Molecular Dynamics) program, a
bines speech and gesture inputs. Our interface uses          molecular-dynamics program structural biology.
                                                             that runs in parallel on various
■ automatic speech recognition (ASR), aided by a             architectures and operating systems.
  microphone, to recognize voice commands;                 ■ The VMD (Visual Molecular Dynamics) program, a
■ two strategically positioned cameras to detect hand        molecular-visualization program that displays both
  gestures; and                                              static molecular structures and dynamic molecular
■ automatic gesture recognition (AGR), a set of com-         motion, as computed by programs such as NAMD.
  puter-vision techniques, to interpret those hand         ■ The MDComm (Molecular Dynamics Communication)
  gestures.                                                  software, which provides an efficient means of com-
                                                             munication between VMD and NAMD and lets VMD
The computer vision algorithms can extract the user’s        act as a graphical user interface to NAMD. Using NAMD
hand from the background, detect different finger posi-      as a computational engine, VMD uses MDComm to
tions, and distinguish meaningful gestures from unin-        provide an interface for interactive setup and display
tentional hand movements.                                    of a molecular-dynamics simulations on a remote
   Our main goal was to simplify model manipulation and      supercomputer or high-performance workstation.
rendering to make biomolecular modeling more playful.
Researchers can explore variations of their model and      The NAMD program
concentrate on biomolecular aspects of their task with-       Molecular-dynamics calculations are computation-
out undue distraction by computational aspects. They can   ally very expensive and require large amounts of
view simulations of molecular dynamics, play with dif-     memory to store the molecular structure, coordinates,
ferent combinations of molecular structures, and better    and atom-to-atom interaction lists. The challenge is to


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                Hand Gestures
                   The communication mode that seems most                 spawned active research toward video-based,
                relevant for manipulating physical objects is hand        noncontact gesture analysis that uses video
                motion, also called hand gestures. People use this        cameras and computer vision to interpret
                mode to act on the world, to grasp and explore            gestures. Despite some progress in vision-based
                objects, and to express ideas. Virtual objects,           gesture recognition,7 few systems integrate
                unlike physical objects, are under computer               gestures in a working application.
                control. Psychological experiments indicate that
                people prefer to use speech and hand gestures in
                a virtual environment so that they can interact
                without special training or special apparatus and         References
                concentrate more on the virtual objects and the           1. A.G. Hauptmann and P. McAvinney, “Gesture with
                tasks at hand.1 Several experimental systems study           Speech for Graphics Manipulation,” Int’l J. Man-Machine
                different aspects of this multimodality. One of the          Studies, Vol. 38, No. 2, Feb. 1993, pp. 231-249.
                earliest was the “Put-That-There” system,2 where a        2. R.A. Bolt, “Put-That-There: Voice and Gesture at the
                frame-based integration architecture fused spoken            Graphics Interface,” ACM Computer Graphics, Vol. 14,
                input and magnetically tracked 3D hand gestures.             No. 3, 1980, pp. 262-270.
                More recently, the QuickSet system integrated             3. P.R. Cohen et al., “QuickSet: Multimodal Interaction
                voice input with pen-based gestures to control               for Distributed Applications,” Proc. Fifth ACM Int’l Mul-
                military simulations.3 Other systems include                 timedia Conf., ACM Press, New York, 1997, pp. 31-40.
                VisualMan,4 Virtual-World, Artificial Life Interactive    4. J. Wang, “Integration of Eye-Gaze, Voice and Manual
                Video Environment,5 and Smart Rooms.6                        Response in Multimodal User Interface,” Proc. IEEE Int’l
                   To interact naturally in a VR environment, users          Conf. Systems, Man, and Cybernetics, IEEE Press, Piscat-
                need as few devices attached to them as possible.            away, N.J., 1995, pp. 3938-3942.
                However, most demonstrated gesture/speech                 5. P. Maes et al., “ALIVE: Artificial Life Interactive Video
                systems use some hand-held device or                         Environment,” Intercommunication, Vol. 7, Winter
                instrumented glove, which is often tethered with             1999, pp. 48-49.
                cables that connect the device to a computer. This        6. A. Pentland, “Smart Rooms,” Scientific American, Apr.
                hinders user ease in interacting with the                    1996, pp. 54-62.
                computer-controlled environment. A highly                 7. V.I. Pavlovic, R. Sharma, and T.S. Huang, “Visual Inter-
                specialized application domain, such as simulation           pretation of Hand Gestures for Human-Computer
                of surgery in a VR environment, might justify using          Interaction: A Review,” IEEE Trans. Pattern Analysis and
                such devices, but these cumbersome interface                 Machine Intelligence, Vol. 19, No. 7, July 1997, pp. 677-
                tools deter the everyday user. This problem has              695.



               MDScope                                                    Distributed Parallel Multipole Tree Algorithm (DPMTA).
                                                                          NAMD uses a spatial-decomposition algorithm to parti-
                     NAMD
                    Molecular                                             tion the task of computing the force on each atom
                    dynamics                                              among several processors. This algorithm subdivides
                   computation                                            the space occupied by the molecule into uniform cubes
                         MDCOMM                                           (or patches), as shown in Figure 2. The algorithm then
                       VMD                                                distributes those patches among a parallel computer’s
                    Molecular                                             processors. The processor to which each patch is
                   visualization                                          assigned computes the motion of the atoms in that
                                                                          patch. As atoms move, they are transferred between
                                                                          patches, and patches are reassigned to different proces-
                            Speech             Gesture                    sors to maintain a uniform computational load.

              1 The VMD program, coupled with the NAMD program            The VMD program
              via MDComm. These facilities comprise MDScope, a               The key functions of VMD are to visualize biomolecu-
              problem-solving environment for structural biology.         lar systems, allow direct interaction between a user and
              External speech/gesture user-interface components can       a molecule being simulated on another computer, and
              control all aspects of VMD through a communications         provide an intuitive user interface for controlling the
              layer. On the right, three users discuss and manipulate a   visual display and remote simulation. VMD provides var-
              3D structure of DNA.                                        ious methods for rendering and coloring the structure,
                                                                          such as simple lines, solid bonds, and ribbon diagrams
                                                                          (see Figure 3). VMD uses the MDComm software to ini-
              efficiently calculate interatomic forces using high-        tiate, display, and control a simulation using NAMD.
              performance computing. NAMD meets this challenge            When NAMD calculates a molecular system’s trajectory,
              by using parallel computation and incorporating the         it sends each atom’s coordinates to VMD. Current net-


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work technology provides the necessary bandwidth to
communicate the atomic coordinate data; a high-
performance dynamics program is crucial for furnishing
new data at the speed required for interactive display.
   VMD implements many different forms of user inter-
faces; users may control the program through keyboard
commands, a mouse, or a graphical user interface. These
controls let users modify the appearance of the mole-
cules and display, control the display of the molecules’
structural features, and access remote computers run-
ning molecular-dynamics simulations. Users can view
multiple structures simultaneously and, because of a
flexible atom-selection mechanism, easily select subsets
of atoms for display.
   VMD includes an extensive text-command process-
ing capability from the Tcl library, a popular and wide-
ly available package for script parsing and interpreting.
Tcl lets users write scripts with features such as variable
substitution, control loops, and function calls. Users can     2 VMD visualizing the spatial decomposition in NAMD. VMD displays a
also save a molecule’s current rendering in an image           molecular-dynamics simulation of a small polypeptide computed by the
file or in a format suitable for use by several image-         program NAMD on a remote workstation and shown on a local graphics
processing packages. By connecting directly to a remote        workstation. The form on the left gives information about the simulation
computer running a molecular-dynamics simulation,              state and controls for modifying the simulation parameters. The colored
VMD offers users the capability to interactively partici-      boxes surrounding the protein indicate NAMD’s spatial decomposition.
pate in an ongoing simulation—for example, the option          Each box’s color indicates the relative amount of CPU time required to
to apply perturbational forces to individual atoms. VMD        compute the motion of the atoms in that region (the red end of the color
also implements a mechanism for external programs to           spectrum denotes a greater CPU time), thus providing a way of visualizing
serve as user-interface components by letting these pro-       the distribution of computational load.
grams communicate with VMD through standard net-
work-communication channels. This makes possible
new user-interface methods, such as the speech- and
gesture-recognition systems discussed later, to be devel-
oped in parallel with VMD.

MDScope
    Development of MDScope is an ongoing project.
Source code for MDScope applications are available via
anonymous ftp at ftp.ks.uiuc.edu or on the Web at
http://www.ks.uiuc.edu. This Web site also includes
extensive documentation describing how to use and
modify the programs. MDScope is available for various
architectures, operating systems, and OpenGL-based
workstations.
    The primary infrastructure for our project is a large-
screen stereographic projection facility, developed in
the Theoretical Biophysics Group at the University of
Illinois and shared by many biomedical researchers. The        3 A VMD session demonstrating the graphical user
facility, designed for groups of up to 10 people, uses cost-   interface and the text console. Molecules appear in the
effective, space-saving display hardware, which is added       display window shown in the upper right corner; GUI
to a high-end graphics workstation and can be easily           components are on the left. Below the graphics library
duplicated at other sites. It produces 8×6×6-foot 3D           display window is the text console interface for VMD.
models in a 120-square-foot area. The facility includes
a projector that displays alternating left- and right-eye
views onto the screen at nearly twice the rate of ordi-
nary projectors. The images, when viewed through spe-          ural methods of human communication; their use for
cial eyewear, produce a stereo display.                        interaction with and control of the display of VMD
    The primary VMD interfaces used by researchers are         would greatly improve the program’s utility. Thus, incor-
a keyboard and a magnetically tracked pointer. This is         porating voice-command control in MDScope would
inconvenient because the system is typically used by           free users of keyboards so that they could interact with
multiple (six to eight) users, and the interface hinders       the environment in a natural manner. The hand gestures
the visualization system’s interactive nature. Speech and      would permit the users to easily manipulate the dis-
hand gestures, on the other hand, are fundamental, nat-        played model and play with different spatial combina-


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                                                                                    command, such as “rotate left 90,” the ASR converts the
                                                                                    phrase into the VMD text command “rotate y 90” and
                                                                                    sends it to VMD. Similarly, when the AGR is used as a
                                                                                    pointing device, it sends the commands to change the
4 The experi-                                                                       current position and vector of VMD’s graphical 3D
mental setup                                                                        pointers.
with two cam-
eras used for                                                                       Setup for visual gesture analysis
gesture                                                                                To facilitate the development of AGR algorithms, we
recognition.                                                                        designed an experimental platform (see Figure 4) for
                                                                                    gesture-recognition experiments. Within the uniformly
                                                                                    black background, a lighting arrangement shines red
                                                                                    light on the hand without distracting the user from the
                                                                                    main 3D display. The red light helps to localize the hand
                                                                                    in video and track it robustly. An alternative would be
                                                                                    to track the hand using skin-color segmentation or
                                                                                    motion and shape information.2 However, for the visu-
                                                                                    alization setup, the ambient light is quite low, which
                                                                                    makes tracking more difficult without the help of the
5 A sample pair of images from the                                                  additional lighting.
two cameras used for automatic                                                         Figure 5 shows a sample pair of images from the two
speech recognition:                                                                 cameras. This setup lets a user sit at the table and use
(a) top camera; (b) side camera.                                                    hand gestures to control the graphics display. Moreover,
                                           (a)                 (b)                  the setup can be transported easily and is relatively
                                                                                    unobtrusive.

                      tions of the molecular structures. Integrating speech         Setup for speech analysis
                      and hand gestures as a multimodal interaction mecha-             We have implemented a prototype ASR system and
                      nism would be more powerful than using either mode            integrated it into VMD. The system has two blocks: the
                      alone, thus motivating the development of the                 recorder front-end and the recognizer unit (see Figure
                      speech/gesture interface.                                     6). The recorder uses circularly buffered memory to
                                                                                    implement its recording duties, sending its output to the
                      Software                                                      recognizer unit in blocks. A digital volume meter accom-
                         Our goal was to minimize the modifications needed          panies this to give the user feedback by indicating an
                      to the existing VMD program for incorporating the new         acceptable loudness range. We developed the recog-
                      interface. The experimental prototypes that we built for      nizer using Hidden Markov Models. This unit performed
                      both the speech and hand-gesture analysis required an         feature extraction and time-synchronous Viterbi decod-
                      addition to the VMD environment. To reduce the com-           ing on the input blocks, sending the decoded speech
                      plexity and increase the flexibility of the program design,   directly to the SGI Onyx workstation where the VMD
                      we added a communications layer so that external pro-         process resides.
                      grams could be written and maintained independently
                      of the VMD code. These programs use the VMD text lan-         Speech/gesture command language
                      guage to query VMD for information or to send new com-          To effectively use the information the user inputs
                      mands. The VMD text language is based on the Tcl              through spoken words and simple hand gestures, we
                      scripting language. Because all VMD capabilities are          designed a command language for MDScope that com-
                      available at the script level, an external program can con-   bines speech with gesture. This command language uses
                      trol VMD in any way. Both the ASR and AGR programs            the basic syntax of <action> <object> <modifier>.
                      interact with VMD using this method. For a simple voice       The <action> component is spoken (for example,




     “Rotate up thirty.”
     “Rotate down.”
     “Translate left four.”
     “Rotate right ninety very quickly.”
     “Rotate.”
     “Fix zero.”
     “Free one.”
     “Spin right very slowly.”                      HP 735/125                                     SGI Onyx
                                                          Feature extraction                             Command interpretation
                                                          Command recognition                            Molecule display

6   Setup for the experiments on speech recognition for controlling the virtual display.



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“rotate”); a combination of speech and gesture specify        Table 1. Keywords and phonetic descriptions for
<object> and <modifier>. An example of this basic             our system.
syntax would be speaking “this” while pointing, followed
by a modifier to clarify what is being pointed to, such as    Keyword          Transcription
“molecule,” “helix,” or “atom,” and then speaking “done”      translate        t-r-ae-n-s-l-ey-t
after moving the hand according to the desired motion.        rotate           r-ow-t-ey-t
   Another example of the desired speech/gesture capa-        engage           eh-n-g-ey-jh
bility is the voice command “engage,” which would             release          r-ih-l-iy-s
query VMD for the molecule nearest the pointer tip,           pick             p-ih-k
make the molecule blink to indicate that it was select-
ed, and save a reference to that molecule for future use.
Once engaged, the voice command “rotate” would con-           Table 2. Broad sound classes used as garbage
vert the gesture commands into rotations of the chosen        models.
molecule, and the command “translate” would convert
them into translations. When finished, the command            Sound Class                              Symbol
“release” would deselect the molecule and let the user        Vowels-front                                 vf
manipulate another molecule.                                  Vowels-mid                                  vm
                                                              Vowels-back                                  vb
Speech input using ASR                                        Dipthongs                                  dipth
   In integrating speech and gesture in the MDScope           Semivowels-liquids                          svl
environment, we needed a real-time decoding of the            Semivowels-glides                           svg
user’s commands to keep pace with the hand gestures.          Consonants-nasals                            cn
Thus, we needed word spotting, which means detecting          Consonants-stops-voiced                     csv
a given vocabulary of words embedded in unconstrained         Consonants-stops-unvoiced                   csu
continuous speech. Word spotting differs from conven-         Consonants-fricatives-voiced                cfv
tional large-vocabulary continuous speech recognition         Consonants-fricatives-unvoiced              cfu
systems, which seek to determine an optimal sequence          Consonants-whispers                         cw
of words from a prescribed vocabulary. A direct mapping
between spoken utterances and the recognizer’s vocab-
ulary is implied with continuous speech recognition,
leaving no room for the accommodation of nonvocabu-          easier, retraining it would be inconvenient if the vo-
lary words in the form of extraneous speech or unin-         cabulary changed.
tended background noise. Real-world applications
dictate the basis for word spotting (also termed keyword     Fillers
spotting). Users of a spoken-language system often               Filler models are more varied. In large-vocabulary
embellish their commands with supporting phrases and         continuous-speech recognition applications, the non-
sometimes even issue conversation absent of valid com-       keyword portion of the vocabulary can represent these
mands. In response to such natural-language dialogue         fillers explicitly—for example, as whole words. In other
and the implications for robust human-computer inter-        tasks, non-keywords are built by a parallel combination
action, we converted standard continuous-speech recog-       of either keyword pieces or phonemes, whether they
nition systems into spotters by simply adding filler or      be context-independent monophones or context-
garbage models to their vocabulary. The recognition out-     dependent triphones or diphones.
put stream then contains a sequence of keywords and              We used 12 fillers (garbage models) to model extra-
fillers constrained by a simple syntactical network. In      neous speech in our experiment. Rather than using
other words, recognizers operated in a spotter mode.         monophones or states of keyword models (as
   Although early techniques emphasized a template-          researchers have used in prior experiments), we used
based dynamic time-warping slant, current approaches         models that cover broad classes of basic sounds found
typically wield the statistical clout of hidden Markov       in American English (listed in Table 2). Such models
models (HMMs), and recent ones come with the dis-            adequately cover the English language and are
criminatory abilities of neural networks. Typically word-    amenable to training. However, we modified these
based, they use an overall network that places the           models in two ways. First, we did not use the class of
keyword models in parallel with the garbage models.          “consonants-africates,” because they don’t occur fre-
                                                             quently in the prescribed vocabulary or the training
Keywords                                                     data. As observed by many researchers, varying or
   Table 1 lists the keywords and their phonetic tran-       increasing the number of models does not gain much
scriptions chosen for our system. These commands let         in spotting performance.3 Second, we included a model
the VMD user manipulate the molecules and polymer-           for background silence in addition to the 12 garbage
ic structures selected by hand gestures. In modeling the     models listed. Such a model removes the need for an
speech acoustics, we based the HMM system on                 explicit endpoint detector by modeling the interword
phonemes rather than words, for large vocabulary flex-       pauses in the incoming signal. Also, the descriptors for
ibility in the given biophysical environment. Although       the vowel class correspond to the tongue hump’s posi-
implementing a word-based system would invariably be         tion in producing the vowel.


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                                                                                         Image                   Finger
                                                               Thresholding             moments               segmentation


7  An overview of the main steps
involved in hand-gesture recogni-
tion.                                                                                                             3D pointing
                                                                 Subimage             Centroid and                 direction
                                                                 moments              major axis tilt




                   Recognition network                                            We trained the garbage models only once for this
                     The recognition syntactical network placed the key-        experiment. Hence, VMD users only needed to go
                   words in parallel to garbage models that included a          through the short training procedure just explained.
                   model for silence. These models followed a null gram-
                   mar, meaning every model may precede or succeed any          Hand-gesture input using AGR
                   other model.                                                    The general AGR problem is hard because it involves
                                                                                analyzing the human hand, which has a very high degree
                   Features and training                                        of freedom, and because the use of hand gestures is not
                      After sampling speech at 16 kHz and filtering to pre-     well understood. However, we used the context of the
                   vent aliasing, we preemphasized the speech samples           particular virtual environment to develop an appropriate
                   with a first-order digital filter using a preemphasis fac-   set of gestural commands. Our interface recognizes ges-
                   tor of 0.97. We blocked these samples into frames of 25      tures by analyzing the sequence of images from a pair of
                   ms with a shift between frames of 10 ms. We used a           cameras positioned so that they facilitate robust analy-
                   Hamming window to weight each speech frame; then             sis of the hand images. The background is uniformly
                   we derived 16th-order mel-frequency cepstral coeffi-         black to further help with the real-time analysis without
                   cients and weighted them with a liftering factor of 22.      using any specialized image-processing hardware.
                   We chose cepstral coefficients because they are more
                   robust and discriminative than linear-predictive-cod-        Finger as a 3D pointer
                   ing coefficients or log-area-ratio coefficients. We also        The AGR system has two subsystem levels (see Figure
                   included normalized log-energy and first-order tem-          7). The first-level subsystem extracts a 2D pointing
                   poral-regression coefficients in the feature vector.         direction from single-camera images. The second-level
                      The HMMs’ topology for both keyword phonemes              subsystem combines the information obtained from the
                   and garbage models had five states, the three internal       outputs of the first-level subsystems into a 3D pointing
                   states being emitting states. Following a left-to-right      direction. To obtain the 2D pointing direction, the first-
                   traversal, each state was described by a mixture of five     level subsystem performs a sequence of operations on
                   continuous-density Gaussians with diagonal covariance        the input image data. It first gives the gray-level image
                   matrices. We used three iterations of the Baum-Welch         a threshold to extract a silhouette of the user’s lower arm
                   reestimation procedure for training.                         from the background. Next, the system calculates first-
                      In training the 15 keywords, we developed 40 sen-         and second-image moments and uses them to form a
                   tences. We individually paired each of the five keywords     bounding box to extract the index finger. Once the fin-
                   with the remaining four. We then doubled this pairing        ger is segmented from the hand, another set of image
                   to provide a sufficient number of training tokens. Thus,     moments is calculated, this time for the finger itself.
                   the sentences contained keyword pairs such as “engage        Finally, based on these moments, the system determines
                   translate” and “rotate pick,” which were arranged so         the 2D finger centroid and finger direction. Finally, the
                   that each keyword could be spoken 16 times. Each VMD         system determines the 3D pointing direction of the
                   user proceeded with this short recording session.            hand, using the knowledge of the setup geometry and
                      Training the garbage models required a far more           the 2D centroids. The system then forwards this infor-
                   extensive database of training sentences to provide an       mation to the central-display manager, which displays
                   adequate amount of training data. The reason is that         a cursor at an appropriate screen position.
                   the 12 broad classes cover nearly the entire spectrum
                   of the standard 48 phonemes. Subsequently, we used           Gestures for manipulating 3D display
                   the Timit database to provide an initial set of boot-           We also developed an AGR system based on HMMs to
                   strapped models. We then conducted retraining for a          recognize basic manipulative hand gestures. We cate-
                   VMD user who had recorded a set of 720 sentences of          gorize these gesture commands as either dynamic
                   commonly used VMD commands. These sentences                  (move back or move forward) or static (grab, release,
                   spanned the scope of the VMD diction, including a more       stop, up, or down). The gestures used were mainly for
                   detailed set of commands, numbers, and modifiers.            manipulating and controlling the molecular structures’
                   This was necessary to normalize the data to the exist-       display (see Figure 8). We derived this gesture set by
                   ing computational environment.                               observing the MDScope system’s functionality and the


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corresponding command set used for interacting with
it. In this way, we incorporated the gestures into the sys-
tem without changing the existing command set.
    The system uses image-geometry parameters as the
                                                               (a)
features that describe any particular hand posture (sta-
tic hand image). We use an image’s radon transform to
extract these features. The radon transform of the image
I(x, y) is defined as
                                                               (b)
     ( ) ∫ I(t cosθ − s sinθ , t sinθ + s cosθ )ds
   R θ, t =
               ( x ,y )                                        8 Examples of images from hand gestures used to manipulate a virtual
                                                               object, and interpreted using AGR: (a) static gestures; (b) dynamic ges-
                                                               tures.
where 0 ≤ θ ≤ π/2. The image-geometry moment of
order k is then given by
                                                               cy of 98 percent on the trained speaker. The trained
       (k) θ
   m     ( ) = ∫ t R (θ , t )dt
                  t
                          k
                              0                                speaker refers to each user who trained the keywords,
                                                               regardless of the one who trained the garbage models.
                                                               The VMD users considered this very good for the given
where R0 denotes the radon transform, normalized with          biophysics environment, thus supporting the techniques
respect to the image mass:                                     used. In general, false alarms occurred only for those
                                                               situations where the user embedded a valid keyword
                    ( )   R θ, t                               within another word. For example, if someone says
       ( )
   R0 θ , t =                                                  “translation” instead of “translate,” the spotter still rec-
                 ∫ R(θ , v)dv
                      v
                                                               ognizes the command as “translate.”
                                                                  Because of the strict grammar imposed on the
                                                               allowed speech/gesture commands (which essentially
The first-order moments constitute the image’s center          makes the multimodal interaction sequential), the rel-
of mass. The higher-order moments provide additional           ative timing between the spoken words and hand ges-
information on image shape. We built the recognition           tures does not create problems in the interpretation.
system by training HMMs for the specific gestures on              The speech/gesture interface reported could be part
example runs. We modeled each gesture in the vocabu-           of a more general multimodal framework, where other
lary as a single four-state HMM. We modeled the obser-         modalities such as gaze could also be exploited to make
vations using a Gaussian mixture of two different sizes        the interface more natural and efficient.
(one and three) with a diagonal covariance matrix.                Using the simple setup with a uniform background,
                                                               we segmented the hand image from the background in
Conclusions                                                    real time. This didn’t require any restriction on the user
   Several researchers tested and evaluated the                other than being seated at the table, which is quite
speech/gesture interface. Overall, new users needed            appropriate for the MDScope system. However, in a
only a few minutes to get acquainted with the setup. We        more general VR setting, we might need better seg-
asked the researchers to perform a generic task that           mentation techniques. The hand segmentation and cor-
involved selecting, moving, rotating, and releasing a cer-     responding motion analysis can benefit from the other
tain part of a given molecular structure. This task would      modalities mentioned.
otherwise involve several keyboard commands or a com-             The experimental results for gesture recognition show
bination of keyboard and magnetic-tracker input. Every         that, even with simple image moments, the HMM-based
user reported that working with the speech/gesture             approach yields a useful working system. However, a
interface was more convenient and, in most cases, more         model-based approach can significantly affect recogni-
efficient than the traditional interaction with VMD.           tion performance. For example, there is a trade-off
   Upon testing the speech system as a whole with 50           between the reliability and speed of gesture recognition
test sentences that embedded the keywords within bod-          for different levels of the hand model used (see Figure
ies of nonkeywords, we found a word-spotting accura-           9).2 One approach for AGR hand-motion analysis is to




         (a)                       (b)                        (c)                       (d)                         (e)

9 Hand models of varying complexity: (a) 3D textured volumetric model; (b) 3D wire-frame volumetric model; (c) 3D skeletal model;
(d) binary silhouette; (e) contour.



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              consider the motion class called articulated motion for        Acknowledgments
              analysis and tracking of the hand. Using the prediction          We gratefully acknowledge the financial support of the
              based on articulated motion analysis, we can reliably          National Science Foundation (grants IIS-97-33644, IRI-
              derive a minimal description of the hand image in real         89-08255, BIR-9318159, IRI-95-02074, IRI-96-34618);
              time. The more detailed the hand mode, the better the          the US Army Research Laboratory (Cooperative Agree-
              prediction that can be made of the hand positions under        ment No. DAAL01-96-2-0003); Sumitomo Electric
              different gestures. Such models can be the basis for           Industries; the National Institutes of Health (PHS 5 P41
              developing a suitable feature vector for gesture classifi-     RR05969-04); and the Roy J. Carver Charitable Trust.
              cation and recognition.4 The aim would be to replace
              the simple image moments in our current implementa-
              tion with a feature vector that can define the more com-
              plicated hand gestures needed for manipulating a               References
              virtual environment.                                           1. M. Nelson et al., “MDScope—A Visual Computing Envi-
                 Our focus on structural biology takes advantage of             ronment for Structural Biology,” Computational Physics
              existing sophisticated software, provides concrete objec-         Communication, Vol. 91, Nos. 1–3, Jan. 1995, pp. 111-134.
              tives, defines a well-posed task domain, and offers a          2. V.I. Pavlovic, R. Sharma, and T.S. Huang, “Visual Inter-
              well-developed vocabulary for spoken communication.               pretation of Hand Gestures for Human-Computer Interac-
              Therefore, the VR setup we considered as a testbed for            tion: A Review,” IEEE Trans. Pattern Analysis and Machine
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              inition of gesture- and speech-recognition problems.           3. J.G. Wilpon et al., “Automatic Recognition of Keywords in
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              easily and naturally explore the displayed information.           IEEE Trans. ASSP, Vol. 38, No. 11, Nov. 1990, pp.1870-1878.
              Integrating speech and hand gestures as a multimodal           4. J.M. Rehg and T. Kanade, Digiteyes: Vision-Based Human
              interaction mechanism has proven to be more powerful              Hand Tracking,” Tech. Report CMU-CS-93-220, School of
              than using either mode alone.                                     Computer Science, Carnegie Mellon University, Pittsburgh,
                 From a structural biologist’s view, a robust gesture/          Pa.,1993.
              speech interface for a molecular-graphics framework is
              useful for several reasons. First, it eliminates typing
              commands, which would require knowledge of the cor-
              rect spelling and syntax. Pointing to a structure and say-
              ing “rotate this helix 75 left” is easier than entering the                         Rajeev Sharma is an assistant
              command using a keyboard, a mouse, menus, or a 3D                                   professor in the Department of Com-
              tracker. Second, this novel interface simplifies access-                            puter Science and Engineering at
              ing complex molecular-graphics programs for the                                     Pennsylvania State University, Uni-
              novice or casual user. It also lets experienced users                               versity Park. He received a PhD in
              achieve many tasks in less time while focusing on the                               computer science from the University
              scientific merit of the modeling. Third, the gesture/                               of Maryland, College Park.
              speech interface is particularly useful for teaching and
              lecturing because it provides a far more natural way for
              presenting information than typing commands. Cur-                                   Michael Zeller is Director of Sys-
              rently, because of the tedious task of controlling the VR                           tems Engineering at H&F Aeronauti-
              display, a second person often accompanies the lectur-                              cal Technologies, in San Diego. He
              er to operate the molecular-graphics program. Finally,                              received his Diplom degree and PhD
              the interface could help in the preparation of figures                              in physics from the Johann Wolfgang
              for publication. It can potentially provide a quicker way                           Goethe University in Frankfurt,
              to explore different aspects of the model, select the                               Germany.
              most informative orientation of a biological structure,
              or simply add color and shading to the model to high-
              light specific features.                                                            Vladimir Pavlovic is a doctoral
                 The combination of high-performance computing                                    student in electrical engineering at the
              and high-end graphics for research in structural                                    Department of Electrical and Com-
              biology will open new avenues for very large-scale                                  puter Engineering at the University of
              biomolecular modeling. A robust speech/gesture inter-                               Illinois, Urbana-Champaign.
              face will offer a new level of interactive visualization not
              possible before.                                          ■




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PROTOTYPE SPEECH RECOGNITION INTERFACE FOR VMD

by Jim Phillips and Zion Lo

The prototype speech recognition interface for VMD was partially and temporarily implemented using the speech
recognition software (HTK) from Entropic. Recording of discrete command statements was done on a Sparc 10
in the 3D facility using a noise-cancelling headset microphone. This data was then transferred via a socket
connection to a remote computer (either a Sparc 20 or an HP 735) for processing. There audio format
conversion, feature extraction, and continuous speech recognition via a hidden Markov model were performed
and the resulting sentence was transferred again via a socket connection to the graphics workstation (an SGI
Onyx) in the 3D facility. The spoken sentence was then interpreted into commands suitable for the VMD text
interface and communicated to VMD via a pvm (portable virtual machine, a message-passing interface for
parallel programming) message.


  Sparc 10
      Audio Recording

          Socket connection

  HP 735/125
      Format conversion
      Feature extraction
      Word recognition

          Socket connection

  SGI Onyx
      Command interpretation
      Molecule display


The command set for the prototype speech interface was designed to require purely one-way communication
between programs. The interpreter did not employ information on the internal state of VMD. Although the
interpreter was capable of providing feedback to the recognition system on a word-by-word basis, this
information was not employed. The recognition system contained its own information on the grammatical
structure of the command set and thus only gramatically correct commands were passed to the interpreter. This
one-way communication placed great restraints on the capabilities of the system. Two types of commands were
avaiable. Global manipulation commands (spin, rotate, translate, scale, stop, reset) affected the entire scene
and had optional modifiers for direction (left, up, ...), amount (ten, fifty, ...), and rate (slowly, very quickly, ...)
where appropriate. Defaults for these modifiers were in most cases dynamic, being based on their value in the
last command. For example, after instructing the computer to "rotate left ninety very slowly" the simple
command "rotate" would repeat the procedure and "rotate right" would reverse it. The remainder of the
commands (hide, show, fix, unfix, activate, inactivate) applied to specific molecules, identified by number, and
defaulted to the "top" molecule, set by the "top" command. This allowed the user to manipulate some molecules
independently of others.




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The accuracy of the speech recognition system was excellent and remarkably speaker independent, even when
trained on only one person, although problems with electrical noise persist. Its performance was respectable,
with a lag time of two seconds on a Sparc 20 or on an HP 735. In the future this time could be reduced even
further for several reasons. First, the hidden Markov model employed searches for a best match for a sentence
from the entire grammar. This is obviously a lengthly process and will only grow as commands become more
complex. In the future, less ambitious systems based on words rather than sentences will be needed. The set of
acceptable words at some point in a sentence could be further reduced by information from the interpreter, but
would only be based on prior words rather than later ones. Second, the current implementation is based on six
separate programs. Two of these programs were called repetitively from inside a single instance of the
recognition program, eliminating the most expensive part of the initialization. In the future, these programs will
be combined into a single, non-commercial program which will run continually. Communication with the recorder
and interpreter will be via pvm messages rather than socket connections. Finally, processing of data does not
begin until the user finishes speaking, wasting several seconds. To save this time and to facilitate interaction
between voice commands and gestural input (i.e., "rotate this (user points) molecule (molecule highlights, user
turns hand to indicate desired rotation) done") speech recognition will have to be done "on the fly" as the user is
speaking, and lag by at most a single word.

Many changes in the "natural language" interpreter system, in VMD, and in the spoken commands will be
necessary to incorporate gestural input. Feedback on objects in the scene will be needed. VMD will need to
respond to information such as "the user should be trying to point to something...", "...which he says in an alpha
helix" by providing visual feedback during the pointing process (highlighting pointed-to objects) and by reporting
the final object's identifier back to the interpreter. VMD will then need to handle the manipulation of the object by
the user based on additional information from the interpreter and gestural input. The use of gestural input will
reduce the complexity of spoken commands since more information will be communicated visually. The
command "grab this (point) molecule (move and rotate hand appropriately) done" for a molecular docking
operation is much simpler than attempting to construct the desired motion from "rotate" and "translate"
commands. On the other hand (no pun intended), detailed spoken commands should not be disposed of.
Instructing the computer to "rotate this (point) molecule and this (point) molecule (wave hands) done" is much
less efficient than "rotate the red molecule and the blue molecule up fifty degrees", especially if the user is
holding a cup of coffee and simply wants to look at the bottoms of the molecules.

I will now outline the basic elements of a WHAT (Waving Hands And Talking) interface to VMD. Commands will
follow a basic syntax of <action> <object> <modifiers> which will be communicated to VMD. The <action>
component of the command will be completely spoken (with the possible exception of virtual push-buttons if you
want to get fancy). These will be a superset of the current commands. Some will be very similar, such as "spin",
"rotate", "translate", and "grab", but more powerful because of object selection and gestural input. Others will be
higher level, controling simulations of molecules, such as "equilibrate", "minimize", "monitor", "plot", "run",
"pause", and even "merge" or allowing interaction with the simulation, such as "pull", "twist", "heat", "cool", and
"restrain".

The <object> component of a command may be specified by a combination of speech and gesture. The word
"this" would be a cue for gestural (or other pointer) input and could be followed by specific modifiers to clarify
what was being pointed to, such as "molecule", "helix", "residue", "atom", "alanine", "oxygen", etc. When the
correct item was highlighted by VMD, based on this information, the user would switch from pointing to a
affirmation (thumbs up?) to confirm the selection. Multiple objects could be selected with the words "and" or by
using "these" and pointing to several objects in turn. Speech could be incorporated as well, giving a selection
along the lines of "...all residues in this (point) molecule except for these (point) hydrophobic ones and this (point)




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guanine..." or "...all residues within ten angstroms of here (point)...". Object or sets of objects could even be
given (preselected) names to make spoken references to them easier than remembering artificial contructs like
molecule numbers. For example, "name this (point) molecule bill, spin bill". The exact synax will have to be well
thought out to avoid ambiguities.

The <modifiers> portion of the command would also incorporate a mix of speech and gesture, highly dependent
on the specific action desired. The translate command could have spoken modifiers similar to the present
implementation ("left twenty degrees very quickly"), pure gestural input (moving hand to indicate desired motion,
followed by "done"), or a combination of the two ("to here (point) slowly", "in this direction (move hand) five
angstroms").




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             MOLECULAR DYNAMICS STUDIES OF THE PROTEIN
                        BACTERIORHODOPSIN




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                                      THESIS
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                  for the degree of Doctor of Philosophy in Physics
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                     MOLECULAR DYNAMICS STUDIES OF THE PROTEIN
                                BACTERIORHODOPSIN


                                  William Fowler Humphrey, Ph.D.
                                         Department of Physics
                           University of Illinois at Urbana-Champaign, 1996
                                     Dr. Klaus Schulten, Advisor


  Molecular dynamics (MD) simulations are employed to study the structure and function of the

  protein bacteriorhodopsin (bR), a 26 kD protein which residues in the purple membrane of the

  bacterium Halobacterium halobium. Bacteriorhodopsin undergoes a light-driven cyclic process,

  which pumps protons across the membrane, in order to maintain a proton gradient necessary for

  ATP synthesis. The cycle is initiated through a trans -» cis isomerization of the chromophore

  retinal, which is bound to a lysine residue via a protonated Schiff base linkage. The study of bR

  is facilitated through development of the program VMD for visualization of the simulation results,

  and the program NAMD for MD calculations on parallel computers. Initially, MD simulations

  are used to develop a refined three-dimensional structure of the protein, using the experimentally

  determined electron-microscopy structure of bR as a basis, and to determine equilibrium positions

  for several water molecules within the protein interior. MD simulations are then used to model the

  early isomerization reaction events in the bR photocycle, for both the native (wild-type) system

  and several bR mutants. The simulations reveal the possibility for bR to form two or three unique

  photoproducts, distinguished by the retinal isomeric state and the orientation of the Schiff base

  proton relative to nearby water molecules and negatively charged aspartic acids. One particular

  photoproduct is suggested to lead to successful proton pump activity, while the remaining structures

  return back to the initial state; this result is supported by simulations of non-functional bR mutants,

  which do not exhibit formation of the suggested functional photoproduct. The very fast initial

  retinal photoexcitation and subsequent isomerization reaction are also examined in detail using a

  combined quantum/classical simulation technique, in which the evolution of the density matrix for

  the retinal isomerization degree of freedom is computed using the Liouville-von Neumann equation.

  The simulations result in wild-type bR exhibiting a non-adiabatic crossing between excited states


                                                    iii



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  after 500 fs, while the computed excited-state lifetimes for mutants D85N and D212N are an order

  of magnitude longer. The results compare well with recent femtosecond spectroscopy data for these

  systems and demonstrate that the lifetime of the excited state is controlled by the position and

  slope of the first potential energy surface crossing point.




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                           To my family: Mom, Dad, and Paul

                                      and Heidi




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  Chapter 1

  Introduction

  Since the discovery of the protein bacteriorhodopsin (bR) in the purple membrane of Halobacterium

  halobium by Oesterhelt and Stoeckenius in 1971 [117], a considerable research effort has been carried

  out in order to uncover the functional role and molecular mechanism of this protein in the life cycle

  of the host bacterium. Bacteriorhodopsin, in the past 25 years, has been revealed in experimental

  and theoretical studies as an ideal example of an ion-conducting membrane protein, and, further, as

  a key protein in one of the simplest photosynthetic organisms in nature [83,14,100,88,119,43,147].

     Bacteriorhodopsin has been shown to function as a light-driven proton pump for the purpose

  of ATP synthesis in H. halobium. Under normal aerobic conditions, the bacterium exhibits a red-

  dish color and employs oxidative phosphorylation to synthesize ATP molecules. However, when H.

  halobium is placed in an oxygen-free environment, the bacterium expresses bR molecules for the

  purpose of utilizing energy from visible light photons for ATP synthesis, i.e., for photophosphory-

  lation [118]. To accomplish this function, bR spans the bacterial cell membrane and undergoes a

  cyclic reaction driven by absorption of a 568-nm photon to transfer protons from the cell cytoplasm

  to the cell exterior. A 100 mV transmembrane electricfieldprovides an inwardly-directed current of

  protons which are utilized by ATPase molecules within the cell to convert ADP to ATP; bR pumps

  protons outwardly against this electric field, and helps maintain the cell membrane proton gradient

  (see Fig. 1.1). Membrane patches containing bR exhibit a characteristic purple color, which, along

  with the name bacteriorhodopsin, arises from the use of a retinal chromophore covalently bound to

  a lysine residue for the photoreactivity of bR Retinal, shown in Fig. 1.2, is also the chromophore


                                                   1


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                                                 ADP + P                       ATP
              Cell Cytoplasm                                                   Jf
                                                                •••...

                                                               ATPase

                                  bR [
                                                                         Trans-
                                                                         Membrane
                                                                    k    Electric
                                                                    *    Field




              Extracellular
              Region                    &                          H+

  Figure 1.1: Schematic view of proton transport in H. halobium. Protons diffuse through the cell
  membrane and are used by ATPase for ATP production; bR pumps protons out of the cell against
  an electric field in order to maintain a potential energy gradient.

  found in rhodopsin, a protein similar to bR found in photoreceptor cells of the vertebrate eye [117].

     Despite its relatively small size (about 4,000 atoms, with a molecular weight of 26 kilodaltons),

  bR continues to be a subject of extensive study, for both experimental and theoretical research

  groups interested in discovering the key to the bR proton pumping mechanism. Several factors

  have contributed to the continuing interest in bR:

     * The biological function of bR, namely the pumping of protons across a cell membrane, is an
       excellent example of an ion transport mechanism in nature; trans-membrane ion transport is
       of fundamental importance in cell physiology, where it is used to regulate the concentrations
       of Na, CI, Mg, K, Ca, and other ions.



                                                   2


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                    (a)                                                    (b)

  Figure 1.2: Retinal chromophore from bacteriorhodopsin. (a) CPK representation, (b) Atom
  numbering scheme.

     # bR is one of the earliest membrane proteins for which the amino acid sequence has been

       determined, and one of the very few such proteins for which the three-dimensional structure

       has been observed to some accuracy [67, 65, 66]. Due to the difficulties in crystallizing

       membrane-bound systems, this has made bR of particular interest in the study of proteins

       located in cell membranes.

     • Techniques for efficiently producing large quantities of bR and of generating site-specific

       bR mutants (in which specific amino acids are substituted with selected replacements) have

       been developed [114]. The availability of these techniques has facilitated many experiments

       otherwise difficult with only small quantities of the protein.

     * bR is one member of a much larger family of retinal proteins, all of which employ a covalently

       bound retinal for their function. This family includes halorhodopsin (hR), which pumps Cl~

       ions in a fashion similar to bR [82]; sensory rhodopsin (sR), which photoactively generates

       signals for an associated transducer protein [158]; and the visual pigment rhodopsin.

     One of the key breakthroughs in the study of bacteriorhodopsin has been the determination of

  the three-dimensional structure of bR by Henderson and coworkers using electron microscopy (EM)

  at low temperature [67,66]. This work demonstrated that bR contains seven transmembrane helical

  segments, oriented roughly parallel to each other and perpendicular to the plane of the membrane.

                                                   3


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  The helical regions form a roughly cylindrical channel through which protons are transferred, with

  retinal positioned near the center of the channel. The knowledge of this structure has made it

  possible to develop atomic-level models for the proton pump mechanism and to highlight those

  specific residues which may be directly involved in proton translocation. In addition, this structure

  may be used as a starting point for computer modeling of the bR at an atomic level of detail, using

  the technique of molecular dynamics (MD) simulations. Figure 1.3 shows the structure of bR based

  on molecular dynamics refinement of the EM structure.




  Figure 1.3: Refined bacteriorhodopsin structure used as a starting point in the simulations. The
  refinement procedure is described in chapter 3. Shown are the seven trans-membrane helices of
  bR along with internal water molecules and key residues participating in the proton pump cycle.
  Helices C and D are presented as thin cylinders to reveal the protein interior.

     In molecular dynamics simulations, the motion of the atoms in a molecule or molecular aggregate


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  is computed using Newtonian equations of motion, where each atom t is treated as a point mass

  Tn,- with some partial charge %. The force on each atom is derived from a model potential energy

  function which includes terms describing the electrostatic interaction between each atom pair, as

  well as empirical energy terms describing the coupling of covalently bonded atoms. Within this

  approximation, in which the charge distribution and molecular bond structure are fixed for a given

  simulation, molecular dynamics makes it possible to model the dynamical motion of a system at

  the level of atomic detail. MD simulations may be used to calculate such quantities as transport

  coefficients or free energies, or may be applied to determine the specific atomic motions responsible

  for a particular molecular function. It is this latter purpose for which molecular dynamics has been

  applied here in the study of the proton pump mechanism of bacteriorhodopsin.

     The advantage of molecular dynamics over more accurate quantum chemical methods (such as

  ab initio and semi-empirical calculations) is the ability to simulate the motion of many more atoms,

  e.g., up to 10,000 atoms in a typical MD simulation vs. 10 - 100 atoms in an ab initio evaluation.

  It is important to realize, however, that MD simulations are limited in the types of problems they

  may address, and in the time scales which the simulations may be used to explore. In this regard,

  bacteriorhodopsin is an ideal candidate for the application of MD to study a specific biological

  mechanism at the atomic level, for the following reasons:

     • It is relatively small, yet too large for direct quantum chemical techniques.

     • The proton pump cycle of bR proceeds in several intermediate steps, with the initial reactions

       occuring very quickly (within 5 picoseconds), well within the accessible time scale for MD

       simulations.

     • The experimentally determined three dimensional structure of bR is available for use as the

       initial condition in the simulations.

     The following chapters report the results of molecular dynamics simulations of bacteriorhodopsin
  which model the structure and early intermediates in the bR proton pump cycle. Chapter 2 presents
  a quick overview of the characteristic features of proteins, and a summary of the molecular dynamics

                                                   5



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  technique including the empirical energy function used to model the protein interatomic forces.

  Following this introduction, chapters 3 - 6 describe efforts to use molecular dynamics simulations

  to study the structure and photocycle of bacteriorhodopsin. Chapter 3 presents an overview of the

  bacteriorhodopsin photocycle, and describes the initial refinement of the equilibrium structure of

  bR starting from the experimentally determined bR coordinates. After refinement, simulations of

  the early (picosecond) events in the bR photocycle were carried out, and are described in chapter 4.

  Chapter 5 proceeds with simulations of the early photointermediates of bR mutant structures (in

  which selected amino acids have been replaced by alternative residues with distinct structural or

  chemical properties), and compares the results of these simulations to those in Chapter 4. Chapter

  6 concludes with a discussion of a more accurate method for modeling the initial photoexcitation

  and subsequent motion of retinal using a combined quantum/classical technique.

     Appendices A - B describe the development of software tools for molecular dynamics simulations

  (the program NAMD, in appendix A), and for visualization and analysis of the computed molecular

  trajectories (the program VMD, in appendix B). Appendix C derives the differential equations

  employed in the combined quantum/classical simulations described in chapter 6.




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  Chapter 2

  Computer Simulations of Biopolymers

  2.1     Introduction

  Molecular dynamics simulations have been used for the study of a wide range of problems, starting

  from monoatomic systems such as elastic hard spheres [2] and models of liquid argon [132, 179],

  to more complicated molecular assemblies such as water and polyatomic gases [133]. Starting in

  the mid 1970's, models were developed to study the motion of small protein biopolymers such as

  the bovine pancreatic trypsin inhibitor [102]. Biological macromolecules, e.g., proteins and nucleic

  acid polymers, typically consist of 102 - 106 atoms or more, a size which prohibits the direct use of

  quantum mechanical calculations to model their dynamics. Molecular dynamics makes simulation

  of the motion of atoms in molecules of this size possible by ignoring quantum effects and treating

  each atom as a point mass subject to Newton's second law. This chapter starts with a brief

  overview of the structural features of proteins which facilitate their study by molecular dynamics,

  and concludes with a description of the molecular dynamics technique.

  2.2    Protein Structure

  As illustrated in Fig. 2.1, protein molecules consist of an inhomogeneous linear chain of repeating

  subunits; each subunit includes one of the 20 naturally occuring amino acid sidechains, which link

  planar peptide bonds (shown in grey). The amino acid sidechains (group R in Fig. 2.1) are linked

  to each C a carbon atom of the protein backbone. Unlike many homogeneous polymers which

  assume a distribution of lengths and conformations, each protein has a specific length and amino


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  acid sequence, and it is this sequence which determines the unique way in which the protein folds

  together as well as the chemical properties of the molecule.

     The atoms in the peptide bond group exhibit a partial double bond character, which maintains

  a rigid, planar conformation for this O—C-N-H unit. The important degrees of freedom for the

  protein backbone are torsional motions about the single bonds which link the C tt atoms to the

  preceding and following peptide bonds. It is the specific angles of rotation about these bonds (the

  angles <f> and ip in Fig. 2.1) which determine the overall shape of the protein.



                 H
                  I
     +H3N—Car

               ©
  Figure 2.1: Standard protein backbone structure, including the peptide bonds (boxed grey regions),
  C a atoms, and amino acid sidechains (R). Proteins conventionally begin at the iV-terminus (at
  left), and end at the C-terminus (at right).


     As a result of steric hindrances between the peptide bond units, the C@ atoms, and the amino
  acid sidechains, not all <p-rf> combinations are possible. Pauling and Corey, in 1951, were the first to

  realize that certain ranges of (jhip angles lead to low-energy configurations, in which hydrogen-bonds

  between adjacent amino acids and peptide bond atoms stabilize the local protein conformation and

  help form distinct secondary structure units [127]. The first two secondary folding motifs discovered

  were the a-helix, shown in Fig. 2.2a, and the /2-sheet, shown in Fig. 2.2b. An a-helix is formed

  when a single protein backbone segment assumes a helical form such that hydrogen-bonds form

  between the peptide bond atoms of residue N, and the peptide bond atoms of residues N + 3

  and N — 3. /3-sheet segments form when two separate backbone segments align parallel to each

  other, and hydrogen-bonds form between aligned peptide bonds. Since the initial discovery of these

  folding motifs, many other forms have been identified, such as alternate helical structures, parallel


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  as well as anti-parallel ^-sheets, turns, and motifs involving coordinated ions such as Ca, Zn, Mg,

  orCu.


                                                                      Ha&ppiSwp




                     (a)                                                 (b)
  Figure 2.2: (a) An a-helical protein folding motif, (b) A /3-sheet protein folding motif. The two (3
  strands in this case are connected via a hairpin loop, a commonly occuring turn in proteins. (After
  Branden and Tooze, Introduction to Protein Structure [20]).


     The secondary structure units, in turn, combine to form tertiary, quaternary and higher pat-

  terns, such that a hierarchy of levels of protein folding emerges. The structure of bacteriorhodopsin

  consists of seven a-helices, arranged roughly parallel to each other and connected by turn segments.

  The helices form a cylinder which spans the bacterial cell membrane, through which protons are

  conducted during the photocycle.

  2.3     Molecular Dynamics

  Molecular dynamics simulations calculate the motion of the atoms in a molecular assembly using

  Newtonian dynamics to calculate the net force and acceleration experienced by each atom. In

  this model, each atom t is treated as a point mass m, at position ff, with the atoms assigned

  partial charges % which remain fixed throughout the simulation. The covalent bond structure of


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   the molecule is also assumed not to vary during the simulation. These assumptions limit the range

   of problems to which MD simulations may be applied; for example, chemical reactions involving

   bond breakage or charge transfer are not suitable for study by standard molecular dynamics. MD

   techniques are best suited for structures which involve stable repeating subunits interacting pri-

   marily via electrostatic interactions, and which undergo conformational (as opposed to structural)

   transitions such as ring flips, torsional isomerizations, or hydrogen-bond formation. Many types of

   motions exhibited by proteins, nucleic acids, membranes, and liquids fit well within this realm of

   applicability.

   2.3.1    E n e r g y Function

   An empirical energy function

                                          U{n,r2,-.rN)=U(R)                                       (2.1)

  which depends on the positions (and possibly momenta) of the atoms i is used to determine the force

   Fi on each atom; using Newton's second law, these forces determine the acceleration experienced

  by each atom:

                                         mi^=Fi      = -VU(R).                                    (2.2)

  Equation(2.2) represents a set of N second order differential equations, which are solved numerically
  at discrete time steps to, ti,...   t\f to determine the trajectory of each atom fj(£). A standard

  integration scheme used in molecular dynamics programs is the Verlet method [179], which, given

  the positions of atoms at time t — At and at time t, determines the positions at time t + At using

                                                                 A*2
                               ff(< + A*) = 2rt(t) - n(t - At) + —Fi(t).                          (2.3)
                                                                     mi

  The Verlet integration method has the advantage of requiring only one force evaluation per time

  step, and of not requiring calculation of the atomic velocities.

      A number of different energy functions U(R) have been developed to model different classes of

  molecules or to model different types of molecular motion. Energy functions currently in use for

  the study of protein dynamics include the CHARMm [21], Amber [183], and Gromacs [172] force


                                                    10


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   fields. In these models, the energy function includes terms which describe the interactions between

   atoms due to the electrostatic (non-bonded) attractions and repulsions between pairs of atoms,

   and the interactions between covalently bonded atoms which are typically represented by harmonic

   potentials.

      The CHARMm energy function is used in all simulations reported here. This function has the

   form

       U{R) =           £^(rt--r0)2+          £       C*e(fc-*o)2 +     E         &f*=[l+cosK& + &)] +
                    bonds                    angles                   dihedrals
                            Ubond                      Conjfe                         &dikcdral




                    ^————-——-—-—————^————^—————^
                                         Unonbond




                    '          ———v                             *
                                    Uhbond

   which is comprised of two parts: the non-bonded energy terms (Utumband), and the bonded energy

   terms ((%*%<(, Uangie, Uathedrai, and Uhbond)- The non-bonded terms include the l / r # Coulomb

   interaction as well as a Lennard-Jones 6-12 potential used to model the close-range repulsion be-

   tween electron clouds and the longer-range attraction due to induced dipoles. These non-bonded

   quantities involve the interaction of each atom with all other atoms in the system, an 0(N2) cal-

   culation; it is the computation of these terms which require the majority of the CPU time in an

   MD simulation.

      The second part ofeqn. (2.4), the bonded energy terms, model the motion of atoms due to the

   covalent bonds in the molecule. These terms include the following:

      * Ubmd (Fig. 2.3a): Oscillations about the equilibrium bond lengths r 0 . In biopolymers, bond
          oscillations are the highest frequency motion in the system, with periods on the order of 10~14
          s; consequently, the integration time step in MD simulations of proteins is typically taken as
          one tenth of this, i.e., 1 femtosecond.

      • Wangle (Fig. 2.3b): Oscillations of three atoms about an equilibrium angle do-

                                                          ll



                                                                                                  BECKMAN00000398
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                                            6

            (a)                            (b)                                   (c)


                                                                            H

                                                                                   e
                                                       AA

                     (cD
                                                                           (e)

   Figure 2.3: Bonded energy terms in the CHARMm molecular dynamics force field, (a) Bond
   energy, (b) Angle energy, (c) Dihedral angle energy, (d) Improper dihedral angle energy, (e)
   Hydrogen-bond energy.

      * Udihedrai (Fig. 2.3c and d): Dihedral angle motions refer to torsional rotation of four atoms

        about a central bond. The dihedral angle <f> is defined as the angle between the planes formed

        by the first three atoms in the dihedral, and the last three atoms in the dihedral. The

        CHARMm force field also includes improper dihedral angles (Fig. 2.3d), which are four-body

        interactions with the same functional form as dihedral angles but involving a different type

        of motion. Improper dihedral angles are formed by one central atom moving out of the plane

        formed by the other three atoms in the improper dihedral, by an angle <f>.

      • Uhbond (Fig. 2.3e): MD simulations may optionally include the Uhbond term to explicitly model

        hydrogen-bond interactions between donor (D), hydrogen (H), acceptor (A), and antecedent

        (AA) atoms. The hydrogen-bond strength is dependent on both the donor-acceptor separation

        TQA and the orientation of the atoms.

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   2.3.2    Force F i e l d P a r a m e t e r s

   One consequence of the parametrization of the forces acting on each atom as done in eqn. (2.4)

   is the need to determine a large number of force constants and equilibrium values such as kb<md,

   fjmgU^ 0O) g ^       &r each atom. One method employed to reduce the number of parameters in a

   simulation is to develop a small set of characteristic atom types, for which parameters are deter-

   mined. For proteins, parameters are developed for each amino acid separately, in either the gas or

   liquid phase, after which the determined values are used for all occurences of that amino acid in

   simulated systems. Values for force constants in most cases start from best-guess values and are

   iteratively refined through comparison with experimental data. The comparison data is derived

   from numerous sources, including: accurate quantum chemical evaluations of the electron densities

   and ground-state equilibrium configurations; vibrational spectra, compared to calculated normal-

   mode frequencies; and experimentally measured van der Waal's radii, densities, bulk moduli, and

   transport coefficients.

   2.3.3    Simulation A l g o r i t h m

   Atypicalmolecular dynamics simulations of a biopolymer begins from an initial structure and initial

   velocity distribution, and proceeds to solve eqn. (2.2) for successive time steps using eqn. (2.3).

   The initial coordinates quite often derivefroman X-ray, NMR, or electron microscopy structure for
   the molecule, while the velocities are assigned randomly from a Maxwell-Boltzmann distribution at

   some temperature T. In the absence of any external coupling or boundary conditions, this scheme

   is energy conservative and represents simulation in the microcanonical ensemble. Quite often, it is

   desirable to maintain a constant temperature as well, in order to compare the simulation results

   to experiments performed at some specific value of T. In this case, a simulation may include an

   initial period of temperature equilibration, in which the particle velocities are periodically either

   scaled by a factor


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  or are reassigned from a new Maxwell-Boltzmann distribution. This initial equilibration period

  continues until partitioning of the total energy among the potential and kinetic degrees of freedom

  of the molecule reaches an equilibrium.

  2.3.4   Parallel Molecular Dynamics

  Calculation of the non-bonded energy terms in eqn. (2.4) is a computationally expensive procedure,

  and several techniques have been developed to reduce the time necessary to evaluate Unonbond or

  to increase the accessible time scale for simulation. In many cases, a cutoff radius is employed

  for the non-bonded interactions, where, for each atom, the interaction with other atoms outside

  this region is taken to be zero. A switching function is used to smoothly vary the nonbond terms

  from their correct value to zero in an interval near the edge of the cutoff region. To increase

  the size of the integration time step, which is limited by the high-frequency bond oscillations, the

  SHAKE algorithm is often used to iteratively constrain bond lengths to their equilibrium values

  [139]. Recently, parallel computers and algorithms have also been employed to decrease the total

  time necessary to compute a molecular trajectory.

     Parallel computers employ several processors connected by an interprocessor communications

  network (or shared memory mechanism) to increase the total computational resources available

  for a given task. Parallelization of molecular dynamics requires the use of an efficient strategy for

  partitioning tasks among the processors, and several methods have been investigated to parallelize

  existing molecular dynamics applications. For simulations involving a cutoff of the nonbonded

  interactions, a spatial decomposition strategy is an effective method to limit the total amount

  of communication required between processors and to maintain an equal CPU workload. Spatial

  decomposition partitions the volume of space occupied by the molecule into uniform regions, and

  assigns the task of computing the motion of the atoms in each region to different processors. We

  have developed the molecular dynamics program NAMD, which implements the CHARMm energy

  function and uses spatial decomposition for parallel computation; NAMD was employed for several

  of the simulation of bacteriorhodopsin reported here, and is described further in appendix A.



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   2.3.5   Visualization a n d Analysis of Trajectory D a t a

   Molecular dynamics simulations generate a tremendous amount of data, in the form of position

   and momentum vectors for each atom at each time step. An important process in MD simulations

   is visualization of this data. In conjunction with the development of NAMD, we have developed

   the program VMD to display and analyze the computed molecular trajectories. This program has

   been employed to study the results of MD simulations in all studies of bacteriorhodopsin reported

   here, and is described further in appendix B.

      At present, MD simulations proceed in two steps: generation of output data files containing

   the computed molecular coordinates, followed by visualization of these data files. What is often

   desired, however, is a single step: visualization during calculation, which makes possible immediate

   feedback on and interactive participation in the simulation while it is in progress. VMD is one

   attempt to provide this functionality: it includes a graphical user interface to initialize an MD

   simulation using NAMD on a remote computer, and to display the computed time steps of the

   molecule under study as they are calculated. Further, it offers interactive controls to the user:

   using a pointer device, the user may add perturbative forces to selected atoms, amino acids, or

   protein fragments which are included in the dynamics of the system. Appendix B discusses this

   capability and the features of VMD in detail.




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  Chapter 3

  Structural Refinement of
  Bacteriorhodopsin 1

  3.1      Introduction

  The publication of the electron microscopy (EM) structure of bacteriorhodopsin by Henderson and

  coworkers [66] has been a seminal event for research on retinal proteins. It provides a necessary

  reference for atomic-level models of the bR proton pump mechanism, and acts as a starting point

  for molecular dynamics simulations of the protein. Unfortunately, the EM structure does not yet

  resolve sufficient detail to explain fully the mechanism of proton pumping in bR. For example, the

  EM structure resolves only the membrane spanning residues of the seven a-helices of bR, but not

  the inter-helical loops. The EM structure also does not resolve any of the water molecules inside

  bacteriorhodopsin. In this chapter, we describe a refined structure of bR which has been developed

  through modification and energy minimization of the original EM structure, and which has been

  tested for stability and accuracy in molecular dynamics simulations.

  3.1.1    P r o t o n P u m p Cycle

  Bacteriorhodopsin transfers protons from the cytoplasmic to the extracellular side of the membrane

  through a cyclic process initiated by absorption of a photon. This photon triggers an isomerization

  of retinal, which proceeds then through several intermediate states identified by their absorption

  spectra. An accepted kinetic scheme for this cycle is an unbranched series of intermediates shown
     'Portions of this chapter have been taken from the manuscript: W. Humphrey, I. Logunov, K. Schulten, and M.
  Sheves, Molecular Dynamics Study of Bacteriorhodopsin and Artificial Pigments, Biochemistry 33:3668-3678, 1994.


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  in Fig. 3.1, where the indices on each intermediate (J, K, L, etc.) denote the absorption maxima

  of the respective species.


                                           bR
                                                * ~^TJ°*
                                  200 fs                             3ps\

                      bR568                                                 K590



                    ms



             '640
                                                r-\                                     L
                                                                                            550



                                                                                40 US




                           520
                                                                         M412



                                 Figure 3.1: Bacteriorhodopsin photocycle.


     The photocycle can be considered in two parts: the early intermediates which encompass the

  reaction [93, 99]
                                           hu
                                    bRgGS ~» bR* ->• J 6 2 5 - + K590 ** L550                         (3.1)

  followed by the late intermediates [93,126, 149, 59, 174]


                               L550 f+ M(!) -> M(n> <-»• N520 +* O640 -*• bRgeg.                      (3.2)


  Photoexcitation of bR to bR* initiates an isomerization about the C13-C14 bond of retinal to form

  a 13-cts isomer; until recently, this reaction has been considered to finish after formation of the

  J625 state in 500 fs [99, 37, 40]. This picture is supported by the fact that Jggs cannot be trapped

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   even at low temperatures. However, recent femtosecond spectroscopy experiments have suggested

   that isomerization does not occur immediately, and thus Jg25 may represent a partially twisted,

   unstable state (see ref [64], and chapter 6).

      By K59o and L550, the system is in a fully I3~cis state [169,18]. The Lsso -+M412 transition is

   accompanied by transferral of the Schiff base proton to Asp-85, due to lowering of the Schiff base

   pKa and concomitant increase in the pKa of Asp-85 [150, 108, 106, 19, 160, 57]. Subsequently, a

   proton is given off to the outside of the cell via a proton release group, which has been recently

   identified as Glu-204 [23, 6, 136]. During the M ^ - ^ r ^ o transition, a proton is transferred to

   the Schiff base from Asp-96, which then takes up a proton from the cytoplasmic environment [57].

   The reaction cycle is completed as the protein returns to bRggg in the final transitions.

      Several researchers have proposed that the L550 -» M412 -*• N520 transitions involve actually two

   M412 forms, M(Q and Mpq [33, 86, 94, 110, 149, 58, 134]. Detailed models were suggested by

   Orlandi & Schulten [121], and V616 & Lanyi [175,177,176], who suggested that the crucial change

   which is responsible for the difference in the exposed site of the Schiff base from outside to inside

   is attributed to the Mp) -»M(n) transition.

   3.1.2   Evidence for Internal W a t e r Molecules

   Several studies have suggested the presence of water molecules within bacteriorhodopsin. The
   involvement of water in stabilizing the protonated Schiff base was suggested by Dupuis et al. [41],

   by Hildebrandt & Stockburger [71] based on resonance Raman studies of dried membrane, and by

   de Groot et al. [34] based on 15N NMR studies. Neutron diffraction data has indicated at least

   11 water molecules within the interior of bR, with four located near the Schiff base binding site

   [125]. Recently it was suggested [56] that in bR a specific orientation between the Schiff base and

   carboxyl groups allows water molecules to form a well defined structure which bridges the charged

   groups. This structure stabilizes the ion pair (protonated Schiff base/counterion) and leads to the

   unusually high pKa value of the protonated Schiff base and low pKa of the aspartic acids. In

   addition, water molecules have also been suggested to participate in the transfer of the proton



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  from Asp-96 to the Schiff base [66, 175]. Water is also expected to contribute significantly to the

  pKa values of relevant titratable groups in bR [5, 56]. Observed changes in the water structure

  during the photocycle [96] and changes in the absorption maximum of bRggg upon dehydration

  [71, 125, 135] support an important role for water in bR. The participation of water and amino

  acid side groups in proton transport in bR has been discussed also in Brunger et al. [25].

  3.1.3    Outline of C h a p t e r

  In this chapter, we extend the work of earlier MD studies of bR and further refine the structure for

  bRggg by means of molecular dynamics simulations, focusing mainly on the retinal binding site. The

  inter-helical loop regions of bR, missing in the EM structure, had been added and the structure

  had been refined in a previous molecular dynamics study of bR by Nonella et al. [116], and a

  first attempt to place water into bacteriorhodopsin and to further refine its structure had been

  made by Zhou et al. [189]. These earlier refinements were improved in several respects. First, we

  incorporated into the simulations new data by Henderson (R. Henderson, private communication)

  which shifts the D helix 3 A toward the cytoplasmic side of b R Second, we changed significantly

  the refinement protocol of the earlier studies [116, 189]: after addition of the loops and of sixteen

  water molecules the structure was constrained back to the Henderson coordinates of the trans-

  membrane segment. Third, we employed observations on bacteriorhodopsin reconstituted with

  retinal analogues (see for a review: [123]) as tests of our structure. In doing so we realized that

  combined atom simulations, e.g., representations of CH2 moieties by effective single atoms, are not

  sufficient to account for sterical interactions of retinal with its binding site. Therefore, we adopted

  as a fourth improvement an all atom description for the refinement.

  3.2     Methods

  The original electron microscopy (EM) structure of bR, as determined by Henderson et al. [66],

  resolved the membrane-spanning helical residues; the turns had been added to this structure and

  equilibrated by molecular dynamics simulations in Nonella et al. [116]. The backbone atoms of

  the resulting structure had an RMSD of 2.8 A as compared to the EM structure. Our refinement

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  employed the structure in Nonella et al. [116] as a starting point. The program X-PLOR [26],

  which uses the CHARMm energy function [21] was used for all molecular dynamics simulations.

  All simulations were carried out at a temperature of 300 K, employed a cut-off distance of 8 A, and

  a dielectric constant of e = 1 for the evaluation of Coulomb interactions.

     Both the structure proposed by Henderson et al. [66] and refined in Nonella et al. [116] omit

  specification of the hydrogen atoms explicitly, except for the protein backbone and for protonated

  amino acids. In the present study, all atoms are described explicitly. We also employ an explicit

  hydrogen-bonding term in the energy function. The all atom representation was obtained by adding

  hydrogens to the structure in Nonella et al. [116] using the HBOTLD command of X-PLOR. The

  parameters and charges used in the simulations are, respectively, the parmallhSx. pro parameters

  and topallh6x.pro charges [21, 26], except for retinal.

     The charges employed for the protonated Schiff base of retinal in bR are those reported in [116]

  and used in [189] with slight modifications. The original charges were chosen for the united atom

  model; the explicit hydrogens added to the retinal backbone were given partial charges of 0.03 in

  units of proton charge, with the corresponding heavy atom charges reduced by 0.03 to preserve

  net charge. The charges assumed in Nonella et al. [116] and Zhou et al. [189] for the Schiff base

  nitrogen and proton were -0.509 and 0.519, respectively; however, quantum chemical calculations

  of retinal charge distributions [165, 15, 28] have indicated that these charges might be too large.

  In our simulations, we have reduced the charges on these atoms to -0.309 and 0.319 for the Schiff

  base nitrogen and proton, respectively. It is not clear yet if this is the best choice. In a recent

  extensive quantum chemical calculation of a retinal Schiff base fragment, Nina & Smith determined

  the respective charges as -0.727 and 0.505 (Nina 6 Smith, in press).

     Equilibrium bond lengths, angles, and torsional angles for retinal are those determined by recent

  X-ray crystallography studies [141]. The retinal geometry in bRggg is aR-trans. Force constants

  for retinal are derived from molecules with similar chemical structures for which parameters are

  available in CHARMm and X-PLOR. Retinal backbone single- and double-bond torsional barriers

  are given in Table 3.1. Barriers for the backbone single bonds are 5 kcal/mol, and for the double


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  bonds 30 kcal/mol, with the exception of the bonds in the vicinity of the Schiff base. The C13-C14

  and C15-N5B double-bond barriers are reduced to 20 kcal/mol, and the C14-C15 single-bond barrier

  is increased to 10 kcal/mol, in keeping with quantum chemical calculations in [150,149].

                     &             kfr (in kcal/mol)           *            kfr (in kcal/mol)
              C5-C6-C7-C8                 5.0           C6-C 7 -C 8 -C 9           30.0
              Cy-Cg-Cg-Cio                5.0           Cg-Cg-Cio-Cu               30.0
              C9-C10-C11-C12              5.0           Cio-Cii-Ci2-Ci3            30.0
              C11-C12-C13-C14             5.0           C12-C13-C14-C15            20.0
              C13-C14-C15-N5S             10.0          Ci4-Ci 5 -N5B-C e          20.0

  Table 3.1:   Retinal backbone          torsional barriers     &&,    in   the   torsional     potentials
  EdUie = &&* [1 + cos ( 2 ^ + St)].

     The protonation states of titratable groups in bR are as given in the standard X-PLOR amino

  acid topology files, except for Asp-96 and Asp-115, which are assumed protonated according to the

  observations in [57,47]. As suggested previously [10,189], Arg-82 has been moved up to a position

  facing toward the cytoplasmic side of the protein. In this position, Arg-82 is part of the Schiff base

  counterion complex.

     In the original structure proposed by Henderson et al. [66], helix D was the least resolved

  segment of the seven a-helix protein, because it does not. contain any bulky aromatic side chains.

  It has since been realized that this helix should be positioned 3 A toward the cytoplasmic side

  of bR (R Henderson, private communication). To achieve this in our structure, we modified the

  original Henderson coordinates by moving helix D using the molecular graphics program Quanta

  [109] and harmonically constrained the C a atoms of all seven helices in the starting structure to the

  corresponding shifted Henderson coordinates. These constraints were applied for 30 picoseconds,

  followed by 10 picoseconds of equilibration, and energy minimization.

     After these calculations, sixteen water molecules were placed within the interior of bR, in three

  regions: above the Schiff base toward the cytoplasmic side, around the Schiff base, and below the

  Schiff base toward the extracellular side. These water molecules are described according to the

  TTP3P water model [77]. Six water molecules were placed in the region proximate to the Schiff

  base, four were placed above the Schiff base in the region proximate to Asp-96, and six were placed


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  below the counterion in the region close to the extracellular side. After the placement of water,

  the system was equilibrated for 20 picoseconds, and energy minimized. The resulting structure

  has been further simulated for 30 picoseconds to test the stability of the structure and determine

  various properties, eg., RMSD-values.

     Retinal modifications were performed on the final bRggg structure. The modifications were ac-

  complished with the PATCH facility of X-PLOR; initial coordinates were assigned using the positions

  of replaced atoms, and using the HBUILD command to generate coordinates for explicitly added hy-

  drogens. For all simulations, including retinal analogues, we carried out energy minimization after

  the modifications, followed by five picoseconds of equilibration and five picoseconds of dynamics,

  and further energy minimization. Table 3.2 lists the partial charges used in our simulations of

  retinal analogues.

                                   4-dimethylamino          4-methyl and
                            N4      -0.060                     2-methyl
                            C21      0.030 C22 0.030        C21 -0.040
                            H21A     0.000 H22A 0.000       R2IA    0.000
                            H21B     0.000 H22S 0.000       H21B 0.000
                            H21C     0.000 H22C 0000        H21C 0000

                           Table 3.2: Partial charges for retinal analogues.


  3.3     Results
  3.3.1   System Construction

  Following the addition of explicit hydrogens to the structure proposed by Nonella et al. [116] sim-

  ulation Gl constrained the CQ atoms of this structure to the corresponding atoms in the structure

  of Henderson et al. [66] with helix D shifted 3 A toward the cytoplasmic side of the membrane, as

  described in Methods. The resulting structure had an RMSD of 1.8 A for the backbone Ctt atoms

  as compared to the shifted Henderson structure, a value much improved compared to the 2.8 A

  RMSD for the structure as proposed by Nonella et al For helix D, the RMSD was 2.3 A, which is

  larger than the total RMSD, but still reduced, compared to the earlier value of 2.8 A.



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 Figure 3.2: Ribbon diagram of bacteriorhodopsin, showing residues which are implicated in the
 proton pump mechanism. Water molecules placed within the protein interior are represented as
 solid spheres. Helices C and D are shown as thin ribbons to reveal the retinal binding site.

    Following simulation Gl, water molecules were added to the structure as described in Meth-

 ods. In simulation G2, this system was equilibrated for 20 picoseconds, followed by final energy

 minimization. The resulting structure, bRggg, is presented in Fig. 3.2 - 3.6. Figure 3.2 shows the

 protein backbone, water, and retinal, as well as the added loop regions. The retinal long axis is

 at an angle of about 30° to the plane of the membrane, somewhat larger but still consistent with

 measured angles of 20° ± 10°. The methyls at Cg and C13 remain pointing to the cytoplasmic

 side [70, 42, 89, 66]. In the vicinity of the retinal ring, the average tilt of the retinal long axis is

 somewhat larger than the average tilt of retinal as a whole, by about 10°, due to a slight curvature



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  in the retinal backbone.




  Figure 3.3: Stereo diagram of retinal's twisted configuration. Thin dark cylinders originating from
  the Cg, Cg, and C13 positions indicate axes used to measure the orientation of methyl groups
  (Table 3.3).


     An interesting feature of the bRggg structure is a distinctive twist of retinal's backbone, as shown

  in Fig. 3.3. Obviously, retinal is not planar in this structure; instead it displays a "corkscrew"

  configuration, as one views retinal along its backbone. This twist is a result of torsions around

  retinal's single bonds, especially around the Cg-Cg, Cio-Cu, and C12-C13 bonds by 15°, 15°, and

  30°, respectively. In Fig. 3.3, thin cylinders originating from the Cg, Cg, and C13 atoms indicate

  axes used to determine orientation angles for the methyl groups at these positions. The vertical

  cylinders, representing the z axis, are parallel to the membrane normal. The horizontal (out of

  the page) axes, representing the x axis, are orthogonal to the z axis and in the plane formed by

  the membrane normal and the average direction of the retinal backbone. Table 3.3 lists the angles

 which define the orientation of the retinal backbone methyl groups. The angle 0 measures the tilt

 from the z axis, and the angle <f> measures the orientation of this tilt from the x axis.Also listed in

 Table 3.3 are measured values for 6 determined by solid-state 2H-NMR studies [171].

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                                        Methyl      <f>   Otin    fl^
                                         Cis      -64.7   48.6    37
                                         Cig      -27.8   41.4    40
                                         C20      57.8    345     32

  Table 3.3: Twist angles for retinal methyl groups. Values for 0exp were determined by solid-state
  2
  H-NMR studies [171].

      A detailed picture of the Schiff base region is given in Fig. 3.4, which shows the relative positions

  of active groups in the binding site, as well as the positions and orientations of water molecules

  in this region. Possible hydrogen-bonds are shown as dashed lines accompanied by the associated

  distances from hydrogen to hydrogen-bond acceptor. An interesting feature of this structure is

  associated with a hydrogen-bonding network within the binding site involving water molecules and

  protein residues. Within the immediate Schiff base linkage vicinity, there are four water molecules;

  two additional water molecules are in close proximity. The water molecules most proximate to

  the Schiff base all have three or four hydrogen-bonding partners. The Schiff base is hydrogen-

  bonded to only one water molecule; this hydrogen-bond differs from a linear conformation by 31°,

  in keeping with resonance Raman and FTIR spectra which suggest that weak hydrogen-bonding

  prevails between the protonated Schiff base linkage and its environment [3, 78, 4].

      Both oxygens of the Asp-85 carboxylate are located at a distance of 6 A from the Schiff base.

  One oxygen of the Asp-212 carboxylate is located at a distance of 4.6 A from the Schiff base, the

  other at a distance of 6.5 A. Asp-85 has two water molecules hydrogen-bonded to the carboxylate,

  which is also bound to Arg-82. There is no direct interaction of the Schiff base with Asp-85, the

  two groups being bridged by two water molecules. While Asp-212 is located closer to the Schiff

  base than Asp-85, it also is connected to retinal only indirectly through one water molecule. Figure

  3.4 shows that there are up to four groups within hydrogen-bonding distance of the carboxylate

  oxygen of Asp-212 closest to the Schiff base, shielding it from the Schiff base charge. While it is not

  feasible for all these groups to hydrogen-bond to the same oxygen of Asp-212, their proximity does

  provide an effective screen for the carboxyl group. A water molecule is hydrogen-bonded to the

  other oxygen of the Asp-212 carboxylate; this water molecule is also hydrogen-bonded to Tyr-57


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  Figure 3.4: Detailed view of the retinal binding site, showing positions of water molecules and
  important residues, and distances of possible hydrogen-bonds.

  and Arg-82.

     Tyr-57 is hydrogen-bonded to two water molecules in this structure: one of the waters is

  hydrogen-bonded to Arg-82, to another water molecule, and possibly to Asp-212 as well; the other

  water is hydrogen-bonded to Arg-82 and possibly to Asp-212. Tyr-185 is within hydrogen-bonding

  distance of Asp-212, as well as being hydrogen-bonded to one water molecule which is bound to

  the water molecule near the Schiff base. Both tyrosine residues have their hydroxyl groups oriented

  toward the Schiff base environment; however, they are separated enough from the Schiff base to

  preclude any direct interaction: Tyr-57 is separated by 6.9 A from the Schiff base, and Tyr-185 by

  4.6 A. Arg-82 has been directed in our bRggg structure toward the Schiff base, and remained in

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   this position throughout all refinement steps, hydrogen-bonding directly to Asp-85 and, indirectly,

   to Asp-212 and to Tyr-57 via water molecules. Trp-86 seems to participate in the least number of

   hydrogen-bonds, the only candidate being a possible bond with Asp-212. Trp-86 serves the role of

   maintaining a boundary for the hydrophilic region around the Schiff base. Thr-89 also participates

   in the hydrogen-bonded network described, with its hydroxyl group hydrogen-bonded to a water

   molecule which is also hydrogen-bonded to Asp-85.




   Figure 3.5: View of the region above the Schiff base, toward the cytoplasmic side of the membrane.

      Above the Schiff base, toward the cytoplasmic side of the membrane, helix G exhibits an unusual

   conformation. Figure 3.5 provides a detailed view of this region, indicating possible hydrogen-bonds

   by dashed lines. There are three water molecules between the protonated Asp-96 and the Lys-216

   to which retinal is attached. These water molecules, along with Phe-219, form a hydrogen-bonded


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  chain between Asp-96 and the carbonyl of Lys-216. The helix G backbone along this chain is

  seen to be distorted from a standard a-helical configuration, with the carbonyl of Phe-219 oriented

  perpendicular to the helix instead of parallel. This carbonyl is hydrogen-bonded to two water

  molecules, which breaks the standard hydrogen-bond between the CO group of Phe-219 and the

  NH group of Leu-223. One of these water molecules is hydrogen-bonded to the carbonyl of Lys-

  216, forming a weak hydrogen-bond due to a 60° angle between the hydrogen-donor pair and the

  acceptor-antecedent pair. The other water molecule is hydrogen-bonded to Thr-46 and also to a

  third water molecule which hydrogen-bonds to Asp-96. This chain provides an indirect interaction

  between Thr-46 and Asp-96.

     To test if the distortion in helix G is a result arising from the particular placement of water

  molecules used here, two simulations were done, each starting from the refined bRggg structure and

  running for 25 ps. In the first simulation, the two water molecules hydrogen-bonded to helix G

  above the Schiff base vicinity were removed. During this time, the helix maintained the distortion

  from an a-helical form, with the water molecule originally hydrogen-bonded to Asp-96 moving to

  form a hydrogen-bond with Phe-219, reinstating the hydrogen-bond lost when the water molecules

  were removed. In the second, all three water molecules placed in the region between the Schiff base

  and Asp-96 were removed. Within the 25 ps simulated, the helix remained in the distorted form,

  but it is possible the helix could return to a standard a-helical state given more time.

     NMR spectroscopy may be able to reveal the distance from the Cig atom of retinal to the

  closest tryptophan residue (J. Herzfeld, private communication). In our bRggg structure, with

  retinal oriented with its methyl groups at the Cg, Cg, and C13 positions toward the cytoplasmic

  side of the membrane, the closest tryptophan residue is Trp-182, located 3.7 A from Cig. In the

  EM structure, with retinal oriented in the same manner, this distance is 3.4 A [66].

  3.3.2   S t r u c t u r e Stability

  To test the stability of the described bRggg structure, we carried out simulation G3 which lasted

  30 picoseconds. Figures 3.7 - 3.8 summarize the results of this simulation. In Fig. 3.7, the RMSD



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                    ^ M    Asp 96
                                                                           VS4
                               4.                                    Schiff base


                                       Lys216




                                    Asp 212

         &                  t*
             Arg82




  Figure 3.6: Solid model images of retinal and key groups near and above the binding site region,
  from two different perspectives. The left image shows shows only a portion of retinal for clarity.

  of the CQ atoms is shown, with the seven a-helices A through G indicated by boxed regions. The

  turn regions exhibit the largest deviations, while helices B, C, and G show small deviations, of 0.4

  - 0.5 A. For all the helical portions except helix D, the RMSD is less than 0.8 A, while for helix

  D the residues close to the cytoplasmic side show higher RMSDs. Helix D is expected to have a

  somewhat larger mobility, since it is one of the smallest helices in bR, and does not contain any

  bulky residues.

     Figure 3.8 shows the distances of the carboxylate oxygens of residues Asp-85 and Asp-212 to

  the Schiff base proton, as well as the RMSD of the C a atoms relative to bRggg, during simulation

  G3. Asp-212 is seen to remain rather immobile, with distance values of 4.6 A and 6.5 A for the

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                 8




                               20   40    60   80    100 120 140 160 180 200 220 240
                                                      Residue ID

   Figure 3.7: RMS deviations for CQ atoms resulting from simulation G3. Boxed regions A through
   G indicate the a-helical segments of bR.

   two oxygens. Asp-85 exhibits larger fluctuations, but its motion is still relatively small, with both

   oxygens maintaining a distance of about 5.8 A. The RMSD of the Ca atoms fluctuates slightly

   during the simulation, mostly staying in the region of 0.8 A to 1.2 A. Following an initial relaxation

   of about 5 ps, where the RMSD increases to around 0.8 A, the RMSD remains close to an average

   value of 1.0 A. The immobility of residues Asp-85 and Asp-212 and the relatively small RMSD of

   the protein provides a good indication of the stability of retinal's counterion complex, and overall

   structure.

   3.3.3   R e t i n a l Analogue Simulations

   Experiments with modified retinal chromophores have provided useful information on the behavior
   of retinal within the binding site, and on the surrounding environment [123]. In this study we
   focus on modifications to the /3-ionone ring region of retinal, which provide clues about the orien-
   tation and location of the retinal ring within the binding site. Figure 3.9 illustrates the analogues
   considered here. It was observed that introduction of bulky substituents at the ring C4 position


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                      5
                  1 &/&#                                               t\&4*riW«f$M
                                                                             Asp-85 (Alpha)
                  O 3                                                        Asp-85 (Beta)
                                                                             Asp-212 (Alpha)
                                                                             Asp-212 (Beta)
                                                                             RMSD



                                 i   i   ,     i    i i
                                               10              15       20       25            30
                                                           Time (ps)

   Figure 3.8: Distances of oxygen atoms in the carboxylate of Asp-85 and Asp-212 to the Schiff base
   proton, and RMS deviations of C a atoms from bRggg, during simulation G3.

   blue-shifted the absorption maximum of bR considerably [155]. In contrast, substitution at the

   C2 position with a methyl group did not cause any significant change in the absorption maximum

   (Sheves and Friedman, unpublished results). Simulations of these artificial pigments, related to the

   spectral shifts observed for the respective pigments, should provide a measure of the consistency

   and accuracy of the refinement suggested here. Results for these simulations are given in Figs. 3.10

   and 3.11.

   4-dimethylamino Modification

   Simulations R1A and RIB were carried out to determine the effect of the addition of a dimethy-

   lamino group to the C4 position of retinal, and resulted in two structures, bRjuA and bRjuB. The

   C4 position has two hydrogen atoms bound to the carbon, thus, there are two possibilities for

   attachment of the dimethylamino group. We define the plane of retinal facing toward the extracel-

   lular side as a, and that facing to the cytoplasmic side as /?. Simulation R1A models substitution

   at the a-position, RIB at the ^-position.


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  Figure 3.9: Retinal analogues: a) 4-dimethylamino analogue and numbering scheme of retinal
  atoms, b) 4-methyl analogue, c) 2-methyl analogue, d) Cleaved-ring analogue.

     Figure 3.10 summarizes the results of both simulations. Shown in this figure are the torsional

  angles of bonds along the retinal backbone. For the native pigment, all retinal backbone bonds are

  in the s-trans configuration, with the Cg-C?, Cio-Cn, and C12-C13 bonds slightly twisted, giving

  rise to the corkscrew configuration of retinal in bRggg discussed above. The changes of retinal's

  conformation in going from bRggg to bRmA are quite dramatic. The Cg-C? and Cg-Cg bonds rotate

  from an s-trans to an s-cis conformation, while the C12-C13 bond relaxes completely to the s-trans

  state. Both the Cg-C? and the Cg-Cg bond twist by about 30° from planar s-cis conformations. In

  the case of   DRRIB,   the resulting conformation shows some change relative to bRggg, but all retinal

  backbone bonds remain in the s-trans conformation. The main changes seen are in the Cg-C? and

  Cg-Cg torsional angles. The rotation about the Cg-C? bond measures about 20°, reducing the 30°

  twist angle of native retinal. The rotation about the Cg-Cg bond, however, measures about 30°,

  twisted from the native s-trans configuration, a larger overall twist than for the Cg-C? bond.


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                     240


                     180 -—-;-.»'


                 f
                 2   120
                 1




                                                  Atom Number

  Figure 3.10: Comparison of dihedral angles along retinal backbone, for substitutions at the C4
  position; the numbering scheme is defined in Figure 3.9.

  4-methyl Modification

  Simulations R2A and R2B modeled the effect of substitutions at the C4 position of retinal with

  a methyl group, and resulted in structures bRR2A and DRR2B- Attachment to the o-position was

  studied in simulation R2A, attachment to the ^-position in simulation R2B. The results of these

  calculations are summarized in Fig. 3.10. In DRR2A. retinal maintains its s-trans conformation

  along the polyene skeleton, but many of the dihedral angles show significant twists. The torsion

  about the Cg-Cg bond is about 20°, and the C12-C13 single bond rotates by about 30° from the

  native conformation. Most significantly, retinal twists by over 45° about the Cg-C? single bond,

  such that this bond is twisted by 60° from s-trans. Retinal in bRi&A. has a very twisted form, with

  the ring region in particular twisted relative to the plane of the membrane (offset somewhat, by

  opposite rotations about the Cg-C? and C12-C13 bonds). In bRa2B, the system stays very close to

  the bRggg conformation, with only slight rotations about the Cg-C? and C12-C13 bonds.




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  2-methyl Modification

  Simulations R3A and R3B modeled the effect of substitutions at the C2 position of the retinal ring

  with a methyl group, and resulted in structures bRas* and bRRsg. As for the previous analogues,

  R3A modeled the attachment to the a-position, and R3B to the ^-position. Figure 3.11 summarizes

  the results of these calculations. For both analogues, there is very little change with respect to the

  native pigment. bRR3A> hi particular, has a retinal conformation essentially identical to that of

  bRggg; bRasB contains only two significant changes, one being a 15° twist about the Cg-Cg bond,

  away from the equilibrium angle1, and the other a 10° relaxation about the Cio-Cu bond toward

  the equilibrium angle. In effect, these two counter-rotations in bR^B leave the retinal ring position

  and orientation basically unchanged.




                      180 -••




                  ra 120

                  1
                                                                               "R*.
                      60 -
                                                                        » — • bRpge
                                                                               bR*.


                             6/                      10     11     12     13          14   15



                                                   Atom Number

  Figure 3.11: Comparison of dihedral angles along retinal backbone, for substitutions at the C2
  position and for the cleaved-ring analogue.


 Ring Cleavage Modification

  Simulation R4, resulting in structure bR&4, was carried out to simulate the effect of cleaving the

 ring between the 3- and 4-carbons, and between the 1- and 6-carbons. Experiments with a cleaved-

 ring retinal analogue indicate that the absorption maximum is blue-shifted [154]. The results for

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  structure bR&4 are summarized in Fig. 3.11. This analogue changes considerably with respect to

  the native pigment; the chromophore twists about every single bond along the retinal chain except

  the   CH-CIS   bond which has a higher torsional barrier than the other single bonds (see Table 3.1).

  The analogue rotated from s-trans to s-cis about the Cg-C% bond, resulting in the terminal ring

  fragment moving toward the extracellular side. The region into which these atoms move is occupied,

  in the case of native retinal, by the constituents of the /J-ionone ring. The retinal analogue also

  exhibits a strong overall twist, but in an orientation opposite to that of bRggg. The dihedral angles

  of the native pigment which deviate from their equilibrium values are all larger than 180°, while

  the dihedral angles ofbR&* rotate to angles less than 180°. This results in a retinal with a chirality

  opposite to that of bRggg.

  3.4      Discussion

  Simulations Gl through G3 provided a refined structure of bRggg which is in much closer agreement
  with the EM structure than the structure in Nonella et al. and Zhou et al. as judged by the RMSD
  values. Simulations R1A-B through R4 modeled artificial pigments in an attempt to judge the
  validity of the bRggg structure, and to attempt to interpret the observed spectral shifts of retinal
  analogues.

  3.4.1    S t r u c t u r e Refinement

  A distinctive feature of the final structure of bRggg determined in simulation G2 is a corkscrew

  twist in the retinal backbone, due to rotations about the single bonds. Retinal also exhibits a slight

  curvature along the polyene chain. This curvature did not emerge in the previous refinements of

  bR [116, 189]. Circular dichroism (CD) experiments on bR have shown that in the trimeric form of

  bR in the membrane the CD spectrum is characterized by separated negative and positive bands,

  whereas the monomeric form is characterized by only one positive band. The trimeric spectrum

  was interpreted as due to exciton coupling [68, 44, 87]. Recently it has been suggested that the

  CD spectrum originated from rotations around single C-C bonds along retinal's backbone which

  would break the planar symmetry and provide an angular component to 7r-electron motion [46].

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    Solid-state 2H-NMR studies of retinal in bR also indicate a twisted retinal, and suggest the

 retinal backbone to be curved, bending toward the extracellular side [171]. Table 3.3 compares the

 experimentally determined tilt angle 0 of retinal methyl groups Cig, Cig, and C20 to the angles

 for bRggg. These angles compare quite well, with the largest difference seen for Cig, which is the

 methyl group attached to the retinal ring. The experiments were not able to determine the twist

 angle <f>, which determines the orientation of the tilted methyl group; in bRggg, the methyls Cig

 and Cig are twisted to one side of the membrane normal, with the C20 methyl twisted to the other

 side. It is possible that retinal is capable of twisting in either direction, which has been suggested

 as an explanation for an observed biphasic band in the CD spectrum of bR [185].

    The retinal ring is found at an angle of about 20° relative to the plane of the Schiff base

 moiety, this orientation being due to the cumulative effect of several rotations about the single

 C-C backbone bonds, the twist about the Cg-C? bond being very small, such that retinal is in

 a 6-s-trans conformation as previously suggested [63]. FTIR linear dichroism and photoselection

 measurements combined with quantum-chemical calculations have indicated twists around the reti-

 nal single bonds [50]. Slight rotations about these single bonds should not affect considerably the

 absorption mimmnm and the opsin shift induced by a reduction of the Cg-Cy torsional angle [1].

    The Lys-216 dihedral angles are also seen to be slightly twisted in this structure from their

 equilibrium positions, by almost 20° in the case of the Schiff base N - Ce bond, to 5° or 10° for the

 remaining Lys-216 bonds Cc - Cg, etc. Experimental studies have indicated an unusual coupling

 between the 15-H rock vibrations and the backbone vibrations of the lysine. This unusual coupling

 might be associated with a twisted lysine conformation [55].

    Many recent reports have indicated an important role for water in the structure and function of

 bR Vibrational [39, 71] and NMR [34] studies have suggested the presence of bound water within

 the retinal binding site, and the possibility has been suggested that water molecules participate

 in proton transfer from Asp-96 to the Schiff base [66, 27]. It was also suggested that water plays

 an important role in maintaining the high pKa of the Schiff base and the low pKa of Asp-85 in

 the native pigment [5, 56]. Sixteen water molecules, placed within the refined bRggg structure,


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  maintain positions within the protein in three distinct regions: below the Schiff base toward the

  extracellular side, toward the cytoplasmic side between the Schiff base and Asp-96, and in the region

  of the Schiff base. The latter water molecules form a complex network of hydrogen-bonds within

  the binding site. Vibrational spectroscopy studies of threonine mutants of bR have suggested the

  possibility of a "proton wire" connection from Thr-89 to Asp-212, which is formed in our bRggg by

  three water molecules connecting these two residues [138].

     It is currently believed that a major contribution to the opsin shift in bR is a weak Schiff base-

  counterion electrostatic interaction. Water molecules within the binding site bridge the Schiff base

  linkage and its negatively charged carboxylate neighbors and, according to our refinement, maintain

  a relatively large distance between the Schiff base and residues Asp-85 and Asp-212, namely, 6.0

  A and 4.6 A, respectively. The distances are considerably larger than the respective distances of

  4.1 A and 3.7 A in the Henderson structure [66]. The large distances are in keeping with a weak

  electrostatic interaction which contributes to the opsin shift [146]. In our refined structure, there

  is no direct interaction between the Schiff base and the aspartic acids; simulations without water,

  however, have all resulted in Asp-85 and Asp-212 remaining very close to the Schiff base, i.e., at

  distances similar to those of the Henderson structure [66]. Experiments with dehydrated bR have

  resulted in a blue-shifted absorption maximum [71, 125, 135] which could be the result of removal

  of at least part of the water molecules in the vicinity of the Schiff base, and of a corresponding

  attraction of Asp-85 and Asp-212 toward the Schiff base. The Schiff base is also seen to form only

  one hydrogen-bond, which is relatively weak due to the fact that the hydrogen-bond is not linear,

  with an angle of about 30°. Accumulated evidence from resonance Raman spectroscopy and FTIR

  both of bR and model compounds [3, 78, 4] indicated a weak hydrogen-bond between the Schiff

  base linkage and its environment. The present simulations suggest that this weak hydrogen-bond

  is not between the Schiff base and the counterions Asp-85 or Asp-212, but rather between the

  Schiff base proton and water. We note that recent model compound studies [90] have suggested

  that a weak electrostatic interaction between retinal and its counterion prevails also in bovine

  rhodopsin; however, in this system the Schiff base proton maintains a strong hydrogen-bond with


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  its environment. Thus, there is no direct correlation between the Schiff base-counterion electrostatic

  interactions and the strength of hydrogen-bonding to the Schiff base proton.

     The counterion residues Asp-85 and Asp-212 differ in their orientation and environment in

  the structure presented here. Both oxygens of the Asp-85 carboxylate are equidistant from the

  Schiff base, while one of the oxygens of the Asp-212 carboxylate is significantly closer to the Schiff

  base than the other. Asp-212 also participates in more hydrogen-bonds than Asp-85, due to a

  larger number of closely adjacent groups. These groups provide a very effective screen for Asp-

  212, which could possibly explain why Asp-212 interacts electrostatically weakly with the retinal

  positive charge. Model compound studies have indicated that strong hydrogen-bonding to the

  counterion induces red shifts in the absorption maximum of the retinal protonated Schiff base

  due to a diminished interaction between the retinal positive charge and the negatively charged

  counterion [4,1]. Replacement of Asp-212 by asparagine did not affect significantly the absorption

  maximum of retinal, in contrast to Asp-85 replacement, which induced a red shift in the absorption

  maximum [111, 104]. The difference in Asp-212 and Asp-85 environments may also account for

  their different behavior in M412 formation following light absorption, provided that the differences

  are also reflected in the L and M intermediates. It was found that Asp-85, and not Asp-212, serves

  as the proton acceptor in bR's pump cycle. The hydrogen-bonding of Asp-212 with the neighboring

  protein residues may stabilize the negative charge on Asp-212 reducing its pKa and preventing a

  proton transfer from the retinal Schiff base to Asp-212. In contrast, the negative charge on Asp-85

  is stabilized only by water that forms a bridge betweeen the protonated Schiff base linkage and

  Asp-85. Following light absorption this structure might be perturbed and the ApKa between Asp-

  85 and the Schiff base will be decreased to induce the proton transfer observed between these two

  groups.

     The water structure and unusual helix G conformation above the Schiff base (toward the cy-

  toplasmic side) suggest one possible means for establishment of a network for transfer of a proton

  to the Schiff base from Asp-96. In M, it has been observed that the lysine carbonyl adopts an

  unusually low amide I frequency, which may be the result of hydrogen-bonding to water (Takei


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   et al., submitted). In our refined bRggg structure, a water molecule is bound to the lysine carbonyl.

   This unusual structure may allow, following light absorption and a further perturbation in the

   lysine backbone structure, the formation of a new water arrangement between the lysine carbonyl

   and possibly Asp-96 to account for the low Amide I lysine frequency observed in M. From test

   simulations with two or three of the water molecules in this region removed, the helix G distortion

   does not seem to be a result of the particular placement of water molecules used. Two Gly residues

   in this region of helix G (218 and 220) may provide some extra flexibility for the helix to maintain

   its unusual configuration.

   3.4.2   R e t i n a l A n a l o g u e Simulations

   Retinal analogues modeled in simulations R1A-B through R4 were used to test our refined bRggg

   structure in the vicinity of the retinal ring, and to explain some of the structural rearrangements

   which accomodate artificial pigment experiments. It has been observed that the absorption max-

   imum of bR is very sensitive to substitution at the C4 position of the retinal ring, but relatively

   insensitive to substitutions at the C2 position. Substitution of a methyl group at the C4 position

   resulted in two photoactive pigments, which absorbed at 550 run and 460 run, each with its own

   photocycle. Substitution of the bulkier dimethylamino group at the C4 position resulted in a single

   pigment absorbing at 460 nm [155]. In contrast, substitution of a methyl group at the C2 position
   did not significantly affect the absorption maximum.

      Both C2 and C4 positions of retinal are achiral; however, after incorporation into the protein

   binding site the two enantiomers are different and chiral discrimination by the protein is possi-

   ble. It was previously suggested [152] that only one enantiomer at the C4 position was bound

   to bovine opsin. In the present simulations we investigate the possibility of pigment formation

   for both enantiomers. For substitution of a methyl at the C4 position, one possible explanation

   for the two observed pigments is that each pigment consists of a different enantiomer. The fact

   that bRR2A contains very large rotations about retinal's single bonds, particularly about the Cg-C?

   bond, suggest that the respective enantiomer corresponds to the strongly blue-shifted 460 nm peak.



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  bRR2B shows very little conformational change from the native pigment and suggests that the cor-

  responding enantiomer produces the 550 nm peak. Trp-138, which is in very close proximity to the

  o-position of the 4-carbon (3.6 A from the C<n atom of Trp-138 to the a hydrogen of C4) could

  account for this effect, in that substitution at the a-position results in a steric hindrance which

  causes a twist in retinal, while substitution at the ^-position does not lead to strong sterical inter-

  actions. For the addition of a larger dimethylamino group to the C4 position, a similar explanation

  is suggested.   DRRIB,   with this substitution at the ^-position, resulted in a highly twisted retinal

  which could explain the blue-shifted 460 nm peak. The very dramatic double bond rotation ob-

  served for bR&iA could indicate that binding of the dimethylamino group to the a-position requires

  a very large conformational change, perhaps too large to allow this chromophore to constitute with

  bacterioopsin. The proximity of Trp-138 prevents attachment of the bulky dimethylamino group

  to the a-position, but this group can be accomodated at the /^-position at the price of some twists

  in retinal.

     Simulations of chromophores with a methyl group at the C2 position produce no significant

  change in the bR structure, which compares very well with the unshifted spectra observed for these

  analogues.

     In simulations R1A-B through R3A-B, the structure in the vicinity of the Schiff base has

  been examined for changes induced by retinal modifications. In the six simulations, no major

  conformational changes have been observed: Asp-85 and Asp-212 maintain their relative distances

  from the Schiff base, the network of hydrogen-bonded water molecules is maintained, and the

  overall structure of the residues surrounding the binding site is the same. Experiments have shown,

  in fact, that the C=N stretching frequency does not change for substitutions at the C4 position.

  Simulations R1A-B through R3A-B also support the direction of the methyl groups of retinal, which

  are oriented in our simulations toward the cytoplasmic side of the membrane. Orientation of these

  methyl groups toward the extracellular side would reverse the roles of the C2 and C4 position.

     In simulation R4 of a linear chromophore (see Fig. 3.9), retinal developed twists about all

  of its single bonds, except the C14-C15 bond and, in particular, isomerized to a twisted 6-s-cis


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  conformation. This conformation resembles the conformation of the protonated Schiff base of

  retinal in solution, the latter compound absorbing at 440 nm. Our simulation could explain the

  observed blue-shift (relative to bRggg) for this retinal analogue to 532 nm, which is red-shifted

  relative to the absorption maximum of 440 nm in solution due to the protein maintaining other

  interactions contributing to the opsin shift, such as the weak electrostatic interactions between the

  Schiff base linkage and the counterion (in solution the counterion is very close to the protonated

  Schiff base). This could also shed light on a factor responsible for the chromophore existing in

  a 6-s-trans conformation once bound within the apoprotein - with the /3-ionone ring intact, the

  surrounding residues require a 6-s-trans state, however, if this ring is removed, retinal acquires the

  freedom to adopt the preferred 6-s-cw state.

  3.5     Conclusions

  A cardinal feature of the refined bRggg structure is its close agreement with the EM structure of

  Henderson and coworkers [66]. The RMSD for the C a backbone atoms comparing the membrane

  spanning part of the two structures is 1.8 A, which is significantly less than the RMSD value of 2.8 A

  for the structure reported in Nonella et al. [116], i.e., refined with a protocol which did not include

  water, explicit hydrogens and a D helix at the new position. The new RMSD value of 1.8 A is well

  within the range of RMSD values arising for structurally well-resolved proteins. Typical RMSD

  values comparing crystal structures and molecular dynamics simulations for backbone atoms are

  in the range of 1.5 A - 3.0 A, deviations of about 2.5 A being common. A simulation of the

  L7/L12 ribosomal protein (CTF) in solution compared to its crystal structure yielded particularly

  small deviations of 1.05 A (CQ) and 1.63 A (all atoms) [32]. While larger than the latter example,

  our small RMSD value indicates that our structure fits well with the EM structure [66], and that

  water placed within the protein interior does not cause major structural rearrangements. The small

  RMSD value encourages further simulation studies since the low value implies that bR, as modeled

  by molecular dynamics, is structurally stable even though it was here modeled in vacuum rather

  than in a membrane.


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     What can we learn from the bRggg structure about the protein's function? Obviously, a key

  element to an eventual answer will be the interactions in retinal's binding site. In this respect the

  qualitative agreement of our simulations of retinal analogues with respective observations indicate

  that the present structure reproduces the ring region of the binding site well. We have not described

  above our many failed retinal analogue simulations which arose with the structures in Nonella et al.

  and Zhou et al. [116,189] or with descriptions which do not include hydrogens explicitly. The latter

  implies that structural detail at a high resolution in the 1 A range is properly represented in the

  ring region for the present structure.

     Even more essential than the ring region is the Schiff base region of the binding site. The

  respective structural features constitute certainly the most conspicuous, but also the most daring,

  features of the refined bRggg. In agreement with the structure in Zhou et al. [189] it is predicted

  that the most proximate groups to the Schiff base of retinal are water molecules. The generally

  held notion that the interactions of the Schiff base and the protein are dominated by Asp-85

  and Asp-212 needs to be revised: the counterion of retinal is a hydrogen-bonded complex which

  involves several water molecules, Asp-212, Asp-85, Tyr-57, Tyr-185, Arg-82 and Thr-89. The water

  molecules prevent Asp-85 and Asp-212 from approaching the Schiff base hydrogen and forming

  direct hydrogen-bonds. Simulations of the primary photoreaction (described in chapters 4 and

  5) have revealed that the interactions between the counterion complex and the protonated Schiff

  base in the native case at T = 300 K force the nitrogen-proton bond of the Schiff base to point

  towards the counterion, leaving retinal in a strained conformation, relieved only after the proton

  is transferred to the counterion complex. The role of the counterion - retinal interactions is also

  borne out by the observation that an Asp-85 to Asn-85 [157] mutation apparently extends the life

  time of the excited state of bRggg by a factor of 20.

     The counterion structure is functionally significant since it determines the spectrum of the pig-

  ment, the ApKa value between the Schiff base and the acceptor group Asp-85, and the proton

  transfer path between the Schiff base and Asp-85. The spectral shifts of retinal during the pump




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  cycle indicate that the counterion complex is altered during the pump cycle, e.g., upon photoiso-

  merization, making the transfer path between the Schiff base and Asp-85 more favorable than the

  path to Asp-212. The preliminary nature of the counterion structure as presented in this chapter is

  more than onset by the evident fact that only structural details beyond that provided in Henderson

  et al. [66] can explain the mechanism of bR. Obviously, water will affect protein-retinal interac-

  tions and proton pathways; such water requires much higher resolution than is presently in sight.

  In case the water is mobile in the protein, it might not be resolved at all. Models of bR which

  include water are a necessity for interpreting the properties of bR; the present work has outlined

  refinement procedures which yield such models.

     Another essential region of bRggg is the space between the retinal Schiff base and the proton

  donating side group Asp-96. This region provides the setting for the switching processes subsumed

  under the so-called M intermediate of the pump cycle. M formation is linked to proton transfer

  from retinal to a group connected with the extracellular side; M decays when a proton is transfered

  from a group in contact with the cytoplasmic side to retinal. One expects that retinal, through

  conformational transitions (e.g., reorienting its proton binding position from pointing in the direc-

  tion of the extracellular side to the direction of the cytoplasmic side) cooperates with the protein

  in carrying out the switching processes. In this respect two details of the refined structure are of

  interest. First, the unusual conformation of the G helix. This helix becomes more ordered in the

  M state, as observed by Subramaniam et al. [162]. Second, three water molecules which bridge

  the 12 A distance between retinal and Asp-96 in the refined structure could actively participate in

  the processes called the M intermediate; the three water or possibly further water, as suggested

  in Henderson et al. [66], can participate in the transfer of a proton from Asp-96 to retinal. One

  would expect, therefore, that an interpretation of the key M intermediate of bR's proton pump

  cycle requires a model of bR which includes water.

     Obviously, it would be most desirable to have available structures of bR and of key intermediates

  of its pump cycle at a resolution which reveals all waters and essential conformational transitions,

  unfolding, thereby, the mechanism of bacteriorhodospin. Unfortunately, bR as a membrane protein


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  presently defies structure determination at high resolution, while its function as a proton pump may

  rely on minute structural detail. A resolution of this i j i ^ n n * demands simulations which start with

  bR structures refined through addition of water as provided in the present work. There are several

  avenues for such simulations. First, the refined structure can be employed to evaluate the electronic

  absorption spectrum of bR, of its mutants, of bR reconstituted with retinal analogues, and of bR's

  pump cycle intermediates. Second, a renewed attempt of interpreting vibrational spectroscopy of

  bR can be launched (for earlier attempts see [62, 38, 130]). Third, the structure provided can be

  employed to evaluate the pKa values relevant for the pump cycle; such evaluation for an unrefined,

  water-free structure has been provided in [10], but it is expected that water present in the protein

  will affect pKa values strongly [56,140]. Lastly, one should again embark on the efforts started in

  Nonella et al. and Zhou et al. [116,189] to describe the pump cycle of bR and of its mutants. The

  following chapters report on simulations of the early photointermediates for wild-type bR (chapter

  4) and bR mutants D85N, D85T, D212N, and Y57F (chapter 5).




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  Chapter 4

  Simulations of the Bacteriorhodopsin
  Early Intermediates 1

  4.1      Introduction

  Although bacteriorhodopsin (shown in Fig. 3.2) is a small membrane protein, it conjoins for its

  bioenergetic function a multitude of properties: it is a pigment; it transports protons; it is ex-

  traordinarily stable under intense light, yet undergoes continuously a cyclic reaction process; its

  consecutive reaction steps extend from extremely fast (500 fs for the initial photoisomerization)

  to slow (a complete cycle lasts a few ms) [93]. bR's most intriguing attribute may be that it has

  resisted a two decades-long intense research effort and has not revealed the riddle of its pump mech-

  anism. This is surprising since (i) this mechanism apparently is closely tied to retinal which can

  be observed well through resonance Raman and Fourier transform infrared (FT1R) spectroscopy,

  since (ii) the protonation states of key amino acid side groups can be monitored well, and since

  (iii) the protein exhibits only small conformational transformations during its pump cycle. The

  solution of bR's structure by Henderson et al. [66] has been a major advance since it established a

  logical arrangement of the essential amino acids involved in the pump cycle, but this structure has

  also failed to reveal bR's pump mechanism.

     We believe that the mechanism of bR's pump cycle has been elusive due to the fact that ob-

  servations have not revealed a key player in the pump cycle, water. bR is known to contain water
     'Portions of this chapter have been taken from the manuscript: W. Humphrey, D. Xu, M. Sheves, and K. Schnlten,
  Molecular Dynamics Study of the Early Intermediates in the Bacteriorhodopsin Photocycle, J. Phys. Chetn. 99:14549-
  14560, 1995.


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  molecules [125]; their hydrogen-bond network with each other, with retinal, and with amino acid

  side groups should play a key role in proton transport. One needs to know where these water

  molecules are located in bR and how they participate in the pump cycle. The water molecules

  might rearrange during the pump cycle, open and close proton pathways and, thereby, support

  the vectorial character of the pump. Another obstacle towards our understanding of bR's pump

  mechanisms is a lack of knowledge of the exact geometry of retinal in the early intermediates of

  the pump cycle. This geometry is mechanistically crucial since retinal transfers a proton from its

  Schiff base nitrogen to Asp-85 and, eventually, to bR's extracellular side (downward in Fig. 3.2)

  and receives a proton from Asp-96 and, eventually, from bR's cytoplasmic side (upward in Fig. 3.2).

  However, according to the structure in Henderson et al., a pure aR-trans -»13-cis photoisomeriza-

  tion, as suggested by a straightforward interpretation of observations, would render the Schiff base

  nitrogen with its proton pointing in the wrong, i.e., upward, direction during the initial stage of

  the pump cycle.

     Retinal's Schiff base binding site contains a complex counterion including Arg-82, Tyr-57, Tyr-

  185, Trp-86, and negatively charged Asp-85 and Asp-212 [34,35, 66,137, 111]. It has been suggested

  that water molecules, within this binding site, participate in a hydrogen-bond network connecting

  the stated residues and the Schiff base proton (SEP) [41, 71,34,125,56,98]. FTIR data suggest that

  a water molecule, weakly hydrogen-bonded to the Schiff base in the wild-type, forms a hydrogen-

  bond with both the Schiff base and Asp-85 in L550 [98, 81]. In addition, water molecules were

  observed to form hydrogen-bond chains suitable for proton transport, e.g., between Arg-82 and

  Glu-204. The exact number, location and orientation of water molecules suggested in these studies,

  however, is by no means definitive.

     As described in chapter 3, the bR proton pump cycle proceeds through several intermediate

  states characterized by their absorption maxima, which fall into two categories: early intermediates,

  eqn. (3.1), and late intermediates, eqn. (3.2). Our focus in this chapter is on the intermediates in

  eqn. (3.1). The key determinant for bR's photoreaction bRggg -* K590 is the excited state potential

  energy surface of retinal and its crossings with the ground state surface. Despite the ubiquitous


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  occurrence of photoisomerization processes in polyene-type compounds, strikingly little is known

  about the potential surfaces involved, neither the number of states contributing surfaces nor the

  shape of the surfaces. This situation is compounded by the fact that polyene electron systems pose

  a formidable challenge to quantum chemistry due to the highly correlated nature of the involved

  electronic states, which requires extended multi-electron basis sets for suitable descriptions [73]. Ab

  initio quantum chemical methods, at present, cannot determine the relevant excited state potential

  energy surfaces for electron systems of the size found in retinal. A combined QM/MM technique

  such as the QCFF/PI method, which has been applied to the study of the photoisomerization event

  in rhodopsins[181,182], does allow determination of an excited-state potential surface which takes

  into account the surrounding chromophore-protein interactions. While computationally feasible for

  a system the size of bR, it is hard to judge the accuracy of the resulting surfaces and non-Bom-

  Oppenheimer terms; in this respect we need to keep in mind that a definitive calculation would

  require a multi-dimensional potential surface at an accuracy of about 1 kcal/mol at any point. A

  rational, straightforward approach, at present, is to use simple model potential surfaces in MD

  simulations in order to learn how such surfaces, together with sterical effects of retinal's binding

  site and effects of inertia, determine retinal's photoproducts.

     We investigate below two excited state potential surfaces, both of which induce an isomer-

  ization around retinal's C13-C14 double bond. One surface disfavors a concurrent isomerization

  around retinal's C14-C15 single bond through a large energy barrier, the other surface permits such

  isomerization. The chosen excited state potential surfaces reflect two models proposed for the pho-

  toisomerization process of retinal in bR, an aR-trans -»13-ci&, 14-trans reaction [156, 53], or an

  aR-trans ->• 13,14-rficw reaction [150, 144, 121, 149, 58].

  4.1.1    Outline of C h a p t e r

  In this chapter we address then the following questions connected with the intermediates in eqn. (3.1):

  How do features of the excited state potential surface determine the photoisomerization products?

  How does the binding site guide retinal's photoisomerization? How does the initial photoprocess



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  depend on initial conditions? How does water participate in the early intermediates? Can one

  recognize a Jg% intermediate? What distinguishes the K590 and L550 intermediates? How do the

  initial steps depend on temperature? In section "Methods" we introduce the excited state potential

  surfaces employed in our simulations as well as molecular dynamics and annealing methods used.

  We also introduce a notation characterizing the different simulations carried out. In section "Re-

  sults" the simulations of photoproducts up to the L550 stage are presented for the two potentials

  used. In section "Discussion" the results are analyzed in terms of the known bR structure, the

  involvement of waters and proton transfer paths. "Conclusions" summarizes the key results of this

  chapter and suggests future studies.

  4.2    Methods

  Molecular dynamics simulations reported here are based on the refined and equilibrated struc-

  ture of bR reported in Humphrey et al. [74] derived from the structure reported in Henderson

  et al [66]. Following Humphrey et al. the present description of bR involves explicit hydrogens,

  includes sixteen water molecules placed and equilibrated within the protein interior and assigns

  standard protonation states to all side groups, except to Asp-96 and Asp-115, which are assumed

  to be protonated [10, 189]. The water molecules are modeled using TEP3P parameters [77]. The

  program X-PLOR [26] with the CHARMm force field [21] was used for all simulations. bR was

  modeled in vacuum at a temperature of 77 K and 300 K. A cut-off distance of 8 A and a dielectric

  constant of e = 1 were used for the evaluation of Coulomb forces. All simulations use the standard

  X-PLOR protein topology file topallh6x.pro and parameter file parmallhSx.pro to model bR

  The retinal topology and parameters for the equilibrium (bRggg) configuration are the same as

  used in Humphrey et al. [74], with the exception of the Cis-C# dihedral energy barrier, which

  was increased to 30 kcal/mol to inhibit rotation about this bond during the isomerization process.

  Table 4.1 lists the partial charges assigned to retinal atoms; these charges were determined with

  Gaussian92 [54], using a Mulliken populational analysis at the MP2/6-31G level.

     The potential surfaces assumed in the modeling of the initial photoisomerization of retinal


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                            atom charge atom        charge   atom charge
                            N     -0.47 H*g           0.38   On    -0.09
                            H      0.31 Ci           -0.07   Ci2   -0.18
                            C      0.51 Cz           -0.26   C13    0.13
                            0     -0.51 Cs           -0.28   CM    -0.22
                            C„     0.07 c 4          -0.33   Cig    0.20
                            Ha     0.09 C 5           0.02   Cig   -0.40
                            c,    -0.18 Cg            0.12   Ol7   -0.40
                            cT    -0.18 c 7          -0.17   Cig   -0.48
                            cs    -0.18 Cs           -0.14   CW    -0.49
                            ce    -0.04 Cg            0.11   C20   -0.49
                            NSB   -0.63 Cio          -0.19

                                  Table 4.1: Retinal partial charges.

  differ in their dependence on the C14-C15 dihedral angle. Earlier studies [116, 189] had employed

  for this purpose a schematic potential which combined the excited state and the ground state into

  a single surface. In the present study, the three phases of photoisomerization, shown schematically

  in Fig. 4.1, namely, excited state dynamics (phase I), surface crossing (phase H), and ground state

  dynamics (phase HI), are described through three separate surfaces. The potential for phase I,

  governing steps (a) and (b) in Fig. 4.1, is modeled through a surface with a maximum at the trans

  and cis positions of the C13-C14 dihedral angles and a minimum at the 90° twist of this bond.

  The non-adiabatic crossing from the excited state to the ground state potential surface in phase II,

  i.e., step (c) in Fig. 4.1, is modeled through a C13-C14 bond dihedral angle potential with a single

  minimum at 13-cis. For phase HI, i.e., step (d) in Fig. 4.1, the conventional dihedral potential is

  reinstated.

     The surfaces are modeled through simple analytical expressions governing the dependence of

  the energy on the dihedral angles <f>\ and #2 of retinal's C13-C14 and C14-C15 bonds, respectively.

  For this purpose additive contributions Efhe + E^^     were assumed, with the two terms given by

                                  efa" = ±ki{l    + caB{ni4n + Si)]                              (4.1)

  Table 4.2 provides the potential energy parameters for the ground state (phase HI) and Table 4.3

  provides the parameters for phase I and H potentials. Figures 4.2 and 4.3 illustrate the potential

  energy surfaces. The potentials are chosen such that the transition from the initial ground state

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                                         Dihedral Angle
  Figure 4.1: Schematic representation of the photoexcitation of retinal and subsequent isomerization.
  bR absorbs a photon hu and is excited from its electronic ground state So to its excited state Si.
  (a) Si has a potential surface with a minimum near the So maximum. After promotion to the Si
  surface retinal moves to the minimum of this surface within 200-300 fs. (b) Retinal then crosses
  back to the ground state, i.e., So, surface, (c) On the latter surface retinal completes the trans-cis
  isomerization (d).

  (phase HI) potential to the phase I potential, i.e., step (a) in Fig. 4.1, imparts on retinal (in an

  aR-trans geometry) 50.4 kcal/mol which corresponds to the energy of a 568-nm photon. It is

  important to note that this energy, according to our model, is stored at the beginning of phase I

  solely in the degree of freedom of torsional rotation about the C13-C14 bond.




  Figure 4.2: 13-cis potential energy surface for C13-C14 and C14-C15 dihedral angles, (a) Equilibrium
  surface (phase HI), (b) Inverted-potential surface (phase I), (c) Single-minimum surface (phase H).

     To investigate a possible dependence of the photoisomerization on the initial state, 50 indepen-

  dent trials, characterized through independently chosen random velocities of all protein atoms, were

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                         kj (in kcal/mol)     m* Sj (in deg)
                         Cg-Cg-CrC*           5.0     2          176.6
                         Cg-Cy-Cg-Cg         30.0     2          176.6
                         Cy-Cg-Cg-Cio         5.0     2          176.6
                         Cg-Cg-Cio-Cn        30.0     2          176.6
                        C9-C10-C11-C12        5.0     2          176.6
                        C10-C11-C12-C13      30.0     2          176.6
                        C11-C12-C13-C14      5.0      2          176.6
                        C12-C13-C14-C15      25.2     2          176.6
                        Ci3-Ci4-Cis-Ngg      10.0     2          176.6
                        Ci4-C 1 5 -N5B-C e   30.0     2          176.6

      Table 4.2: Equilibrium (phase EH) parameters used for the torsional potentials of retinal.

                        Phase I                                      Phase H
              k (in kcal/mol) n,- & (in deg)                ki (in kcal/mol) n,- & (in deg)
                     13-cis isomerization                           13-cis isomerization
       i = l:      -25.2          2     180.0        i = l:        50.4         1      180.0
       i = 2:       10.0          2     176.6        i = 2:        10.0         2      176.6
                  13,14-rficis isomerization                     13,14-Act* isomerization
       i = l:      -25.2          2     180.0        t = l:        25.2         1      180.0
       i = 2:        1.0          2     176.6        t = 2:        25.2         1      180.0

                            Table 4.3: Retinal dihedral angle parameters.

  carried out. Each trial started from the same bRggg structure, but with different initial velocities

  chosen from a Maxwell distribution at 77 K or 300 K. Simulations at 300 K involved an initial 100 fs

  of equlibration dynamics with a phase HI potential as shown in Figs. 4.2a. and 4.3a. Simulations at

  77 K extended this equlibration to 5 ps, accounting for the need of a longer equilibration time since

  the structure of bRggg was actually determined at T— 300 K. Following the initial equilibration,

  for each trial the excited state (phase I) potential, as shown in Figs. 4.2b. and 4.3b., was applied

  for 250 fs. After this period the potential governing phase II of the photoprocess, as shown in

  Figs. 4.2c. and 4.3c, was applied for 250 fs. Finally, the ground state (phase HI) potential function

  was restored and 4.5 ps of further dynamics completed. Restart files were used between each switch

  of potential functions to preserve the dynamical state.

     Since the K590 —» L550 transition requires a microsecond time period, which cannot be covered

  by molecular dynamics simulations, we employed simulated annealing [173], using representative

  K590 structures (see below) as starting points. Simulated annealing is often applied at very high

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  Figure 4.3: 13,14-rficis potential energy surface for C13-C14 and C14-C15 dihedral angles, (a)
  Equilibrium surface (phase HI), (b) Inverted-potential surface (phase I). (c) Single-minimum surface
  (phase H).

  temperatures, typically 1000-4000 K [24]. Such high temperatures were found to adversely affect

  the structure of bR and, therefore, the maximum annealing temperature was limited to 500 K. The

  SHAKE algorithm [139] for bond-length constraints was used for simulations at T > 300 K, in

  order to maintain stable numerical integration with a 1 fs timestep. Since dihedral angles of the

  single bonds of retinal's backbone become tooflexibleat high temperatures, during the annealing

  process torsional barriers of 5 kcal/mol to 10 kcal/mol for the Cg-C?, Cg-Cg, Cio-Cu, and C12-C13

  bonds of retinal were assumed to stabilize its geometry.

     The temperature protocol used to determine the L550 intermediate is presented in Fig. 4.4.

  First, torsional potentials for retinal were changed as described, and a 100-step conjugate gradient

  energy minimization calculation was carried out. Then, starting at To = 500 K, the system was

  simulated for 100 fs using temperature coupling to rescale velocities to the appropriate temperature;

  for this purpose a frictional force

                                        Fj = -mj VJ 7 (To/T - 1)                                 (4.2)

  with 7 = 100 p s - 1 was applied to each atom j with mass m, and velocity Vj. This was followed

 by a 50-step conjugate gradient energy minimization. The annealing calculations were repeated at

  10 K intervals from 500 K to 300 K. The frequent velocity reassignment facilitated a wider search

 of conformation space and the energy minimization helped avoid instabilities. After a temperature

 of 300 K was reached, an analogous annealing cycle was started at 400 K, reducing temperatures


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  again to 300 K. The annealing calculations were then followed by a 15 ps equilibration phase at

  300 K.

                                            500 K
                                     ][
                                           .reassign velocities
                                           <|l00fs molecular dynamics
                                            50-step minimization
                    100-step
                    minimi-           [
                     zation
                                      [
                                      [
                                            400 K
                                                        /   ''
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                                                                r
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                                                            <r
                                      [                     1r

                                      [                     <r
                                      I                     1f

                                                            1
                                                                '
                                                            1
                                                                '
                                                            1       10 ps release^ [ 5 ps]
                                            300 K
                    add soft                                        [eqn, soft * I eqn J
                   constraints                                           constraints

  Figure 4.4: The temperature protocol of the simulated annealing process. The label "eqn" refers
  to a conventional molecular dynamics simulation at 300 K. Soft constraints refer to a change of
  torsional potentials of retinal which are invoked to keep retinal planar during the annealing process
  and are released thereafter.


     Simulations AI300 . •. A5O300 and AI77 ... A5O77 modeled the 13-cis photoisomerization and

  subsequent equilibration at 300 K and 77 K, respectively, while simulations BI300 • • • B5O300 and

  BI77 ... B5O77 modeled the 13,14-dtcis photoisomerization and equilibration at 300 K and 77 K.

  The numbers 1-50 refer to the specific trial run, and the subscripts 300 and 77 refer to the modeled

  temperature. One representative structure, from simulations AI300 ••• A5O300 and from BI300

  . . . B5O300, referred to below as K\ and K2, was selected as a starting point for the annealing

  process outlined above to describe the 2 ps K5go -» L550 transition. Simulation C, which resulted

  in structure L\ starting from K\, describes the 13-cis model; simulation D, resulting in structure


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  Li starting from K% describes the 13,14-dtcu model.

  4.3     Results

  Figure 4.5 illustrates the key features of the binding site of bR for the initial structure used in all

  isomerization simulations. Within this structure, four water molecules (WA, W B , W C , WO) make

  direct hydrogen-bonding contact with the SBP, either before or after the isomerization process. WA

  is directly hydrogen-bonded to the SBP in the starting structure. W B is located above the SBP

  toward the cytoplasmic side of the membrane, and is part of a chain of three water molecules (WBI ,

  WB2> WB3)   connected to Asp-96. Wc is in the region between the SBP and Asp-85, and makes

  a hydrogen-bond with Thr-89 (not shown), as well as with Asp-85 and another water molecule.

  WD is near the SBP, outside of hydrogen-bond contact, but still below the Schiff base toward the

  extracellular side of the membrane. WD is involved in a hydrogen-bond with WA and also with

  Tyr-185.

     It was observed in our simulations of excited state and potential crossing dynamics that the

  orientation of the N-H+ Schiff base bond, after isomerization and equilibration, assumed basically

  one of three possible configurations: N-H + pointing "up", i.e., toward the cytoplasmic side of

  bR, N-H + pointing "down", i.e., toward the extracellular side of bR, and N-H + pointing roughly

  perpendicular to the membrane normal. To measure this orientation, we define #SB as the angle

  between a line formed by N-H+ and a line connecting the Schiff base nitrogen and the Asp-96

  carboxyl: for small 0SB> N-H+ points toward Asp-96, while for 0SB « 180° the orientation of N-H+

  is toward the extracellular side of the protein. For each set of 50 trials, the photoisomerization

  products were grouped into one of four cases based on the value of #SB and the configuration of the

  C13-C14 and C14-C15 dihedral angles. The definitions of these cases are given in Table 4.4. This

  table also lists the percentage of occurrence for simulations AI300 • • • A5O300, BI300 •.. B5O300, AI77

  ... A5O77, and for BI77 ... B5O77 (see Methods for definitions of these simulations). Figure 4.6

  provides illustrations of the key features of representative case 1 (Fig. 4.6a.), case 2 (Fig. 4.6b.),

  and case 3 (Fig. 4.6c.) structures.


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                                                          4t




                                                                                  Tyr-57




                                                                    Arg-82

   Figure 4.5: Structural features of the binding site for the starting structure used in all isomerization
   trials.

   4.3.1    13-cis Isomerization Model
   300 K

   According to the textbook model of an aR-trans —»13-cis photoisomerization, retinal, after initial

   light excitation, rotates about its C13-C14 bond by 180° and leaves the N-H + bond oriented in

   the direction of Asp-96. However, Asp-96 acts as the proton donor rather than acceptor in the

   photocycle such that this orientation does not appear desirable from a mechanistic point of view.

   In 58 % of simulations AI300 • • • ASOsoo, this orientation of N-H+ is observed, and retinal photoi-

   somerizes into a basically planar 13-cis conformation. In 36 % of simulations AI300 • • • ASOsoo,

   however, the Schiff base photoisomerizes such that the N-H + bond points roughly perpendicular

                                                     55



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                                                       300 K                    77 K
              Case        Definition           13-cw     13,14-rftcw   13-cis    13,14-rficis
               1     13-cw, 0SB < 60°            58          12          72          0
               2     13-cw, 6sB > 60°            36           2          0            0
               3   13,14-rf«cw,0sB>9O°           6           28          28          76
               4    all-frww, 0gB > 90°          0           50          0           22

   Table 4.4: Definitions of cases used to categorize isomerization trials, and percentage of cases
   present in each set of simulations.

   to the membrane normal, midway between being oriented toward Asp-96, and being oriented in

   the original all-trans direction (toward the Asp-85/Asp-212/water counterion complex). Retinal

   accommodates this conformation through a series of twists about its single bonds, particularly,

   through a large twist about its Cg-C? bond. The resulting N-H + orientation is stabilized by a

   strong hydrogen-bond formed between N-H+ and water Wc, such that the Schiff base participates

   in a direct hydrogen-bond chain to Asp-85, the acceptor for retinal's proton during the L550 —• M412

   transition [19]. The remaining 6 % of simulations AI300 ... ASOsoo result in N-H+ pointing toward

   the extracellular side leaving retinal in a 13,14-rficis conformation, despite the large (10 kcal/mol)

   barrier for rotation about the C14-C15 bond.

      Figure 4.7 shows the time evolution of various angles and distances which measure the config-

   uration of retinal and surrounding residues during the photoisomerization. The quantities shown

   are averages for all trials in simulations AI300 ... A5O300 which resulted in case 1 structures, at

   50 fs intervals. The upper graph in Fig. 4.7 indicates the time evolution of the rotations about

   the Cg-C?, C13-C14 and C14-C15 bonds, and the value of 0SB defined above. The lower graph in

   Fig. 4.7 shows the average distance between the SBP and the Asp-85 and Asp-212 carboxyl groups.

   The lower graph also provides the distance from the SBP to waters WA and WB. The figure shows

   that the isomerization of case 1 trials completes within the first 500 fs, with 0SB near 45°. Retinal

  experiences some twisting about the Cg-C? bond during the initial picosecond of simulation, but

  returns to a mainly trans geometry for this bond during the final 4.5 ps. The distance from the

   SBP to both Asp-85 and Asp-212 increases during the case 1 simulation. Water WA breaks its

  hydrogen-bond with the Schiff base very early, and water W B (in the region between the Schiff


                                                    56



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                                (b)                                 (c)

  Figure 4.6: Photoisomerization products observed in simulations AI300 • •. A5O300 and BI300 • • •
  B5030o: (a) Case 1. (b) Case 2. (c) Case 3.

  base and Asp-96) moves closer to the SBP. In some trials, this water molecule moves close enough

  to hydrogen-bond to the Schiff base. However, on average, this water does not get close enough to

  make hydrogen-bond contact by the end of 5 ps.

     The averaged time evolution results for case 2 outcomes of simulations AI300 • • • A5O300 are

  shown in Fig. 4.8. In this case, the Schiff base forms a strong hydrogen-bond with water Wc,

  as clearly shown by the SBP-Wc distance. This hydrogen-bond stabilizes the N-H+ bond in a

  direction with #SB ~ 90°. In Fig. 4.8, the isomerization to 13-cis is seen to complete within the

  initial 500 fs, i.e., during phase I and II. However, retinal maintains a 15° to 20° twist about

  both the C13-C14 and C14-C15 bonds after isomerization. These twists, along with the observed


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                                                                      Case 1:300K




                                        ' r   1   1   1   r   1   1   1   r    1   1   1   t   1   1   1   1




                              * 4
                                                                                                           Atp-85
                                    3                                                                      Asp-212
                                                                                                           WA
                                                                                                           WB
                                    2

                                    1
                                         0                1               2                3               4         5
                                                                              Time(ps)

   Figure 4.7: Averaged time evolution for case 1 trials in simulations AI300 . . . ASOsoo- The upper
   graph shows the values for retinal dihedral angles and 0SB at 50 fs intervals, averaged over all trials
   classified as case 1. The lower graph gives the values for the distance of the aspartic acid carboxyl
   groups to the SBP, and the distance of water molecules WA and WB to the SBP.

   large rotations about the Cg-C? single bond, allow retinal to maintain the N-H + bond oriented at a

   0SB ~ 90" angle. With retinal in this conformation, the distance from the SBP to Asp-85 decreases

   slightly by the end of the photoisomerization, whereas the distance to Asp-212 increases slightly.

   77 K

   Simulations AI77 . . . A5O77 studied the 13-cis isomerization reaction in the same manner as simu-

   lations AI300 ... A5O300, but at 77 K. Experiments have shown that the K590 state can be trapped

   at this temperature, with little change in the spectral absorption maximum [11]. Table 4.4 lists

   the results for the simulations AI77 ... A5O77. Of the 50 trials, 72 % result in case 1 structures,

   and the rest result in 13,14-(ficis structures (case 3). In contrast to the simulations at 300 K, no


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                                                    Case 2:300 K



                              180




                               90




                                0 U—l_-i__i__L_l__*_b^——I—b_rf_U—i_-l—_l—L—<—*_i_L

                                8

                                7




                             I:
                                3

                                2

                                1
                                    0       1        2               3   4           5
                                                         Time (pa)

  Figure 4.8: Averaged time evolution for case 2 trials in simulations AI300 . •. ASOsoo- The upper
  graph shows the values for retinal dihedral angles and 0SB at 50 fs intervals, averaged over all trials
  classified as case 1. The lower graph gives the values for the distance of the aspartic acid carboxyl
  groups to the SBP, and the distance of water molecules WA and Wc to the SBP.

  case 2 photoproducts arise. Figure 4.9 shows the averaged time evolution for the case 1 structures

  with the 13-cis parameters at 77 K, the presentation corresponding to that in Figs. 4.7 and 4.8

  for the 300 K case. Only the angular quantities are shown here, to exemplify the low temperature

  behavior as compared to the room temperature behavior (c.f. Fig. 4.7, top). The dynamics for

  case 1 photoproducts is the same at 77 K and 300 K, but with much smaller deviations from the

  mean for 77 K. The photoisomerization completes also within 500 fs. The resulting 0SB is about

  45°, indicating an N-H + bond pointing toward Asp-96. Small initial perturbations about the Cg-C?

  bond arise within the first picosecond; retinal assumes eventually a nearly planar conformation. A

  similar behavior is seen for trials leading to case 3 photoproducts.



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                                                                                   Case1:77K


                                 180




                             !
                                 90




                                  0    •       '   •   •   •   •   •   •       •    '   •   •   •   '           •


                                           0                   1           2                            3   4   5
                                                                                        Time (pa)


           Figure 4.9: Averaged time evolution for case 1 trials in simulations AI77 . . . A5O77.

   4.3.2    13,14-Acts Isomerization M o d e l
   300 K

   The 13,14-dicis photoisomerization is modeled here in simulations BI300 • • • B5O300 by applying

   phase I and phase H potentials as described in Methods, and illustrated in Fig. 4.3. In 50 % of

   the simulations BI300 - - • BSOsoo, retinal did not complete the all-tarns -»- 13,14-rficis photoisomer-

   ization, actually remaining instead in the aR-trans (case 4) conformation. Of the remaining trials,

   28 % resulted in 13,14-dicis retinal with N-H+ pointing towards the extracellular side, i.e., resulted

   in case 3, and 14 % formed 13-cis (case 1 and case 2 structures). The remaining 8 % of simula-
   tions BI300 • • • B5O300 resulted in a highly distorted 12,14-rficis retinal. There is no experimental

   evidence for the latter photoisomerization product.

      Only 50 % of the trials in simulations BI300 -.. B503Oo resulted in an isomerized retinal; of

   the runs which did succeed in converting native bR, over one half formed a 13,14-rficis product

   (case 3). Figure 4.10 shows the averaged time evolution for these case 3 runs, the presentation

   corresponding to that in Figs. 4.7 and 4.8. For this case, the isomerization completes within the

   first 500 fs. There arises some twist about the Cg-C? bond during the initial stage, but this twist

   is reduced during the ensuing 4.5 ps of simulation. The orientation of N-H+, as measured by #SB>

   remains toward the extracellular side of bR, i.e., #SB > 90°. There is little to no twist about the


                                                                                   60



                                                                                                                    BECKMAN00000447
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                                                       Case 3:300 K


                               180




                                0


                                           1   1   1   1   1


                                8

                                7




                               I:
                                3
                                            ...'-''-

                                2

                                1
                                     0     1       2                      3   4   5
                                                               Time(ps)


  Figure 4.10: Averaged time evolution for case 3 trials in simulations BI300 • • • BSOsoo- The upper
  graph shows the values for retinal dihedral angles and #SB at 50 fs intervals, averaged over all trials
  classified as case 1. The lower graph gives the values for the distance of the aspartic acid carboxyl
  groups to the SBP, and the distance of water molecules W A and WD to the SBP.

  C13-C14 and C14-C15 bonds after the first picosecond. In Fig. 4.10, it is seen that both aspartic acid

  groups end up further away from the SBP after the 5 ps simulation, each by approximately 1 A.

  Water WD replaces water WA as the Schiff base hydrogen-bond partner, and W A moves further

  away from the Schiff base.

  77 K

  Molecular dynamics simulations BI77... B5O77 were carried out at 77 K employing also the potential

  surfaces favorable for an all-frans -> 13,14-(ficis photoisomerization. The results are summarized

  in Table 4.4 as well. Of the 50 trials, 76 % result in case 3 structures, with retinal in the expected

  13,14-dicis isomeric state and the N-H+ bond pointing to the extracellular side. Of the rest, 22 %


                                                           61



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   of the simulations did not complete the isomerization. and returned to the aR-trans state. In one

   case (2 %) a 12,14-rficis product also was observed. None of the simulations produced a 13-cis

   product. This is due to the effect of the binding cavity which favors an all-trans -»13,14-<ftcis

   photoisomerization. As in simulations AI77... A5O77, the motion of retinal for the low temperature

   simulations BI77 • - - B5O77 exhibits less deviation from the mean than the 300 K simulations. Key

   differences between simulations BI77 ... B5O77 and BI300 • - • BSOaoo are the much larger number

   of case 3 structures, and the lack of 13-cis (case 1, 2) for 77 K.

   4.3.3   D e t e r m i n a t i o n of L S t r u c t u r e

   As described in Methods, simulated annealing was employed to bridge the 2 ps time scale, the

   respective simulations still being extremely time consuming. Therefore, only a single case 2 struc-

   ture, termed K\, was selected from AI300 ... ASOsoo, and a single case 3 structure, termed K2, was

  selected from BI300 • • • B503oo as a starting point for two annealing calculations. The structures K\

  and K%, taken from the final state after the 5 ps isomerization/equilibration dynamics, are consid-

  ered candidates for the K590 state and, as starting points in simulations C and D yield candidates

  for the L550 intermediate. The respective structures are denoted as L\ and L%. Figure 4.11 presents

  the configuration of the bR binding site region for L\ and L%.

      During simulation C, the N-H + bond maintained its orientation perpendicular to the membrane

  normal, as indicated in Table 4.5. This table compares values for the orientation of the N-H + bond

  and for the distances from the SBP to the Asp-85/Asp-212 carboxyls in K590 and L550. One can see

  that the nearby aspartic acids maintained nearly the same relative distance to the SBP during this

  simulation, while the Asp-212 distance decreased by only 0.4 A. During simulation D, the N-H +

  bond remained pointing to the extracellular side of bR, indicating that retinal in both the K590

  and the L550 intermediate maintained a 13,14-rficis configuration. However, during simulation D

   the separations between the SBP and the aspartic acid carboxyls of Asp-85 and Asp-212 decreased

  significantly; for example, the Asp-212 carboxyl moved 2.4 A closer to the SBP.




                                                              62


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                          (a)                                                  (b)
   Figure 4.11: Retinal binding site region structural features for the simulated L intermediates: (a)
   la. (b) L2.

   4.4     Discussion

   Simulations of the bR photocycle have been carried out previously, using both molecular dynamics

   methods [116,189] and combined QM/MM methods [181,182]. The present study differs in several

   respects from the earlier MD investigations by Nonella et al. and Zhou et al., namely, in that we

   start from an all-atom bR structure with a new placement of water molecules [74], in that we employ

   a three phase description of the photoisomerization process, and in that we carry out a series of

                                      0SB      SBP - Asp-85 SBP - Asp-212
                       bRggg         158.2°       5.71 A       5.42 A
                       K590 (case 2) 79.4°       4.37 A        6.00 A
                       Lx            80.7°       4.17 A        5.57 A
                       K590 (case 3) 123.5°       7.47 A       6.76 A
                       Li            117.6°       6.44 A       4.36 A

   Table 4.5: Comparison of retinal configuration data between bRggg, K590, and L550 intermediates
   from simulations C (13-cis) and D (13,14-dicis).


                                                   63



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   fifty simulations for each model or temperature tested. The present study differs also from the

   earlier QM/MM studies, by using a classical approximation for the photoisomerization process and

   by using as a starting the structure the refined bRggg structure described in Humphrey et al. [74].

   Recently, molecular dynamics studies of the bR photocycle have been reported which also calculate

   the pKa of the simulated intermediate structures [142, 48].

      The quantum yield for formation of the K590 intermediate in the primary photoprocess of bR has

   been determined to be 0.64 ± 0.04 [143, 60,166]. The quantum yield is independent of temperature

   down to 108 K [7]. This yield implies that a majority, but not all, of the trajectories describing

   the photoprocess of bR result in an isomerized retinal. To account for this behavior we carried out

  molecular dynamics simulations on schematic potential surfaces describing the ground and excited

  state of retinal, rather than enforcing an isomerization, i.e., a quantum yield of unity, as done

  in previous studies [189, 116]. Simulations were initially conducted with the phase H step (see

  Methods) eliminated, and the phase I duration extended or reduced to 200 fs, 300 fs, 400 fs, 500 fs,

  700 fs, and 1000 fs. At most 5 % of the respective trials completed the isomerization to 13-cis

  or 13,14-dicis; most trials returned, instead, to the initial aR-trans configuration after rotating to

  near 90° about the C13-C14 bond in phase I. We therefore applied a second potential to bias, in

  phase H (i.e., step (c) in Fig. 4.1), retinal's torsion towards completion of the all-trans -> 13-cis

  isomerization. Such a bias arises in the actual photochemistry if the crossing point of the Si

  and So states is shifted toward the cis geometry, or if the actual surface crossing process favors

  the direction all-trans -»13-cis. Deflection of trans -» cis isomerization reactions back toward the

  trans configuration has been found also in previous simulation studies [181, 182]. It is possible that

  the observed deflections in this study are the result of the particular potential energy surface used,

  which may not include all relevant torsional mode couplings.

      The results of simulations with different initial conditions predict that the bR quantum yield

  may result from several similar photoisomerization reaction pathways, only a subset of which leads

  to a cycle which actually pumps protons. It is as yet not clear if the heterogeneity of photoiso-

  merization products emerging in our simulations is an artifact, e.g., due to the schematic potential


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  surfaces used, or if these products correspond to multiple cycles all occuring at the same time, as

  has been suggested [36,185, 45].

  4.4.1    J Intermediate

  Relatively little data have been acquired for the Jggg intermediate, in part, due to its short lifetime of

  5 ps [128]. Resonance Raman spectroscopy at 3 ps resolution has indicated that photoisomerization

  to the Jg25 state results in strong hydrogen-out-of-plane (HOOP) motion which decreases within

  4 ps as the protein converts to K590 [38]. In all simulations which complete the photoisomerization,

  photoproducts appeared within the first 500 fs, i.e., within the time period over which phase I and

  H potentials were applied. The fast changes during this time affected hydrogen-bonds between the

  Schiff base and surrounding water molecules as well as twists of retinal's single and double bonds.

  Between 500 fs and 5 ps, i.e., the time of formation of the K590 intermediate, little structural change

  was seen.

      The actual existence of a structurally distinct Jg% state is still controversial. Recent work has

  hinted at the possibility that the Jggg state intermediate arises due to a dipole moment induced

  in bR through the charge shift connected with retinal's photoexcitation [186]. This suggestion

  precludes the need for specific structural changes from Jg# to K590, and can explain why Jggg

  cannot be trapped at low temperatures. Our simulations support this suggestion, due to the small

  amount of structural change seen in the 500 fs - 5 ps dynamics.

  4.4.2    K Intermediate

  In contrast to Jggg, much is known about bR's K590 intermediate which is blue-shifted relative

  to the preceding Jggg state, but is red-shifted relative to bRggg. This state is formed within 4 ps

  following the isomerization reaction, and has been determined to involve a 13-cis retinal. Our

  simulations were conducted for 5 ps, i.e., over a time period which matches the observed time of

  K590 formation. The structure at the end of the 5 ps simulation period is associated with the K590

  state.

     Another observed change from Jggg to K590 is a decrease of the intensity of HOOP modes [38],


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   which corresponds to an increase in the planarity of retinal. All three photoproducts, i.e., cases 1-3,

   experience a reduction in the twist about the Cg-Gr bond in the final 4 ps of simulation. Case 3

   exhibits a definite reduction in the oscillation of this Cg-Gr twist, while case 1 does not show much

   change after the initial isomerization. Case 2 displays the largest oscillations and overall twist of

   the Cg-Gr bond; this is true for the other dihedral angles along the retinal backbone as well (not

   shown). In Fig. 4.8, the amplitude of these oscillations and the amount of twist for the Cg-C? bond

   decreases during the time from 500 fs to 3 ps, and then shows a slight increase in the 3 ps to 5 ps

   period. This might indicate that the K590 state has not stabilized for case 2 structures. Regardless,

   structural changes capable of explaining the observed HOOP modes in Kggo compared to Jg2g are

   present in cases 2 and 3, and to a lesser degree in case 1.

      An important feature of the K590 intermediate simulations is associated with the prediction that

   different structures are obtained at 300 K and 77 K. This is actually in keeping with experimental

   data which indicate different absorption maxima for the two species (590 nm and 603-606 nm,

   respectively) [129,8], and different resonance Raman spectra [38]. Both resonance Raman and FTfR.

   spectra indicate strong HOOP intensities in the spectra of K590 at 77 K, which are attributed to

   twists around single bonds [31] or to a C=N out-of-plane twist [55]. However, the simulations of Kggo

   at 77 K indicate a planar conformation adopted by the retinal chromophore. This discrepancy might

   indicate that the simulations do not describe accurately the retinal conformation in Kggo at 77 K, or

   that the HOOP intensity originates from another reason such as steric interaction with neighboring

   residues. Calculations of the resonance Raman spectra for rhodopsin [181] have demonstrated the

   need to take into account the surrounding protein conformation restraints on the chromophore,

   suggesting that the observed HOOP intensities result in part from chromophore-protein strain.

   4.4.3   L Intermediate

   While the very short time scales of the bRggg -» Jg% -*• Kggo transitions allow us to directly simulate
   these events, modeling of the significantly longer Kggo -» L550 transition (of about 2 fis) relied on
   the simulated annealing method. Use of this method implies a loss of time scale and we cannot



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  claim that simulations C and D above cover a complete 2 fts transition period. The simulations

  do, however, provide structures significantly evolved in time from the Kggo intermediates and may

  be used to explore further the possible structural changes in the two photocycle models considered

   here.

      In L\, the orientation of the SBP perpendicular to the membrane normal, and the hydrogen-

  bond with water Wc, is maintained during the annealing. Most importantly, L\ allows for proton

   transfer from the Schiff base to Asp-85: the network of hydrogen-bonds formed by water molecules

   in the binding site, to which both the SBP and Asp-85 are connected, provides a clear path

   to transfer the proton. The orientation of the Schiff base with its proton perpendicular to the

  membrane normal allows for it to connect to the hydrogen-bond chain, which would not be possible

  with the SBP pointing toward Asp-96. The decrease in the distance between the Asp-85 carboxyl

  and the SBP from bRggg to L\ fits well with proton transfer to Asp-85, as opposed to Asp-212; the

  SBP - Asp-212 carboxyl distance does not change much from bRggg to L\.

      In Li, both carboxyl groups from Asp-85 and Asp-212 move closer to the SBP by 0.5 A and

  2.1 A, respectively (relative to Kggo). For this 13,14-a'icis Lggo state, the SBP is still oriented

  toward the extracellular side of the membrane, and maintains a connection to the water molecule

  hydrogen-bond complex in the vicinity of the counterion. This allows the Li structure to contain

  a direct pathway for proton transfer from the Schiff base to Asp-85, as is also available in the L\

  structure. A large difference between L\ and Li, besides the isomerization state of retinal, is the

  distance of the SBP to the counterion residues. In L\, Asp-85 is the closest group to the SBP, while

  in Li, Asp-212 is much closer (by 2 A).

      Recent FTfR data suggest that structural changes occur in the vicinity of Asp-96 during the

  bR-»Lggo transition [19, 57, 97]. Our simulations reveal a weakening of a hydrogen-bond which

  exists between the Asp-96 carboxyl and Lys-41 both for L\ and Li. L\ shows agreement with FTIR

  data on changes to the retinal binding site, which suggest stronger hydrogen-bonding to the Schiff

  base N-H+ in Lggo as compared to bRggg [95], and indicate that by the formation of Lggo a water

  molecule is hydrogen-bonded with both the Schiff base and Asp-85 [98, 81] resulting in a distorted


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    13-cis chromophore. We found that in L\, the hydrogen-bond interaction between the Schiff base

   and its proximal water molecule is considerably stronger than the Schiff base - water hydrogen-bond

   in bRggg, while the opposite is true for Li. As stated above, this strong hydrogen-bond maintains

   in L\ the orientation of the Schiff base. In Li, a strong hydrogen-bond is not necessary to keep the

   SBP near the counterion region since the all-trans -» dicis isomerization provides this orientation

   naturally.

   4.4.4    R e t i n a l M o t i o n D u r i n g E a r l y Photocycle: W h i c h M o d e l Correlates B e t t e r
            With Experiment?

   The key question arises, which photoproduct, case 1, case 2, or case 3, represents most closely

   the actual structure of bR during the early steps of the photocycle? For the two isomerization

   models, case 1 or 2 structures primarily result from 13-cis simulations, and case 3 or 4 structures

   primarily result from 13,14-rficis simulations. It is useful to consider the question posed for each

   model separately.

       Case 1 photoproducts occur most frequently for the 13-cis model, both at 300 K and at 77 K.

   If one identifies the average structure at 500 fs with the Jg% intermediate and that at 5 ps with

   the Kggo intermediate, little change can be noted between Jg2g and Kggo- The Kggo structure also

   does not explain how the Schiff base can transfer a proton to Asp-85 at a later stage. Case 2

   photoproducts, on the other hand, provide a pathway for this proton transfer, via water molecule

   Wc- The function of water Wc is crucial; our simulations demonstrate that Wc has a profound

   effect on the photoreaction of retinal, stabilizing the N-H+ bond in a particular orientation and

   opening a pathway for proton transfer. The resulting Lggo structure, i.e., L\, also favors proton

   transfer to Asp-85, since Asp-85 draws closer to the SBP in going from K\ to L\.

       The motion of retinal during the photoisomerization is shown in Fig. 4.12 at 500 fs intervals for

   the first 1.5 ps of a simulation which resulted in case 2 photoproducts. The figure demonstrates

   that single bond torsions participate in the isomerization such that retinal assumes eventually a

   strained configuration with the N-H + bond pointing sideways, i.e., neither to the cytoplasmic nor

   to the extracellular side. The final retinal geometry is stabilized through the interaction of the


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   SBP with water Wc- This strain may be of functional importance; it might be released only

   after proton transfer from the Schiff base to Asp-85 (and concomitant weakening of the interaction

   with Wc) such that in the M412 intermediate the N-H + bond points towards Asp-96 from where

   it receives a proton. Figure 4.13 summarizes the suggested binding site motion for the early

   intermediates bRggg -+ Jg% -»Kggo -+ Lggo. The figure points to an important role played by water

   in our simulations: it stabilizes the strained retinal geometry of the early intermediates, it provides

   the proton transfer path from retinal to Asp-85, and it is suitably placed in the retinal - Asp-

   96 interstitial space to provide a transfer route for water in the later part of bR's proton pump

   cycle. It should be emphasized that waters were not placed in the refinement reported in [74] to

   accommodate the mechanism described, rather this mechanism emerged after the refinement had

   been completed.

      It is of interest to contrast the early intermediates simulated at room temperature with those

   simulated at 77 K. While case 1 occurs with higher frequency than case 2 at 300 K, the absolute

   ratios might not be as significant as the fact that case 2 does not occur at all at 77 K, while case

   1 occurs very often. This behavior might provide a clue as to why at low temperatures (180 K)

   bR irradiation does not produce a high yield of M412 following temperature elevation: the path to

   case 2 photoproducts might be blocked at low temperature such that only case 1 photoproducts

  develop. However, the case 1 photoproducts cannot form the M412 intermediate since they do not

  exhibit a proton pathway to Asp-85. In this respect, it is interesting to note that irradiation of

   bR at 180 K detected a significantly lower yield of M412 upon warming [80, 79]. It was suggested

   that at low temperatures there is a branching reaction at the Lggo stage such that the formation

  of M412 is inhibited and Lggo reverts thermally to the parent pigment. This might be due to pure

   temperature effects on the two alternative pathways, or to different Kggo structures as suggested

  by our simulations. Alternatively, it is possible that M412 is not accumulated since the rates of its

  formation and decay are similar. The blockage of case 2 photoproducts might be due to a reduced

  mobility of the water molecules or of the surrounding residues. This suggestion is corroborated by

  the difference in the absorption maxima of the Kggo intermediate at 300 K and 77 K, as well as by


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    the difference in the resonance Raman spectra of these two Kggo intermediates. This suggestion is

    in conflict, however, with the observed quantum yield which is temperature-independent to as low

   as 108 K [7]; again, the quantum yield for the reactions to case 1 and case 2 structures could be

   similar, with the same fraction of bR returning to all-trans from the Si excited state.

       Several mutants of bR have been studied in recent years, many of which contain reduced proton

   pumping activity, and some of which can be induced to pump protons in the opposite direction, for

   example, D85T [168]. It would be of interest to apply the simulations reported here to such mutants

   and investigate if the occurrence of case 2 structures correlates with the mutants' proton pumping

   activity. In particular, one would expect that the occurrence of case 1 structures, with N-H +

   pointing toward Asp-96, correlates with proton pumping in the cytoplasmic direction. Respective

   simulations are currently in progress.

       We finally compare the behavior of retinal governed by an excited state potential favoring

   13,14-c/icis photoproducts. For this potential, a large percentage of simulations failed to isomerize

   at all; of the remaining cases, only half the photoproducts assumed a 13,14-dicis geometry. The

   13,14-rficis structure itself (case 3) certainly contains attributes which fit well with proton transfer

   to Asp-85, since the SBP remains connected to the counterion region hydrogen-bond network. The

   simulated low temperature behavior suggests a strong increase of case 3 products which cannot be

   reconciled with observations. However, this alone would not argue strongly against the 13,14-rficis

   model. Our strongest argument against this model actually stems from a separate study [187] which

   showed that only an M412 intermediate formed from the L\ intermediate induced the observed tilt

   of the F helix [162] and the observed shift of C20 of retinal [69].

   4.5     Conclusions

   This chapter is an attempt to delineate from the model of bacteriorhodopsin, which resulted from

   electron microscopy data [66], the mechanism of this protein. In earlier studies we had comple-

   mented the model through refinement efforts, adding loop regions of bR, optimizing side group and




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  helix placements and, in particular, adding internal water molecules. Molecular dynamics simula-

  tions reported here built on the refined model and showed how various properties of retinal and of

  its immediate protein environment can control the initial photoisomerization process. The simula-

  tions revealed that details of the excited state potential surface involving carbons C13, C14 and Cig

  are crucial determinants of bR's photoisomerization products, the nature of which determines the

  mechanism of bR's proton pump cycle. Careful quantum chemical calculations of the potential sur-

  face, possibly of several closely lying surfaces, are critical for further progress in our understanding

  of the mechanism of bacteriorhodopsin; these calculations are presented in chapter 6.

     The simulations presented here indicate also that the crossing from retinal's excited state to

  its ground state potential surface controls the quantum yield of bR's phototransformation. An

  excited state surface which is symmetric between the all-trans and 13-cis retinal isomers together

  with an instantaneous transfer to the ground state after 250 fs of excited state dynamics underes-

  timates grossly the quantum yield of the all-trans -»13-cis photoisomerization. The observation

  of a very high quantum yield for the photoinduced backreaction Kggo -> bRggg is also indicative

  of an asymmetry in the potential function and, hence, in the crossing from the excited state to

  the ground state surface. In the present study it was necessary to enforce an asymmetric crossing

  through a phase U. potential surface as depicted in Figs. 4.2 and 4.3. It is possible that the phase H

  potential needed to bring about sufficiently large quantum yields reflects the complex nature of the

  potential surface crossing in retinal which involves a variety of non Bom-Oppenheimer terms and

  might require a detailed quantum mechanical description. Such a description has been provided,

  e.g., for the isomerization of cis-hexatriene [120].

     An important outcome of our simulations has been the stochastic character of bR's photoreac-

  tion. Earlier descriptions [116, 189] had enforced a complete photoisomerization through a respec-

  tive force field such that all simulations lead to a unique Kggo-like intermediate. The use of a more

  genuine excited state potential surface in the present simulations allowed us to study systematically

  the effect of different initial conditions on the photoreaction. Of course, the well-known quantum

  yield of bR of 0.64 ± 0.04 [143, 60,166], i.e., a value significantly less than unity, also indicates that


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   bR's photoisomerization has strong probabilistic attributes. Our simulations indicate, actually,

   that there do not only exist two outcomes of bR's photoreaction, i.e., all trans retinal correspond-

   ing to bR and 13-cis retinal corresponding to Kggo, but rather four outcomes (see Table 4.4 and

   Fig. 4.6). Reports in the literature of inactive photocycles of bR[45] and the observation that bR

   mutants can produce proton currents directed towards the cytoplasmic side [168] appears to point

   also to a possible side reaction after the photoisomerization. Nevertheless, the different outcomes of

   the simulated photoreaction in our study have been a surprise which deserves further experimental

  and theoretical investigations. Such investigations will also require a better, i.e., accurate quantum

  chemical, description of the excited state potential surfaces of retinal.

      Despite the uncertainties of the excited state potential employed here, a definite candidate for

   the Kggo intermediate emerged from our simulations. This candidate, shown in Fig. 4.13, involves

  an N-H + bond pointing in a direction orthogonal to bR's long axis, stabilized by a water molecule

  which connects the SBP to Asp-85. This intermediate is ideally suited to realize the switch needed

  to explain the proton pump mechanism of bR: transfer of the SBP to Asp-85 weakens the interaction

  of the Schiff base nitrogen with the mentioned water such that torsional strains in retinal lead to

  a reorientation of the Schiff base, leaving the nitrogen pointing towards Asp-96.

      If one accepts our suggestion for the identity of the Kggo intermediate the conclusion can be

  drawn from our study that neither the Jg% intermediate nor the Lggo intermediate is structurally

  very distinct from the Kggo state; during the time course of the Jg2g -»• Kggo -*• Lggo transitions, as

  described in simulations AI300 • - - ASOsoo and simulation C, retinal and the protein experience a

  structural relaxation, but no distinct and functionally significant transformation.

      The most compelling result is the participation of water in the early stages of bR's pump

  cycle. A water molecule plays the pivotal role of stabilizing the early retinal intermediate in a

  strained geometry and furnishes a proton transfer pathway. Our investigation emphasizes the need

  to identify the location of water molecules in bR either through observation, e.g., through two-

  dimensional NMR spectra with water-amino acid cross peaks, or through improved modeling, e.g.,

  through free energy perturbation calculations determining optimal water location in bR


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   Figure 4.12: Stereo images of the retinal binding site during a case 2 photoisomerization simulation:
   (a) t — O ps. (b) t = 0.5 ps. (c) t = 1.0 ps. (d) t = 1.5 ps. During this interval, retinal converts
   from all-trans (a) to 13-cis, with a hydrogen-bond between the SBP and water Wc (d).




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                                 A    Asp
                                      96                            >

                                 4k




   Figure 4.13: Suggested structures of early intermediates in the bacteriorhodopsin photocycle,
   bRggg -* Jg2g —» Kggo -+ Lggo-




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    Chapter 5

   Simulations of Bacteriorhodopsin
   Mutants 1

   5.1     Introduction

   Site-directed mutagenesis experiments have contributed already much to our understanding of the

   function of bacteriorhodopsin. In these experiments, single amino acids are replaced by residues

   with distinct characteristics such as size, shape, or charge. Mutations are accomplished through

   modification and expression of the bR gene; several techniques for rapid and efficient production of

   arbitrary bR mutations have been developed [114]. In this chapter, we carry out molecular dynamics

   simulations of the early photoisomerization and subsequent relaxation event, eqn. (3.1), for several

   mutants of bR as well as for the native (wild-type) bR structure. The results are correlated with

   known proton pumping activity in the mutants and used to derive a model which can explain how

   certain mutants of bR can pump protons in the direction opposite to that of wild-type bR, as has

   been observed experimentally [9].

   5.1.1    b R Mutagenesis E x p e r i m e n t s

   FTTR spectroscopy and observations of site-specific mutants of the bacteriorhodopsin wild-type

   structures have identified residues directly involved in the proton pump pathway, namely Asp-

   85 [107, 161, 122], Asp-212 [107, 122], Asp-96 [107, 72], and Glu-204[23, 6, 136]. These findings
     'Portions of this chapter have been taken from the manuscript: W. Humphrey, E. Bamberg, and K. Schulten,
   Photoproducts of Bacteriorhodopsin Mutants: A Molecular Dynamics Study, submitted.




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   have been corroborated by the three-dimensional structure of bRggg determined using electron cryo-

   microscopy [66] which revealed a channel involving the mentioned residues. Early observations of

   dehydration effects [85] as well as neutron diffraction studies [125], FTIR spectra [98] and molecular

   dynamics simulations [189, 74, 75] attribute also to water molecules an active role in the proton

   pump activity of bR. Figure 4.5 provides a view of the retinal binding site of bRggg which exhibits

   water molecules in the proton channel as well as key residues. Several water molecules are seen in

   Fig. 4.5 to form a network of hydrogen-bonds with charged and polar amino acids near the Schiff

   base linkage of retinal; three water molecules (WA, W B , Wc) interact directly with the Schiff base

   N-H + , water WA being directly hydrogen-bonded to the Schiff base in bRggg.

      Even though the bR proton channel has been structurally identified, it is still an open ques-

   tion how protons are transferred irreversibly between the cytoplasmic and the extracellular side of

   b R MD simulations of the picosecond [75, 186], nanosecond to microsecond [75], and later [187]

   intermediates of the pump cycle suggest that the irreversible transfer of protons requires the photoi-

   somerization of retinal towards a torsionally deformed 13-cis geometry which is stabilized through

   a strong interaction of the Schiff base proton with a water molecule forming a bridge to Asp-85. If

   such a photoproduct is not formed, bR does not pump protons in the desired outward direction.

   Resolution of the crucial retinal geometry presently defies available experimental methods. In this

   chapter we resort to the study of various bR mutants by means of MD simulations to investigate

   in how far the occurence of the stated retinal photoproduct relates to the pump behavior observed

   for the mutants.

      Experiments involving bR mutants D85{N,T,E,A} [107, 161, 122] have pointed to the role of

   the negatively charged Asp-85 as the initial acceptor of retinal's Schiff base proton, while studies of

   mutants D212{N,E,A} [107, 122] and R82{A,Q,K} [161, 122, 6] have shown these ionic groups near

   retinal to control the yield of the pump. Site-directed mutagenesis has also pointed to Glu-204 as

   the group responsible for accepting the proton from Asp-85, before releasing it to the extracellular

  domain [23, 6, 136].

      Mutants of bR in which residues Asp-85 or Asp-212 are replaced by neutral or positively charged


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  groups, such as asparagine or threonine, exhibit dramatic differences in their proton pump behavior

  and, accordingly, were chosen as the subject of our investigation. At physiological pH, photoiso-

  merization to early intermediates with close similarities to Kggo and Lggo of native bR arise, but

  proton pumping is abolished and an intermediate with a deprotonated retinal Schiff base is not

  formed [107, 111]. Mutation of Asp-85 in bR to a non-negative residue results in a significant change

  in the pKa of the Schiff base, lowering it in many cases by 5-7 units [122]. Replacement of Asp-85

  by asparagine or threonine can result in a reversal of the direction of proton transfer, when yellow

  and blue light is applied and two photons are absorbed in a cycle [168, 167]. The resulting pump

  action is similar to that of the homologous chloride-pumping protein halorhodopsin (hR), which

  contains a threonine residue at the position corresponding to Asp-85 in bR; employing two photons,

  hR can also pump protons inwardly [9].

  5.1.2   O u t l i n e of C h a p t e r

  In this chapter we compare the photoisomerization products, as described by means of MD simula-

  tions, of wild-type bR and of bR's D85N, D85T, D212N, and Y57F mutants. We employ the same

  method as in our previous simulations of wild-type bR as described in the previous chapter [75]. In

  Methods we describe the construction of bR mutants studied and simulation of the photoisomer-
  ization reaction. In Results the outcomes of the photoproducts are presented. In Discussion, we

  compare these results to earlier simulations of the wild-type photocycle, and derive a model which

  can explain how the D85N and D85T mutants of bR can pump protons in the direction opposite

  to that of wild-type bR.

  5.2     Methods

  Molecular dynamics calculations described in this chapter were performed using the programs

  NAMD [113] and X-PLOR [26], both of which implement the CHARMm force field [21]. The simu-

  lations were carried out in vacuum at a temperature of 300 K, using a dielectric constant of e = 1

  and a 12 A cutoff of Coulomb forces. All calculations used the CHARMm-19 parameters and topol-

  ogy for the modeling of bR, with the exception of retinal. Simulations were carried out both with

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   and without an explicit hydrogen-bond term in the force field. The CHARMm-19 parameters were

   preferred over more recent releases to allow comparision with previous simulations of native bR

   Simulations employing CHARMm-22 parameters did not exhibit major differences from simulations

   using CHARMm-19 parameters.

      The previously reported structure of bRggg (Figs. 1.3 and 3.2), refined by means of molecular

   dynamics simulations [74], was used as a starting point for all simulations of bRggg, and served as

   the initial structure for the modeling of bR mutants. Following initial construction, each mutant

   structure underwent 1000 steps of energy minimization, followed by a 15 ps MD simulation with

   frequent velocity reseating to heat the system to 300 K, and a 5 ps MD simulation at 300 K with

   infrequent velocity rescaling. Harmonic restraints were applied to the oxygen atoms of the water

   molecules during this equilibration to maintain their positions.

      The retinal charges, parameters, and modeling procedures for the photoisomerization process

   employed presently were the same as employed in the previous study [75]. The photoisomerization

   procedure had been explained earlier as well in terms of ground and excited state potential energy

   surfaces evaluated quantum chemically [147]. Accordingly, retinal was induced to rotate about the

   C13-C14 bond using the following procedure:

     1. At t = 0, the conventional ground state energy surface governing torsion around the C13-C14
        bond was replaced by a potential surface describing the excited state with maxima. at the
        aR-trans and the 13-cis positions and a minimum at 90°.

     2. At t = 250 fs, this potential surface was switched to one describing intersystem crossing and

        exhibiting a maximum at the all-frons position and a single minimum at 13-cis.

     3. At t = 500 fs, the conventional ground state energy surface with minima at the all-Irons and

        the 13-cis positions was re-installed for a period of 2.5 ps.

   All simulations were carried out at T — 300 K. In all cases a barrier of 10 kcal/mol inhibited

   torsion around the Cn-Cig single bond.

      Following the construction and equilibration of the initial (all-irons) structure for each mutant,

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   the systems were simulated for an additional 20 ps and the RMSD of each C a atom determined.

   The resulting RMSD for wild-type bR and its D85N, D85T, D212N, and Y57F mutants exhibited

   average values ranging between 0.5 A and 2 A, reflecting the structural stability of the bR mutants.

   Similar results were obtained for the RMSDs of the positions of water molecules.



                              Modify           300 K             Isomerization       50 KS90
           bR568
                                               Mutant                               Mutant
         Structure          Equilibrate                           Simulations
                                              Structure                            Structures

   Figure 5.1: Schematic representation of the protocol used to construct and simulate the photoiso-
   merization of bacteriorhodopsin mutants. The isomerization simulations followed the same schedule
   as used in Humphrey et al. [75]


      MD simulations were then performed to model the initial photoisomerization reaction of bRggg.

   As in the previous study [75], 50 independent simulations were performed starting from the same

   protein configuration, but with different velocities chosen randomly from a Maxwell distribution

   at 300 K. Following the initial velocity assignment, 100 fs of dynamics were performed after which

   the simulated 3 ps photoisomerization reaction was carried out as described above. The overall

   procedure, summarized in Fig. 5.1, resulted in a set of 50 photoproducts for each mutant.

   5.3     Results

   The photoproducts resulting from each set of 50 simulated photoisomerization reactions for wild-

   type bR and its D85N, D85T, D212N, and Y57F mutants have been categorized based on the final

   configuration of the water molecules and the orientation of the N-H + bond. To measure the latter

   orientation we determined the angle &SB between the line through the N-H+ group of retinal and

   the line connecting the Schiff base nitrogen with the carboxyl of Asp-96 (see Fig. 4.5). Four distinct

   sets of photoproducts, referred to below as case 1-4 products, were identified through the value

   of #SB: case 1 photoproducts contained a 13-cis retinal with a #SB of less than 60°, indicating a

   Schiff base proton oriented towards Asp-96; case 2 photoproducts also contained a 13-cis retinal,


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   but with a #SB value near 90°, indicating a twisted retinal with an N-H + bond oriented towards

   Asp-85; case 3 photoproducts contained 13,14-dicis retinal; case 4 photoproducts resulted when the

   isomerization failed to complete and retinal remained all-frans. The case 1 trials often contained

   a hydrogen-bond between the Schiff base and water Wg; all case 2 trials had a hydrogen-bond

   between water Wc and retinal.

                                                             Casel
                                            bRggg D85N D85T D212N Y57F
                      w/HB Frequency*          .62     .78     .84      .98     .44
                      wo/HB Frequency6         .66     .86     .94      .98     .52
                      CW Rotation*             .00    .38      .67      .04     .00
                      ESB (kcal/mol)*        -19.3   -6.5     -8.9     -7.7 -18.4
                      AESB (kcal/mol)*        15.0   14.3     15.0     14.6    15.3
                                                             Case 2
                                            bRggg D85N D85T D212N Y57F
                      w/HB Frequency*          .32    .00      .00      .02     .38
                      wo/HB Frequency6         .20    .02      .06      .00     .32
                      CW Rotation*             .00       -       -     1.00     .16
                      ESB (kcal/mol)*        -32.2       -       -    -22.3 -31.3
                      AESB (kcal/mol)*         2.2       -       -     -0.4     2.2
            * Results for simulations including an explicit hydrogen-bond interaction term.
            6
              Results for simulations without an explicit hydrogen-bond interaction term.


                           Table 5.1: Summary of bR mutant simulation results.


      Table 5.1 summarizes the results of the simulated photoisomerizations. In all mutants studied,

   case 1 and case 2 photoproducts (those containing a 13-cis retinal) accounted for at least 78% of all

   photoproducts, and only these cases are included in the table. The table entries state the observed

   fractions of case 1 and case 2 photoproducts as well as what percentage of the case 1 or case 2

   photoproducts resulted from a clockwise isomerization, the rotation direction being defined looking

   from the Schiff base nitrogen toward retinal's /3-ionone ring. A clockwise isomerization corresponds

   to a motion in which the Schiff base N-H+ bond passes more closely by the Asp-85 residue rather

   than by the Asp-212 residue. Egg given in Table 5.1 is the electrostatic interaction energy between

   the Schiff base proton and the rest of the protein, averaged over all photoproducts corresponding

   to a specific case.   AESB   measures the difference of the same electrostatic energy between the final


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   photoproduct and the initial state (i.e., with all-irons retinal).

      The simulations of the bR photoisomerization reaction were carried out in two ways, the first

   including an explicit hydrogen-bond term in the molecular dynamics energy function, the second

   omitting this term. The values in Table 5.1 include the yield of case 1 and case 2 photoproducts

   for both sets of simulations, but provide the rotational motion and retinal energy data only for

   the simulations involving an explicit hydrogen-bond term. Inclusion of the hydrogen-bond term

   primarily affected the relative yield of case 1 and case 2 photoproducts for the bR wild-type and

   Y57F mutants; the remaining values reported in Table 5.1 were very similar in both series of

   molecular dynamics calculations.

   5.3.1   b R Wild-Type

   As a point of reference we consider first the results of simulated photoisomerizations for wild-type

   bR We have extended previous simulations [75] in order to confirm the earlier findings and to

   insure proper comparison with the simulations of bR mutants discussed further below. In this

   study, 62% of the trials resulted in case 1 structures, while 32% of the trials resulted in case 2

   structures; the remaining 6% of the cases failed to isomerize and remained all-frons. In the previous

   simulations [75], case 1 and case 2 photoproducts for the wild-type occurred with similar frequency

   (58% and 36%, respectively). Case 2 stuctures arise through a hydrogen-bonding with water Wc
   as shown in Fig. 5.2b, which helps stabilizes the twisted retinal geometry; this is highlighted by

   the reduction of the case 2 photoproduct yield in simulations without an explicit hydrogen-bond

   energy term. It the latter case, 66% of the trials form case 1 structures, while only 20% form case 2

   photoproducts.

      While case 1 structures occurred more frequently than case 2 structures, it was argued in the

   previous chapter (chapter 4, and ref [75]) that case 2 photoproducts actually represent the Kggo

   intermediate which initiates a pumping cycle; case 1 structures lack a pathway for transfer of the

   Schiff base proton to Asp-85 and either do not arise upon excitation of bRggg, or they initiate a

   separate non-pumping (idle) cycle, characterized through the lack of a deprotonated retinal Schiff



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   base intermediate in the cycle. While the simulated photoisomerizations may not capture quanti-

   tatively the propensity of the various photoproducts, they have identified a viable candidate for the

   Kggo structure and may, furthermore, properly describe how mutations affect the quantum yield

   of various photoproducts. In this respect it is important to note that combined classical/quantum

   mechanical simulations of the photoisomerization carried out recently (in preparation) and based

   on quantum chemically evaluated potential surfaces [147] yield analogous isomerization products

   with a significantly higher yield of case 2 products. Furthermore, the recent simulations result in

   more aR-trans products, in accordance with the quantum yield of the photoreaction.




                           (a)                                               (b)
  Figure 5.2: Structure of the retinal binding site of the case 1 and case 2 photoproducts of wild-type
  bacteriorhodopsin, including water molecules and key residues participating in the proton pump
  cycle, (a) Sample case 1 product, with the Schiff base proton connected to the cytoplasmic channel
  and hydrogen-bonded to water W B ; (b) sample case 2 product, exhibiting a Schiff base proton
  connected to the extracellular channel via a hydrogen-bond with water Wc-


      Figure 5.2 presents two structures corresponding to case 1 and case 2 photoproducts of bRggg.

  One can recognize that in case 2 the Schiff base proton is favorably positioned to be transferred

  via Wc to Asp-85, whereas in case 1 the proton is pointing towards Asp-96, i.e., in the wrong

  direction. Energetic analysis reveals that for case 2 photoproducts retinal assumes a twisted, i.e.,

  energetically unfavorable, geometry which is stabilized, however, through a strong hydrogen-bond



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   with water Wc-

      The electrostatic interaction energy of the Schiff base proton (ESB) for case 2 photoproducts

   lies 12.9 kcal/mol below that of case 1 photoproducts;     AESB,   for case 2 photoproducts, is close

   to zero (2.2 kcal/mol), while for case 1 photoproducts the Schiff base proton electrostatic energy

   increases by 15.0 kcal/mol. This difference arises from the Schiff base, in case 2, being closer to the

  negatively charged aspartic acids and to polar water molecules than in case 1 and also forming a

  stronger hydrogen-bond with water.

  5.3.2    D85N and D85T Mutants

  Modification of the negatively charged Asp-85, the primary proton acceptor in the wild-type photo-

  cycle, to a neutral residue such as arginine or threonine has been shown to cause a 5 to 6 unit drop

  in retinal's Schiff base pKa [107, 161]. Simulations of D85 mutants described here were performed

  using a protonated Schiff base; thus, they relate to experiments done at sufficiently low pH to

  maintain the Schiff base in a protonated state.

      Simulated photoisomerization of the D85N mutant resulted in a large number of case 1 photo-

  products (78%), an example of which is shown in Fig. 5.3a. For this mutant, no case 2 structures

  arose, with the remaining 22% of photoisomerization processes resulting in either 13,14-(ficis (case

  3) or aR-trans (case 4) retinal. When simulated without an explicit hydrogen-bond term, the D85N

  mutant exhibited an equally large frequency of case 1 photoproducts (86%), and an equally small

  yield of case 2 structures. The direction of rotation was primarily counter-clockwise, as for case 1

  photoproducts of wild-type bRggg. Due to the loss of a negative charge on residue 85, Egg is sig-

  nificantly more positive for the D85N case 1 photoproducts as compared to the value for wild-type

  case 1 photoproducts. However, the change in Egg for case 1 D85N products, 14.3 kcal/mol, is

  very close to the corresponding value for bRggg case 1 products.

      Simulated photoisomerization of the D85T mutant resulted in a distribution of photoproducts

  similar to that of the D85N mutant, with the difference being a slightly higher fraction (6%) of case 1

  photoproducts. The same is true for the simulations without hydrogen-bond interactions, except



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                                (c)                                   (d)

   Figure 5.3: Structure of the retinal binding site of the case 1 photoproducts of several bR mutants.
   (a) D85N. (b) D85T. (c) D212N. (d) Y57F.

   for a slight (6%) yield of case 2 D85T structures not seen in the calculations with a hydrogen-bond

   term. In D85T case 1 simulations, ESB is more positive than the value of ESB for bRggg case 1

   photoproducts, which is due, in the same way as seen for D85N, to the loss of a negative charge on

   residue 85. Also for case 1 photoproducts in the D85T simulations, the value for   AESB   is close to

   those for bRggg; this result is comparable to the situation for D85N as well. The major differences

   between the D85T and D85N simulations are a preferred clockwise rotation direction in all D85T

   isomerization simulations, and a lower value for ESB- Figure 5.3b shows a case 1 photoproduct of

   the D85T mutant.




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   5.3.3   D212N M u t a n t

   Simulations of the D212N mutant of bR were carried out awmming a protonated Schiff base. This

   is reasonable, as mutation of Asp-212 to a neutral form does not significantly lower the Schiff

   base pKa [161]. The D212N mutant is of interest since at neutral pH light absorption by the

   mutant leads neither to a deprotonated retinal Schiff base intermediate nor to an active pump

   cycle [107]. Simulated photoisomerization resulted for this mutant always in case 1 photoproducts,

   with the exception of a single case 2 occurence. No case 2 photoproducts arose in any of the

   D212N simulations which did not include a hydrogen-bond term. Similarly to wild-type and D85N

   photoisomerizations, but opposite to the behavior for the D85T mutant, case 1 photoproducts arose

   from counter-clockwise rotation. Figure 5.3c shows a case 1 photoproduct of the D212N mutant.

   Due to the loss of a negative charge in the counterion region as a result of the D212N mutation,

   the electrostatic energy of the Schiff base proton for case 1 photoproducts is comparable to that

   for the same photoproducts of the D85N and D85T mutants.      AESB    is also very close to the values

  for both the D85N and D85T mutants for the case 1 photoproducts.

  5.3.4    Y57F M u t a n t

  Of the mutations considered in this study, the Y57F mutation produces the smallest perturbation to
  the retinal binding site, a loss of two hydrogen-bond participants due to the removal of the tyrosine

  hydroxyl. Indeed, light absorption by Y57F mutants induces an unprotonated retinal Schiff base

  intermediate as well as proton pumping [61]. Simulated photoisomerization yielded a distribution

  containing 44% case 1 and 38% case 2 photoproducts; of the remaining nine trials, seven failed

  to complete the isomerization and remained in an all-irons state, while the remaining two trials

  produced a 13,14-(ficis retinal. A very similar distribution of trials was seen when simulated without

  an explicit hydrogen-bond term. This distribution is closer to that seen for the wild-type than for

  any of the other mutants considered here. In regard to the rotation direction and the Schiff base

  proton interaction energy, Y57F acts very much like the wild-type. A case 1 photoproduct of the

  Y57F mutant is shown in Fig. 5.3d.


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   5.4     Discussion

   In the simulations of bR and its mutants, the photoreactions completed with few exceptions the

   isomerization around the C13-C14 bond of retinal within 500 fs. The vast majority of the trials

   formed case 1 and case 2 photoproducts (see Figs. 5.2, 5.3), in proportions which depend on the

   particular mutant studied. As pointed out above, earlier studies [75, 147] suggested that case 2

   photoproducts represent the structure of the Kggo intermediate which actually initiates the proton

   pump cycle, hi the previous study, two model potentials governing the excited-state isomerization

   dynamics were considered: a surface with a 10 kcal/mol barrier against torsion of the C14-C15 bond

   and a surface in which this barrier had been reduced to 2 kcal/mol [75]. The simulations reported

   here employed only the first potential which has a larger propensity to form case 1 and case 2

  photoproducts rather than case 3 photoproducts.

   5.4.1   Lack of C a s e 2 P r o d u c t s for D85N, D 8 5 T a n d D 2 1 2 N b R

  For wild-type bR, 32% of the simulated photoproducts form case 2 structures. The Y57F mutant,

  which has been shown to undergo a functional photocycle with a deprotonated retinal Schiff base

  intermediate [61], forms case 2 photoproducts in 38% of the simulated isomerization reactions. The

  D85N, D85T, and D212N mutants, in contrast to the functional wild-type and Y57F mutants,

  represent non-functional systems, and do not form case 2 structures to any significant degree. In

  fact, replacement of Asp-85 by neutral residues has been observed to eliminate proton pumping

  activity [107,161,122], while D212N mutants engage in photocycles without a deprotonated retinal

  Schiff base (for pH values above 7) and form only a small fraction of deprotonated intermediates

  at lower pH values [111]. Thus, the occurrence of case 2 photoproducts in the mutants studied

  correlates with the proton pumping activity of these mutants. This supports the suggestion that

  case 2 structures represent the functionally important Kggo intermediate, as proposed earlier [75,

   147].




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   5.4.2    Energetics of Case 1 a n d C a s e 2 P h o t o p r o d u c t s

   How is the formation of case 1 and case 2 photoproducts controlled by native bR and its mutants?

   The lack of the primary proton acceptor group in the D85N and D85T mutants could be considered

   the primary reason for the lack of M412 formation in these mutants. However, D212N, which

   also fails to form a deprotonated retinal intermediate, does contain the proton acceptor Asp-85,

   which suggests that the reason for elimination of pumping activity in certain bR mutants is due

   to electrostatic interactions.   AESB,   which measures the net electrostatic interaction between the

   Schiff base proton and the surrounding protein, differs significantly between case 1 and case 2

   photoproducts for each mutant. The values of A E S B for case 1 products are all in the range 13-16

   kcal/mol, for both functional and nonfunctional mutants, while for case 2 products the valuese of

   AESB    are close to zero. The hydrogen-bond of the Schiff base proton to water Wc (see Fig. 5.2b)

   stabilizes case 2 structures and maintains a pathway for proton transfer to Asp-85, while the loss

   of electrostatic attraction when a neutral residue replaces Asp-85 or Asp-212 destabilizes case 2

   structures. This can explain why mutation of Asp-212 eliminates pumping activity, even though the

   Asp-85 proton acceptor is available: both mutations destabilize case 2 photoproducts, and disrupt

   the retinal hydrogen-bond connection to the counterion vicinity.

   5.4.3    Direction of Photoisomerization

   We have investigated the possiblity that the direction of isomerization around retinal's C13-C14 bond

   may determine bR's case 1 and case 2 photoproducts; a clockwise rotation (defined looking from the

   Schiff base nitrogen to /?-ionone ring of retinal) may favor one type of product, a counterclockwise

   rotation the other. For example, water Wc may capture the Schiff base N-H+ only during a

   clockwise isomerization since in this case N-H + approaches Wc closely, whereas it does not approach

   it in case of a counterclockwise all-trans —» 13-cis isomerization. For this purpose we have monitored

   the rotational sense of all isomerizations occurring in our simulations, seeking a possible correlation

   of this property with the type of photoproduct formed. Very little correlation was found as can be

   seen from the data in Table 5.1.


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   5.4.4    M e c h a n i s m for Reversed P r o t o n P u m p i n g

   At pH 6.7, the D85N and D85T mutants of bR exist as a mixture of both all-irons, protonated

   retinal (bRt r a n s ) and all-irons, deprotonated retinal (Mtrans)- Illuminating this mixture with

   blue light results in a proton current in the same direction as for wild-type bR[168, 167]. In

   this case, blue light is absorbed by bR with deprotonated all-irons retinal, the latter absorbing

   near 410 nm; retinal photoisomerizes to the 13-cis isomer, becomes protonated from Asp-96, re-

   isomerizes thermally to all-irons and forms again a mixture of protonated and deprotonated retinal.

   Illumination of the D85N and D85T mutants by yellow light excites the bR with protonated all-

   irons retinal, but no steady proton current is generated. However, addition of blue light induces

   a proton current, albeit in a direction opposite to the current of native bR[168, 167]. In this

   case the protonated retinal photoisomerizes through absorption of yellow light, releases its proton

   towards Asp-96, absorbs in the deprotonated form a blue photon and returns to the initial retinal

   all-irons isomer forming again a mixture of protonated and deprotonated retinal. This surprising

   reversal of the proton pump direction of the D85N and D85T mutants of bR can be reconciled in

   a straightforward way with the appearance of case 1 photoproducts as demonstrated in Fig. 5.4.

      The model in Fig. 5.4 extends a suggestion by Tittor and coworkers [168, 167], in that it intro-

   duces the case 1 type structure into a scheme given by these authors. We suggest that protonated

   all-irons retinal photoisomerizes to a case 1 product as shown in Fig. 5.2b. The case 1 geometry of

   retinal is well suited for deprotonation to Asp-96, as indicated in Fig. 5.4, leading to a deprotonated

   13-cis retinal. In this protonation state the barrier for thermal isomerization around the C13-C14

   bond measures about 50 kcal/mol, i.e., for all practical purposes is insurmountable. However,

   photoisomerization can occur when light in the 400 nm range, i.e., blue light, is provided. This

   leads back to unprotonated all-irons retinal as shown in Fig. 5.4. The nitrogen pointing towards

   the extracellular side can receive a proton from this direction, form the initial protonated all-irons

   retinal and enter a new pump cycle, thus, establishing a continuous inward current.

      It is possible, however, to have case 2 photoproducts appear in this scheme, which would then

   simply return to the bR^ ran8 state because of the lack of a proton acceptor. However, case 2

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                                                protonated
                            a\\-trans                               as /
                                                                13-c/s




                                 H+              bR D85T
                                              2-photon cycle          <wy


                            all-frans                            13-c/s
                                          \     unprotonated



                                          £"W&
                                                                            }


                                             t                    <       at"v-»

   Figure 5.4: Suggested mechanism of reverse proton pumping of the bR D85T mutant. Protonated
   all-irons retinal (top, left) absorbs yellow light and photoisomerizes to a case 1 product (top,right);
   the N-H+ bond points towards the cytoplasmic (top) direction and releases its proton to form
   the corresponding unprotonated retinal Schiff base (bottom, right); the latter absorbs blue light
   and photoisomerizes to unprotonated all-irons retinal (bottom, left) with the Schiff base nitrogen
   pointing towards the extracellular (bottom) direction; the chromophore is reprotonated and the
   initial protonated all-irons chromophore (top, left) is reformed.

   photoproducts are much less likely to appear, due to the changed electrostatic environment of

   the retinal binding site, and the disruption of the water structure in this region. Conversely, it

   is possible for case 1 products to occur in a functional photocycle of native bR, and thermally

   reisomerize back to the initial ground state while case 2 photoproducts continue the cycle. The

   quantum yield of the bR photocycle, which is less than unity (0.64 ± 0.04 [143, 60, 166]), suggests

   this as a possibility. While the bR mutant simulations reported here do not model all the steps

   in the suggested model of reverse proton pumping, they do provide a possible mechanism for the

   initiation of the observed reverse pumping in D85N and D85T mutants.




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   5.5     Conclusions
   5.5.1    Case 1 a n d Case 2 P h o t o p r o d u c t s B o t h C a n Have a Functional R o l e

   The inverted pump cycle in Fig. 5.4 hinges on the formation of a case 1 photoproduct. The model

   is consistent with the suggestion that case 2 photoproducts in bR initiate an outwardly pumping

   photocycle and that mutations abolishing this photoproduct and favoring case 1 products lead to an

   inwardly pumping cycle under appropriate light conditions. The question arises why such control

   switching between two photoproducts and two very different cycles might be advantagous to the

   bacterial host.

      Two answers suggest themselves. First, the protein halorhodopsin, a close analogue of bR, lacks

   a negatively charged side group in place of Asp-85 in the retinal binding site. The protein shows

   the same reverse pump behavior as bR D85T mutants [9]. Accordingly, the protein reverses the

   proton flow in the cell membrane of Halobacterium halobium under intense light conditions with

   both yellow and blue light present at sufficient intensities. Such reversal seems to be necessary to

   avoid overcharging the bacterial cell through a strictly unidirectional proton pump [9]. One can

   conclude that the design of bR with two possible photoproducts, namely case 1 and case 2, lends

   itself to the design of halorhodopsin.

      A second answer is also based on the fact that case 1 photoproducts either do not initiate

   proton pumping in the outward direction or, for some light conditions, initiate reversed proton

   pumping. The bistability of bR's photoproducts can induce a slippage in the proton pump, i.e.,

   idle photocycles, by allowing a shift to case 1 products when a sufficient membrane potential has

   been generated. This potential would, indeed, have the same effect as neutralizing the Asp-85

   negative charge favoring formation of case 1 products. We conclude that the bistability reflected in

   the appearance of case 1 and case 2 photoproducts might be a desirable, if not necessary, inefficiency

   of biological proton pumps.




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  5.5.2    N e e d t o Improve t h e Description of t h e P h o t o p r o d u c t Yields

  A serious shortcoming of the present description is the low yield of case 2 photoproducts, which

  are suggested to initiate bRggg's pump cycle, relative to case 1 photoproducts. The yield depends

  sensitively on the depth and on the range of the potential energy well corresponding to the formation

  of hydrogen-bonds to water Wc- Accurate calculations of potential energy surfaces within an error

  margin required to predict accurate yields are beyond the scope of the rough force field used

  in our simulation; quantitative predictions of the quantum yields of bRggg's photoisomerization

  require essential improvements of the force field used, at least of the force field governing the

  photodynamics of retinal and the hydrogen-bonding properties of the retinal Schiff base and the

  internal water molecules. The change in case 1 and case 2 photoproduct yields between simulations

  with and without an explicit hydrogen-bond term indicate the importance of this type of interaction

  in determining and stabilizing the isomerization results.

     One step in this respect should base the simulation of retinal's photoisomerization on separate

  ground and excited state potential surfaces as outlined in [147] rather than employing a single

  surface, as in the present case. The simulations reported here using a single potential energy surface

  enforce a complete all-irons —• 13-cis isomerization and, accordingly, favor case 1 photoproducts.




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   Chapter 6

   Bacteriorhodopsin Photodynamics
   Simulations 1

   6.1      Introduction

   The simulations of the early steps in the bR photocycle described in chapters 4 and 5 modeled

   the initial photoisomerization event using classical potential energy surfaces to force rotation about

   the retinal Ci3=Cu double bond. In this chapter, we study the initial photoisomerization reaction

   dynamics using a combined quantum/classical treatment of retinal. This method incorporates the

   effects of coherence between wavefunctions into our classical simulations, and allows us to examine

   the very fast (10 - 100 fs) motion of retinal following photoexcitation.

       The current view of the photoisomerization process of bacteriorhodopsin, which has emerged

   from time-resolved spectroscopy and modeling of the bR photointermediates [99, 37, 40, 75, 186],

   suggests that the reaction proceeds in the sequential steps

                                  bRggg AS bR*(200 fs) V         J625 3J? Kggo • • •                           (6.1)

   where photoexcitation of bR generates bR* which successively decays to the intermediates Jg25 and

   Kggo, the latter being a ground state product with retinal in a 13-cis geometry. The observations

   suggest that substantial torsional motion takes place during the ~200 fs lifetime of the excited state

   bR*.

      A schematic structure of bR together with retinal bound as a protonated Schiff base to Lys-216,
      'Portions of this chapter have been taken from the manuscript: W. Humphrey, H. Lu, I. Lognnov, H.-J. Werner,
   and K. Schulten, Three Electronic State Model of the Primary Phototransformation of Bacteriorhodopsin, submitted.

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    water molecules and key amino acid side groups including Asp-85, Asp-96, and Asp-212 is shown

    in Fig. 3.2. Asp-85 is unprotonated and negatively charged at the beginning of the proton pump

    cycle; this group has been shown in mutagenesis [107, 161, 122] and FTTR experiments [19] to

    accept a proton from the Schiff base following photoisomerization. The D85N mutant forms the

    Kggo intermediate in (6.1), but exhibits no proton pumping activity [107, 161, 122]. Similarly, the

    D212N mutant involving another unprotonated aspartic acid side group near retinal fails to pump

    protons [107, 122]. Following photoexcitation, the excited state dynamics of these mutants differs

    markedly from the behavior for native b R Thefluorescencelifetime for D85N (D212N) is 20 (4)

    times longer than the 500 fs lifetime of native bR [157]. The quantum yields of these mutants,

    nevertheless, are close to the wild-type value of 0.64 ± 0.04 [143, 60, 92, 91].

       Previous simulations of the photoisomerization of bR have employed a single potential surface

   for the excited state, evaluated by means of QCFF/PI methods [182], or modelled by a simple

   periodic function [189, 75]. However, polyenes are known to have two closely lying singlet excited

   states, one of which, Single, in the case of pure polyenes, is optically allowed and involves mainly

   single excitations, while the other state, 5doubie> ^ optically forbidden and involves mainly two-

   electron excitations [148, 73, 164, 153]. In polyenes and unprotonated Schiff bases of retinal,

   Sdoubie is the lowest state in energy, while for protonated Schiff bases Single is the lowest state [146].

   Photoexcitation of bR populates mainly Single, i.e., the lowest excited singlet state; the higher state

   Sdoubie is responsible for the two-photon absorption reported in [16].

       The question arises in how far a torsion around retinal's Ci3=Cu bond, during photoisomer-

   ization, alters the energy level ordering of ^single and Sdoubie such that the state ^double becomes

   involved in the photodynamics of retinal. This question must be pursued since omission of the

   second, i.e., higher energy, excited state Sdoubie hi such a case could affect the photoreaction. In

   fact, non-adiabatic torsion around the Cig=Ci4 double bond promotes the two 7r-electrons residing

   in the ethylenic ground state of this bond to a double excitation which argues for an involvement

   of the state Sdoubie hi the all-irons -»13-cis reaction. The state Sdoubie has been shown, indeed, to

   decrease in energy upon torsion around the double bond of a retinal analogue [147].


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      Accordingly, we employ in the present chapter model potential surfaces involving three electronic

   states suggested in [147]. This model implies that two level crossings are required to return, after

   photoexcitation, to the ground state. Level crossing is a quantum mechanical process, and for single

   crossing events one might apply a probabilistic interpretation of quantum mechanics to account

   for such events. However, the energetic proximity of the two excited states and the scenario of

   two level crossings occuring within a few hundred femtoseconds requires a quantum mechanical

   description in which a 3x3 density matrix accounts for the occupancy of the three participating

   electronic states and for possible phase coherence [101, 145].

   6.1.1   Outline of C h a p t e r

   In thefollowingwe introduce first in Methods the quantum chemical and combined quantum/classical

   mechanical simulation methods employed in our study. We present then in Results the outcome of

   these simulation demonstrating the participation of three electronic states in the photodynamics

   of retinal in wild-type bR, and for the D85N and D212N mutants of b R From the simulations we

   compute the quantum yield and excited state lifetimes, and in Discussion compare the results to

   the experimentally observed photoisomerization reaction dynamics.

   6.2     Methods
   6.2.1   Excited S t a t e P o t e n t i a l Surfaces

   The potential surfaces governing photoisomerization processes have been evaluated in vacuo for

   the retinal analogue [CH^-(CH)^-(C^H^)-(CH)^-^H-CHg]+, at the CASSCF(8,8)/6-31G ab initio

   level by means of the program MOLPRO [184,84]. This retinal analogue is known to be the shortest

   analogue that exhibits proton pump activity upon reconstitution with the apoprotein [159]. The

   utilized complete active space, CAS (8,8), includes the four HOMO and four LUMO orbitals of

   the full 7r-orbital space of the four-double-bond retinal analogue. The choice of this analogue was

   dictated by the fact that retinal itself, which contains six double bonds, proved too large for a

   sufficiently extensive calculation. The initial geometry of the retinal analogue was minimized at

   the Hartree-Fock level using the 6-31G basis set; the isomerization potentials were computed for a

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  gradual torsion in steps of 15° around the C=C double bond adjacent to the Schiff base, keeping

  all other degrees of freedom constant. Basis set improvements beyond the 6-31G level were found

  not to significantly affect the energetics of isomerization around the relevant double bond of the

  retinal analogue.

      As argued above, one expects the three lowest electronic states (So, Si, and Sg) to be implicated

  in retinal's photoisomerization. The associated potential surfaces were computed simultaneously

  by performing state-averaged calculations, in which molecular orbitals are optimized with respect

  to the average energy of the SQ, Si, and Si states. In regions of close approach between any two

  surfaces, additional state-averaged calculations were performed to investigate the nature of the

   "crossing" between the respective states; in such calculations molecular orbitals were optimized

  with respect to the average energy of the two particular states of interest (either So and Si, or Si

  and S2).

      From the adiabatic surfaces in Fig. 6.1 we change in our simulations to a presentation in terms

  of a ^-dependent 3 x 3-Hamiltonian matrix H

                                           (Ei(<f>) V12   V13        \
                                  #(# =        VM Ei{<t>) Viz                                     (6.2)
                                           V Vn         Viz   Ez{4>) )

  where <f> represents the torsional angle about the C I 3 = C M double bond (the isomerization reaction
  coordinate), Ej(<f>) are non-adiabatic potential surfaces, and Vij are the non-adiabatic coupling

  constants which we choose to be real and ^-independent. As discussed further below, the non-

  adiabatic surfaces Ej(<f>) and coupling constants Vij were chosen such that the diagonalized form

  of H(<f>) in eqn. (6.2) approximates the ab initio surfaces of the states So, Si and Si in Fig. 6.1. In

  the new representation the regions of non-adiabatic interaction between the states So, Si and Si

  are represented by explicit crossing points along the Ej(<f>) surfaces.

      The use of a truncated retinal analogue and the neglect of the stabilizing effect of the protein

  environment resulted in an overestimate of the So -» Si excitation energy. This deficiency was

  corrected through a linear scaling of E\, Ei, and Ez such that the energy difference between the

  states So and Si at the all-irons position measured 50 kcal/mol, a value equal to the excitation

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                                                 Angle OW

   Figure 6.1: Computed ground and excited state potentials of tH2C=(CH)-(CH)=(CH)-(CH2-
   C*)=(C*H)-(CH)=NH+-CH3], an analogue of the protonated Schiff base of retinal. The depen-
   dence of the energies of the ground state (So) as well as the first (Si) and second (Si) excited
   states on the torsional angle <f> of the bond C*=C* is shown. The bond C*=C* corresponds to the
   Ci3=Ci4 double bond of retinal. State-average calculations for the So, Si, and Sg electronic states
   were performed at the CASSCF(8,8)/6-31G ab initio level (see text). <fa and <fa indicate the two
   regions of close interaction between the two excited states, and between the first excited state and
   the ground state, respectively.

   energy of retinal in bR. The resulting non-adiabatic surfaces Ej(4>) are shown in Fig. 6.2.

      The minimum energy separation between So and Si, as well as between Si and Si, allows one

   to determine the coupling constants Vij, i.e., the coupling constants should be half of the minimum

   energy splitting. Instead of adopting such values we employed coupling constants Vu, V13, and

   Viz of 0.5, 1, and 1 kcal/mol, respectively, which are considerably smaller than the estimates due

   to level splittings. However, the latter splittings depend sensitively on the type of state averaging

   adopted, as discussed further below; certain procedures lead to very small splittings. The value of

   0.5 kcal/mol for Vu was chosen to enforce agreement with the observed quantum yield of 0.64 [143,


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  60]; a choice of 1 kcal/mol would result instead in a quantum yield of 0.34. The value of 1 kcal/mol

  for Viz and Viz was selected to obtain agreement with the measured lifetime of wild-type bR of

  about 300 fs in the state Si [64]; a value of 5 kcal/mol would yield a crossing time (lifetime) of

  about 100 fs.



                50   -^5***"
                40
          o

          g 30                                                              Ei
                                                                            E2
                                                                            E&bR
          o 20                                                              E&DBSN
          UJ                                                                E30212N


                10 -


                 o -
                  trans                              90                             CIS
                                                   Angle (40

  Figure 6.2: Non-adiabatic potential energy surfaces used in molecular dynamics simulations of
  bacteriorhodopsin and bR mutants. The minimum of the surfaces Ez,bR, ^3,D85N> and Ezjmni are
  matched to the measured excitation energy bR and its respective mutants.


     Hamiltonians similar to (6.2) were constructed for the bR mutants D85N and D212N absorbing

  at 615 nm [107] and at 585 nm [111], respectively. For this purpose the minimum of the Ez surface

  at the all-trans and at the 13-cis position was lowered to match the respective excitation energy.

  The resulting surfaces .%,bR, 2s3,D85N and EZJOIUN are compared in Fig. 6.2.

  6.2.2        Density M a t r i x Evolution M e t h o d

  The photodynamics simulations used as a starting point the refined bRggg structure reported in

  [74] which is based on a structure of bR obtained by electron microscopy [66]. The refined structure


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  includes the loop regions between the seven trans-membrane helices of bR, as well as sixteen water

  molecules within the protein interior. Five of these water molecules are located within the vicinity of

  retinal's binding site, in hydrogen-bond contact with the Schiff base proton and nearby amino acids

  including Asp-85 and Asp-212. D85N and D212N mutants were constructed through modification

  and equilibration of the refined structure. A series of simulations was carried out for each mutant,

  each run consisting of a brief 100 fs equilibration starting from a random velocity distribution

  and using a 1 fs integration time step, followed by simulation of the photoisomerization reaction

  employing the co-called density matrix evolution (DME) method [12] based on the potential energy

  surfaces in Fig. 6.2. The photoisomerization simulations lasted until retinal returned to the ground

  state, and varied from 1 to 12 ps. All simulations which completed a all-trans -+ 13-cis isomerization

  were continued for a further 2 ps to model the Jg# —r K590 transformation; for this purpose the

  ground state potential introduced in [75] was used to describe the Ci3=Ci4 torsion.

     The DME description of the torsion around the Ci3=Cu bond couples the evolution of the

  quantum mechanical density matrix of the three electronic states involved in the photoisomerization

  with the classical equations of motion of the entire protein [12]. Using the three-state Hamiltonian

  H in eqn. (6.2), we introduced the density matrix p(t), the diagonal elements of which represent

  the occupation of the three states as a function of time. Photoexcitation was accounted for by

  starting from the pure state

                                              Pij(to)=Szz.                                         (6.3)

  During the subsequent simulation, the density matrix evolved according to the Liouville - von

  Neumann equation

                                              p = ^[p,H].                                          (6.4)

  The density matrix incorporates the effect of coherence between the quantum states during the
  dynamics, without the need to calculate the retinal wavefunctions. A more complete description of
  the DME method is provided in Appendix C.




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      The energy stored in the torsion around the C I 3 = C M bond is
                                                     3              3
                                                          E
                             #3-14 = T r p f f = Y.PH J + Z                PjkVkj.                   (6.5)
                                                    y=i            jjt=i

   The corresponding forces are obtained after taking the (negative) gradient with respect to atomic

   cordinates. Since the couplings Vjk are chosen to be independent of <f>, the forces acting on atom k

   with position 7% are
                                                          3
                                         Fiz-uA<t>) = TrPiA                                            (&6)

   where Fjk — —dEj(rf>)/drje, i.e., the net force acting on an atom is the average over the forces due

   to each state, weighted by the occupancy pjj of that state. To the resulting force on atom k are

   added all other forces acting on the atom from the surrounding protein environment.

      Equation(6.4) was integrated by means of a fourth-order Runge-Kutta scheme to yield p(t);

   rapid oscillations in the occupancy of the states required a 0.1 fs integration time step. For the

   classical molecular dynamics simulations a modified version of the program NAMD [112] was used

   and a 1 fs integration time step employed. The simulations were carried out at a temperature of

   300 K. For the force field, except for the Ci3=Cu bond torsion, the CHARMm force field [21] was

   used, modified for retinal as described previously [75].

   6.3     Results

   The singlet state potential surfaces for torsion around the double bond adjacent to the C=N bond

   of the retinal analogue [CH2-(CH)3-(C2H3)-(CH)2-NH-CH3]+ are presented in Fig. 6.1. For the

   all-trans [13-cis] geometry the calculations predict, besides the ground state So (trans) [So (13-cis)],

   two closely spaced excited states, a state Si (trans) [Si (13-cis)] with predominantly single-excited

   electron configurations below a state Si(trans) [S2( 13-cis)] with predominantly double-excited

   electron configurations. This level ordering is in agreement with the configuration interaction

   calculations on a related polyenylic ion reported in [146]. Due to the lack of symmetry, both

   Si (trans) and Si(trans) are optically allowed from the ground state So (trans); the respective

   transition dipole moments are Do_»i = 3.5 a.u., Do-»2 = 1.4 a.u., and Di_+2 = 1.1 a.u.

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      As can be seen from Fig. 6.1, the potential surfaces along the complete [0°, 180°] interval of

   the torsional angle (f> exhibit three avoided crossings, two near fa = 30°, <ffi — 150°, and one near

   fa = 90°. Following the procedure outlined in Methods, the surfaces can be interpreted as arising

   from three adiabatic surfaces shown in Fig. 6.2, one surface (%) connecting the all-trans ground

   state Sb(trans) to the excited state S2(13-cis), a second (E\) connecting conversely the excited

   state S2(trans) to the ground state So (13-cis), and a third one (%,ba) connecting the excited state

   Si (trans) to the excited state Si (13-cis).

      The identification of the two adiabatic surfaces E\ and Ei constitutes a key result of this chapter

   on which the further description is based. The surface Ei is consistent with the simple interpretation

   that the state So (trans) contains two 7r-electrons in the bonding orbital of the double bond under

   consideration, and that a 180° torsion adabatically lifts these ^--electrons into the anti-bonding

   orbital, i.e., into a doubly excited electron configuration; the occurence of such configurations is

   characteristic of the S2(13-cis) state. The surface E\ can be interpreted in a similar manner.

      The distinctive feature of the surfaces in Figs. 6.1, 6.2 is the existence of regions of non-adiabatic

   interactions inducing, near fa ( $ ) , the crossing Ei o 2%,bR 0% ++ ^j,bR.) and, near fa, the cross-

   ing Ei <+ Ei. We examined the surfaces near fa by means of the quantum chemical calculations

   outlined above state averaging over the Si and S2 states, i.e., involving only the two states par-

   ticipating in the crossing Ez,bK *+ E\. The results revealed that the interaction in this region is

   of the "avoided crossing" type; the potential curves obtained in state-average calculations for the

   two states do not differ considerably from those presented in Fig. 6.1, implying that the coupling

   between the Si and Si states in the fa region is strong.

      In contrast, examination of the potential surface in the region near fa, employing averaging

   over only the two states So and Si, leads to results which differ considerably from those obtained

   when all three states are involved in the average. This is demonstrated in the inset in Fig. 6.1,

   which shows that the separation between the surfaces becomes less than 1 kcal/mole in this case.

   Most likely, the crossing between SQ and Si is of the "conical intersection" type [30]. Clarification

   of this matter requires consideration of further retinal degrees of freedom in the crossing region,


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  e.g., of the stretch vibration of the C I 3 = C M bond [30]. Calculations performed for a smaller retinal

   analogue indicate, indeed, the existence of a conical intersection between So and Si [17].

      The features outlined suggest that a sufficiently strong non-adiabatic coupling between the

   Ez,bR and E\ surfaces near fa is required for the photoisomerization process to induce the necessary

   transition i%,bR -» Ei, while weak interaction between the E\ and the Ei surfaces are preferable,

   since the latter favors continuation of the torsion on the E\ surface (see Fig. 6.2) towards the 13-cis

  geometry.




                 I I          i         i          I         i          i          I        I
                 trans                           go                              cis
                                                  Angle (4>)

  Figure 6.3: Energy of the C13-C14 torsional degree offreedom#13-14 as a function of the torsional
  bond angle fa i.e., [#13-14 (£), fat)] trajectory, for a sample molecular dynamics simulation, com-
  pared to the three non-adiabatic energy surfaces Ei,Ei, and Ez,bR shown in Fig. 6.2. Initially
  retinal is promoted in the all-trans geometry from Ei to #3,bR," subsequently, retinal crosses to Ei
  near <f> = fa. At <f> = fa retinal may choose to continue its motion along Ei to reach the 13-cis
  geometry as shown, or it may cross to Ei to reform the all-trans state (not shown).


      As outlined in Methods, the non-adiabatic potential surfaces in Fig. 6.2 served to carry out a

  combined quantum/classical mechanical simulation, resulting in trajectories which provide coordi-

  nates, e.g., the torsional angle of the Ci3=Ci4 bond fat), as well as selected observables, e.g., the

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  energy #13-14 define in eqn. (6.5). Figure 6.3 presents the [#13-14 (*), 4>(t)] diagram of a typical

  trajectory resulting from a 1 ps simulation. Retinal is excited initially in the all-trans geometry

  by a 568 nm photon, i.e., placed on the #3,bR surface at <f> = 0 [c.f., eqn. (6.3)]; after a time T\

  the system crosses to the surface #%, where it quickly descends to the second crossing point fa

  at time r 2 . Here, after a brief period of meandering near the crossing point, the system chooses

  to continue along #1 to complete the photoisomerization and reaches the 13-cis geometry. The

  energy #13-14 (t), initially, follows closely the potential surfaces, but at the end of the photoreaction

  deviates significantly from the surface Ei[fat)], reflecting the fact that the system is trapped in a

  mixed quantum state.

     The character of the quantum state is characterized by the diagonal elements pjj, j = 1,2,3

  of the density matrix, which describe the occupancies of the three electronic states corresponding

  to the surfaces #1, Ei, #3,bR- These occupancies are shown in Fig. 6.4. Following excitation, i.e.,

  at to = 0, the occupancies of states corresponding to #1 and         #3 ) D R   oscillate rapidly for about

  200 fs due to the energetic proximity of the surfaces. The system is then seen to switch rapidly

  to the surface #1, whereupon a fast torsion moves the system in a time AT (see Table 6.1) to the

  second crossing point with the surface #2. Rapid oscillations are again discernible at this stage,

  mixing the states corresponding to #1 and #2; due to the rather weak non-adiabatic coupling

  Vu = 0.5 kcal/mol, the system chooses to stay on the #1 surface. However, beyond the crossing

  point the states corresponding to #2, #3,bR remain populated to a significant degree. Due to

  environmental relaxation effects, not accounted for in our description, the occupancies of these

  states should vanish within about ten femtoseconds as demonstrated recently for a hydrated electron

  for which relaxation effects are expected to be stronger, however, than in the present case [151].

  The neglect of this decay is a shortcoming of the approach adopted here which, as a result, can

  lead to unphysical "average" final states, when in reality the system would choose between one of

  many possible outcomes with some probability distribution.

     In all our simulations of the photoisomerization event in bR and its mutants, the final product

  exhibited over 50% occupancy of either of the states corresponding to #1 or #2; in the example


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                                                             Average
                                                                           \         . _ —_




                                                                       0                      1
        I
                                                                                     E2
                                                                                     E3.bR



                               J<SS»m^m m
                                                          0.6                  0.8
                                                Time (ps)

   Figure 6.4: Occupancies Pjj(t) of the three non-adiabatic potential energy surfaces #1, #2, and
   #3,bR as a function of time for the [#i3-i4(t), fat)] trajectory shown in Fig. 6.3. In the inset are
   shown the occupancies averaged over all simulations which resulted in 13-cis retinal.

   shown in Figs. 6.3, 6.4, the occupancy is almost 90%. After completion of the photoisomerization,

   our simulations switched from the DME approach to the torsional potential as used in conventional

   simulations.

      An alternate scheme which has been employed in combined quantum/classical molecular dy-

   namics simulations is the surface-hopping algorithm [170]. In this scheme, the system is taken to

   occupy only one state at any given time; after each integration time step, the system may switch

   from the current state to another state with a probability designed to minimize the number of tran-

   sitions while providing the correct statistical occupation of each state. A benefit of this method is

   that it will generate proper asymptotic behavior since the system cannot occupy an average state.

   The probabilistic nature of the method, however, requires in many cases a large number of itera-

   tions for proper convergence. Thus, application of the surface-hopping algorithm in this chapter



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   was not feasible due to the extensive computational requirements.

      A total of 100 simulations of the photoisomerization of wild-type bR were carried out resulting in

   trajectories like the one shown in Figs. 6.3, 6.4. Fifty simulations were also completed for the D85N

   and D212N mutants of bR, by replacing the potential surface #3,bR by the surfaces #3,D85N and

   #3 j)2i2N shown in Fig. 6.2. The simulations for the mutants required simulation periods of 1-12 ps

   due to the longer time required for retinal in D85N and D212N bR to cross to the # i potential

   surface. The results of the simulations are presented in Table 6.1. For each set of simulations,

   the fraction of trials which completed the all-trans -»13-cis isomerization were identified and the

   average crossing times n and r 2 were determined.

                                                   Bacteriorhodopsin Mutant
                                                  bRggg       D85N       D212N
                               \rnax             568 nm      615 nm      585 nm
                           Simulations               100          50          50
                         13-cis Products              71          30          37
                         Case 1 Products            66%         83%         84%
                         Case 2 Products            34%          0%          5%
                                                  152.2°      144.1°      148.7°
                                n                 332 fs     5.59 ps     3.24 ps
                                fa                   90°         90°         90°
                                Tl                462 fs     5.73 ps     3.42 ps
                                AT                130 fs      140 fs      178 fs
                       TI (mutant)/r2 (bR)             -        12.4         7.4

   Table 6.1: Summary of photodynamics simulation results, fa and fa are torsional angles of the
   Ci3=Ci4 bond at the first and second crossing points; n and r 2 are the average times required to
   reach these points. AT is the difference between r 2 and ri.

      In the 100 simulations of wild-type bR, 7113-cis products emerged. Trials which failed to form

   a 13-cis isomer either did not move beyond the first crossing point fa or switched to the surface

   #2 at the second crossing point fa, i.e., such trials reformed all-trans retinal. The simulated

   photoisomerization quantum yield measured 0.71 for wild-type bR, matching closely the observed

   quantum yield of 0.64 ± 0.04 [143, 60]. The agreement, however, is a consequence of the choice of

   coupling between the # i and #2 surfaces as stated in Methods.

      Time-resolved spectroscopy of bR has revealed two fast processes, one occuring within 200 ± 70 fs



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   [37], and the other occuring within 500 ± 100 fs [99, 37, 40]. The observations were interpreted

   to suggest that photoexcitation is followed by rapid progression along the reaction coordinate from

   all-trans to 13-cis during the initial 200 fs. More recently, however, femtosecond spectroscopy cov-

  ering an extremely wide spectral range has indicated a lack of a spectral shift of induced absorption,

  indicating a flat excited state surface; the observations revealed also a relaxation processes with a

  decay time of 370 fs [64]. The #3,bR -*• # i crossing at n = 332 fs can explain the observed fast

  decay.

      Figures 6.3, 6.4 show the behavior of a single, albeit typical, quantum/classical mechanical

  trajectory. Of interest is the average behavior of bR. The inset in Fig. 6.4 shows the time evolution

  of the density of the states corresponding to the surfaces # i , #% and #3,bR averaged over all 71

  simulations which formed 13-cis photoproducts. The time at which the occupation of #3,bR and # i

  intersect is n , while r 2 is near the time where the occupation of E\ exceeds 50%. One can discern

  that retinal photoisomerizes within about 500 fs to the 13-cis geometry with a final populaton of

  the # i surface, on average, of about 80%.

      For the D85N and D212N mutants of bR the dynamics of retinal after light excitation is signifi-

  cantly slower in the initial phase. This is due to the fact that the surfaces #3,D8N and #3JD212N cross

  the # i surfaces at higher energies than in case of the #3,bR -»- # i crossing. As a result, for D85N

  bR, of which 30 of 50 simulations formed 13-cis isomers, the average time to the first crossing point

  was 5.59 ps. In case of D212N bR with 37 out of 50 completing the 13-cis isomerization, the first

  crossing occurred at 3.24 ps. Interestingly, the time between the first and the second crossing, AT,

  measured approximately the same for native bR and for its D85N or D212N mutants; the mutants

  spent the major part of the reaction time before encountering the first crossing point.

      In previous molecular dynamics simulations of the photoisomerization of retinal in bR [75,147],

  the isomerization products assumed two distinct structures: case one structures, in which the Schiff

  base N-H+ bond is oriented towards the cytoplasmic side of the protein, and case two structure, in

  which twists around retinal's single bonds oriented the N-H + bond to point parallel to the plane of

  the membrane and to remain connected to Asp-85 via hydrogen-bonds with an intermediate water


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   molecule. The latter product was identified with the K590 intermediate which actually initiates the

   proton pump cycle [75, 147, 187]. Figure 6.5 compares the retinal binding site region for a case

   one (Fig. 6.5b) and case two (Fig. 6.5c) with the all-trans retinal binding site (Fig. 6.5a). The

   combined quantum/classical simulation of the present chapter led to 66% case one products and

   34% case two products formed. This distribution is similar to that in the earlier simulations (58%

   and 36%, respectively). The present work supports, therefore, the conclusions reached previously

   regarding a possible mechanism of bR's pump cycle [147,187].




   Figure 6.5: (a) Retinal and its binding site in bR, including residues Asp-85, Asp-212, and internal
   water molecules, (b) Case 1 13-cis photoproduct. (c) Case 2 13-cis photoproduct.

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   6.4     Discussion

  The excited state dynamics of retinal in bR, starting from light absorption into the first excited

  state, proceeds rapidly as a torsion around the Ci3=Ci4 bond and is characterized by two crossing

  events: one crossing involves relatively strong non-adiabatic coupling between the first and second

   excited states at a nearly 30° torsion 332 fs after light absorption; a second crossing occurs between

   the second excited state and the ground state, in which retinal moves essentially along a steep non-

  adiabatic surface, completing a 60° motion in another 130 fs. A choice of non-adiabatic couplings of

  the order of 1 kcal/mol can explain the overall quantum yield. Due to interaction with the protein,

  two isomerized reaction products arise, one with the Schiff base proton in hydrogen bond contact

  with Asp-85, the other with the Schiff base proton pointing to Asp-96 on the cytoplasmic side.

  6.4.1    First Crossing

  Following photoexcitation from the ground state surface # i to the excited state surface #3,bR,

  retinal rotates around its Ci3=Ci4 bond until it reaches the first crossing point fa. In this region,

  interaction with the nearly degenerate excited state #2 allows the system to overcome the slight

  energy barrier before crossing to #1. For the wild-type, this crossing point was reached after

  332 fs, which compares quite well with time-resolved spectroscopy measurements of this process by

  Hasson and coworkers if one associates the observed 370 fs fast relaxation process [64] with the

  crossing event. The near degeneracy of the surfaces #i(0) and #3,bR(0) for small angles <f> implies

  a continuous interaction which prepares retinal for the crossing and induces it for a relatively small

  non-adiabatic coupling; thus, the interaction of the system in the region of the first crossing region

  does not affect the quantum yield. In almost all simulations, retinal eventually surmounted the

  slight all-trans -> fa energy barrier of 1-3 kcal/mol. The important characteristic of the initial

  phase of the excited state dynamics is that retinal remains very close to its all-trans geometry;

  rapid torsion sets in only after the first crossing is completed.




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   6.4.2    Second Crossing

   Upon reaching the second crossing point fa, near the 90° torsion, retinal makes a non-adiabatic

   transition to the ground state characterized by very weak coupling between the respective non-

   adiabatic surfaces. Essentially, retinal moves along the non-adiabatic surface #i(<£) (see Fig. 6.2),

   halting briefly at the crossing point as shown in Fig. 6.3. The brief halt at the crossing points

   makes it unlikely that this stage of the photodynamics can be identified with the Jg% intermediate.

   The crossing determines, however, the quantum yield of formation of 13-cis-products; the observed

   value of 0.71 [143, 60] is reproduced only for a weak coupling Vu = 0.5 kcal/mol. The second

   crossing point is reached within 462 fs for wild-type bR, while a slower decay process on the order

   of 1 ps has been observed by Hasson et al. [64]. The difference may stem from an asymmetry in

   the real potential energy surfaces or from an alternative interpretation of the observed relaxation.

   6.4.3    P h o t o d y n a m i c s of b R M u t a n t s

   The D85N and D212N mutants of bR exhibit strongly increased fluorescence life times without

   changes in the quantum yield [157], a behavior which is explained well by the three state model

   through an increase of the barrier for the first crossing event. The schematic potential surfaces

   employed in the simulations cannot be expected to reproduce exact crossing times. The close

   agreement for wild-type bR is due to the choice of the coupling Vu = 1 kcal/mol. Nevertheless,
   our results provide a possible explanation of the behavior of bR mutants. Assuming that the

   crossing times are governed by a Boltzmann distribution at the crossing point fa relative to the

   all-trans position, and that the crossing points are at the same absolute height, the ratio of the

   mutants' excited state lifetimes to that of bR is

                                    VZ,mutant ^        [A#3,mtttttnt ~ A#3,Wtl                      ,_ -*
                                                                                                    (6 7)
                                      T2,6R    ~"*[                kT        J'                       '

   where AEz,mutant - Ez,mutant(fa) - Ez,mutant(trans). Accordingly, mutations which shift the
   retinal absorption to the red increase the barrier to photoisomerization and lead to longer excited
   state lifetimes. Inserting for AEz,muumt in eqn. (6.7) the values corresponding to the spectral shifts


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   experienced by the D85N and D212N mutants predicts lifetime increases by factors of 20 and 1.8,

   respectively, for the mutants.

      The quantum yield for mutants such as D85N and D212N has been found experimentally to be

   similar to the wild-type value [92, 91], and the yield obtained for these mutants in our simulations

   was likewise similar (0.60 and 0.74 for D85N and D212N, respectively, compared to 0.71 for the

   wild-type).

   6.5     Conclusions

   In summary, combined quantum/classical simulations of the bR photoisomerization supports a

   new model of the very early events in the bR photocycle, differing from previous models based on

   ultrafast spectroscopy [99, 37, 40]. In the new model, photoexcitation of retinal is followed not

   by rapid movement along the reaction coordinate due to excitation into a repulsive Frank-Condon

   region, but by motion along a relatively flat excited state surface until crossing to a region with

   a second excited state, which exhibits a steep potential gradient inducing rapid isomerization. A

   proper description of this behavior requires inclusion of at least the first two excited states. The

   observed spectral and fluorescent changes occuring within 1 ps after photoexcitation of bR arise

   due to non-adiabatic transitions between the excited states and an excited state and the ground

   state. A significant fraction of the excited state lifetime is spent surmounting a small energy barrier

   before reaching the first non-adiabatic crossing region. Thefluorescencelifetime of bR is controlled

   by this barrier and can be altered strongly through mutations which affect the relative stability of

   retinal's two lowest excited states.




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  Appendix A

  Molecular Dynamics: The Program
  NAMD 1

  A.l         Introduction

  The primary bottleneck in molecular dynamics simulations is evaluation of the non-bonded inter-

  actions, Unonbond ui eqn. (2.4). While processors speeds have unproved dramatically in the years

  since the initial application of MD to biopolymer systems, still more performance is necessary to

  make possible simulation of large systems, e.g., proteins on the order of 10 s ... IO6 atoms or larger.

  One promising method for increasing the net processor performance is to use the peak capabilities

  of parallel computing platforms such as dedicated large-scale parallel computers or clusters of high-

  performance workstations. This requires a molecular dynamics program which runs efficiently on
  such platforms. The program NAMD [112,113] has been developed with this goal in mind.

         The key design elements of NAMD are a spatial decomposition strategy to partition the parallel

  computation tasks, as well as a multi-threaded, message-driven method of execution. This design

  uses a number of independent computation tasks for each processor in a parallel computer, instead

  of one single task; control is transferred between threads based on availability of messages from

  other processors, which reduces inefficiency due to communication latency.

         NAMD is written in C++, an object-oriented extension of the C programming language. It

  implements the CHARMm energy function (eqn. (2.4)), the same as that used by the programs
     1
      Portions of this appendix have been taken from the manuscript: M. Nelson, W. Humphrey, R. Kufrin, A. Gursoy,
  A. Dalke, L. Kale, R. Skeel, and K. Schulten, MDScope — A visual computing environment for structural biology,
  Comp. Phys. Comm., 91:111-133, 1995.


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    CHARMm [21] and X-PLOR [26], and understands molecular parameter, structure, and coordi-

    nate files in the same formats as used by X-PLOR The remainder of this appendix describes the

    important features of NAMD, in particular, the methods used to parallelize a molecular dynamics

    simulation.

    A.2       Parallelization Strategy

    NAMD views the parallel hardware as a set of N independent processors, each with an associated

    amount of memory (i.e., a distributed-memory model), and each connected via an underlying inter-

    processor communication network. Parallelization of the MD force evaluation requires efficient

    partitioning of the computation tasks among these processors, with a minimum of communication

    between the nodes. One method used in other MD applications to parallelize the force computation

    involves dividing the tasks using various forms of force decomposition [22]. This method suffers,

    however, from poor scalability to larger number of processors.

        A more efficient parallelization method for MD is spatial decomposition, implemented in NAMD

    by dividing the volume of space occupied by the molecule into uniform cubes referred to as patches.

    Figure A.l shows a sample decomposition into patches of the volume surrounding a simple polypep-

    tide. With this strategy, each patch is assigned to a processor, which is responsible for computing

    the force on the atoms within that patch. When a cutoff distance for the electrostatic interactions

    is employed, and the size of the patches to set equal to this cutoff radius, then computation of

    the atomic forces in a patch requires knowledge only of the coordinates of atoms in the immediate

    neighborhood of the patch. Generally, many more patches than processors exist, and so several

    patches are assigned to each node. This provides a useful mechanism for load-balancing during

    the simulation: patches may be reassigned among the processors to even the work load for greater

    efficiency.




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                  Figure A.l: Spatial decomposition of a small polypeptide in NAMD.

   A.3     Message-Driven Execution

   Efficient use of a parallel architecture requires limiting the amount of time each processor spends

   waiting for data from other nodes. In a program employing spatial decomposition, if only a single

   large patch were used on each CPU, significant time can be lost in gathering data from other

   processors. This inefficiency may be due not only to network communication latencies, but to

   processor load imbalances, i.e., the sending node might be busy with other tasks and thus not be

   able to send the data when the receiver is ready for it.

      To reduce this idle time, NAMD employs a mult-threaded execution model in which each patch

   acts like a logical thread of control. During a simulation time step, each patch transmits messages


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   between itself and neighboring patches (which may reside on the same physical processor). A patch

   is allowed to perform some computation (scheduled), such as calculation of the pair-wise forces

   between atoms on that patch and on a neighbor patch, only when a message arrives for that patch.

   This message-driven design, illustrated in Fig. A.2, reduces processor idle time by increasing the

   amount of overlap between computation and communication.


                                   Multiple Threads of Control

                    Processor N
                Patch i

                                  Patch 2

                Patch 3
                                  Patch 4

                                                                       Time


                                     Single Thread of Control

                    Processor N

                        Patch 1

                                                                       Time


                                         Busy-                          Idle
   Figure A.2: Comparison of single-threaded and multi-threaded execution patterns. Multi-threaded
   execution allows another patch to be scheduled for execution when one is waiting for data. Single-
   threaded execution, without this flexibility, suffers longer periods of idle time waiting for messages
   from other nodes.




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   Appendix B

   Molecular Graphics: The Program
   VMD1

   B.l      Introduction

   The burgeoning number of experimentally-resolved biomolecular structures has resulted in an in-

   creasing need for computational tools for molecular visualization and analysis. Several excellent

   packages exist for the graphical display of static molecular structures, such as RIBBONS [29],

   XMol[105], Midas [52, 51], SET0R[49], GRASP [115], and others. Molecular dynamics (MD) stud-

   ies of the function of the structurally known biopolymers are being widely applied. The results

   of such studies, however, are typically large molecular trajectory files, which represent substantial

   amounts of dynamical data which require suitable visualization tools, e.g., to initiate molecular dy-

   namics simulations and to display sequences of structures. The increased speed and the paralleliza-

   tion of computers makes it possible today to carry out molecular dynamics studies interactively, in

   order to probe key properties of biopolymers such as potential energy barriers along chosen reaction

   pathways. This approach requires a new molecular graphics user interface.

      The program VMD [76] has been developed for interactive graphical display of molecular sys-

   tems, in particular biopolymers such as proteins or nucleic acids. The motivation for the develop-

   ment of VMD has been to provide a well documented and freely available program that is easy to

   use and modify, and which addresses several challenges in molecular graphics including:
     'Portions of this appendix have been taken from the manuscript: W. Humphrey, A. Dalke, and K. Schulten, VMD
   — Visual Molecular Dynamics, J. idol Graphics, 14:33-38, 1996.



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      • support for the display of dynamic data such as molecular trajectories generated by molecular

         dynamics calculations;

      • direct interaction with a separate molecular dynamics application, in order to provide a

         graphical user interface and visualization console for the simulation program;

      • the capability to work with three-dimensional, immersive display devices such as a large-screen
         stereo projection facility;

      • text-based as well as mouse-based user interface controls, including user-customizable menus

         and program extensions using an interpreted scripting language;

      • display of molecules in a wide range of rendering styles easily selected by the user;

      • production of high-quality hardcopy images of currently displayed molecular systems.

      This appendix describes the features and structure of the program VMD, first mentioning the

   current implementation of the program, and then discussing the major program capabilities and

   functionality. We then describe the use of VMD, coupled with a large-screen stereo projection

   system, as a collaborative tool for several researchers to employ for analysis and discussion of

   molecular assemblies. Finally, we discuss the use of VMD for interactive molecular dynamics

   modeling, and list the current availability of documentation and source code.

   B.2      Implementation

   VMD is written in C + + using an object-oriented design which assists maintenance of the program

   and the addition of new features. The distribution of VMD includes documentation describing

   how to compile, install, use, and modify the program for different hardware and software config-

   urations. VMD requires either the Silicon Graphics Inc. GL library or the OpenGL library for

   three-dimensional graphics rendering.

      A sample VMD session is shown in Fig. B.l. This snapshot illustrates the three components of

   the user interface: the graphics display window, the graphical user interface windows, and the VMD


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   Figure B.l: Sample VMD session, illustrating the use of the graphical user interface and text
   console for the display of the protein BPTT bound to trypsin. Molecules are rendered in the diplay
   window shown in the upper-right corner of the figure, while components of the GUI are shown at
   the left. Below the display window is the text console interface for VMD.

   console. On the right in Fig. B.l is the graphics display window, in which molecules are rendered

   and interactively rotated, translated, and scaled via mouse controls. A user-customizable pop-up

   menu is available in this window. The image shown in the graphics display window is referred to

   as the current scene. VMD contains options for rendering the scene to a high-quality raster image

   file as described below.

      VMD uses XForms [188] for the graphical user interface, which uses a collection of forms to

   represent the graphical controls available to the user. Examples of some of the forms available in



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   VMD are shown on the left in Fig. B.l. The graphical user interface (GUI) in VMD includes a

   toolbar which provides access to the specific forms for tasks such as changing the current molecular

   display characteristics or animating selected molecules using molecular dynamics trajectories.

      Below the graphics display window in Fig. B.1 is the VMD text console, which displays infor-

   mative messages and provides a command prompt for keyboard control of the program. All actions

   in VMD are available via text commands; full session logging and playback is possible. Users can

   write scripts which may be run at any time, and which can be executed, for example, by entering a

   short text command or through a user-customized pop-up menu selection. VMD employs Tel [124],

   an embeddable interpreted script language parser, to process text commands. Tel provides a full

   set of scripting capabilities for the program, and makes possible complex features such as variable

   substitution, conditional expressions, control loops, and subroutines. A user-customizable configu-

   ration file is read when VMD starts up, which may be used to define a personalized VMD working

   environment and to define new commands and program extensions, as well as to create customized

   pop-up menu controls.

   B.3     Capabilities

   New molecules are read into VMD from a set of molecular structure/coordinate files, or may be

   read from a single coordinate file. The molecular structurefilecontains static information about the

   system, such as bond connectivity and atomic mass and charge values. The molecular coordinate

   file contains the positions of all the atoms which make up the molecule. When a structure file

   is not provided, the bond connectivity for each atom is determined by VMD through a nearest-

   neighbor distance search. VMD understands the CHARMm [21]/X-PLOR [26] compatible PSF

   protein structure file format, and the Brookhaven PDB [13] coordinate file format. In addition to

   molecular file formats, VMD can read and display images in RasterSD [103] input file format.

      Due to the large number of molecular data file formats currently in use, VMD implements an

   interface to the program Babel [180] to read data from formats other than PDB or PSF. If Babel

   is installed, it is used to convert files from alternate formats into PDB format before being read by


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  VMD. This also includes multiple-coordinate-set data files, such as those in XYZ format.

     A key feature in VMD is the ability to work with molecular dynamics simulation programs,

  and to display the simulated molecule as its motion is computed (as discussed below). Thus, new

  structures may be loaded into VMD through connection to a running simulation, instead of being

  read from a file. Once loaded, however, a structure obtained from a network connection is treated

  in the same manner as if read from disk.

  B.3.1    A n i m a t i n g Molecular S t r u c t u r e s

  For each molecule displayed by VMD there is an associated animation list, which is a collection

  of atomic coordinate sets for the molecule. Controls are available to play back the trajectory,

  with options to control the animation speed, frame increment, and animation direction. New

  trajectory coordinate sets may be read from PDB files, or from DCD files binary compatible with

  the molecular dynamics/refinement programs CHARMm [21] and X-PLOR [26]. These coordinate

  sets may be loaded when the molecule is initially read into VMD, or may be loaded later. A

  molecular trajectory editor is also available, with options to delete specific frames or sets of frames

  from the animation list, and to write coordinate sets to files.

  B.3.2    Displaying Molecular S t r u c t u r e s

  Any number of molecules may be displayed and manipulated in the graphics display window, as

  shown in Fig. B.l. Each structure is drawn as several representations, or views, of the molecule.

  Multiple views of a molecule may be shown simultaneously to create a complex image of the system.

  A view is just one particular method of drawing the molecule, and consists of three characteristics:

     1. An atom subset selection, which determines which atoms are to be included in the view.

     2. A rendering style, which determines the primitives used to draw the atoms, bonds, and other

       molecule components. Table B.l lists many of the rendering styles available in VMD.

    3. A coloring method, which determines what color to use for the components of the view.

       Numerous coloring methods are available, some of which are listed in Table B.2.

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                  Style                                   Description
                Lines      Simple lines for bonds; points for atoms
                Bonds      Lighted cylinders for bonds; no atoms
                VDW        Solid, lighted van der Waals spheres for atoms; no bonds
                CPK        Scaled van der Waals spheres for atoms; cylinders for bonds
                Dotted Dotted van der Waals spheres for atoms; no bonds
                Licorice Solid spheres and cylinders with equal radii
                Tube       Cylindrical tube through Cft atoms'*
                Ribbon Flat ribbon through C tt atoms0
                Surf       Solvent-accessible surface of selected atoms6
                a
                  For nucleic acids, the P atoms are used.
                6
                  Using the SURF algorithm [178] developed at the University of North Carolina.
                    Table B.l: Selected molecule rendering styles available in VMD.

      Views are created or modified via text commands or, more easily, by using the graphical interface

   controls. Figure B.2 shows a detailed representation of a protein dimer complexed with a segment

   of DNA. Molecules may be displayed using either an orthographic or a perspective projection.

      The atom selection capabilities of VMD are quite extensive, and include a flexible syntax for

   complex selection expressions. Each atom in a molecule has several characteristics; keywords are

   used to select the atoms which have values matching a specified criterion. For example, each atom

   has a set of character string names, an (x,y,z) position and other numeric values such as charge

   and mass. Each atom also has boolean characteristics identifying it, for example, as a member of

   an amino acid or nucleic acid or as part of the protein backbone. Boolean operations may be used

   to select atoms based on multiple characteristics, and parentheses may be used to select the order

   of evaluation. For example, the selection

         (resname ASP or resname GLY) and mass > 11

   selects all atoms which are in aspartic acid or glycine residues, and which have a mass greater than

   11. Similarly, the selection

        backbone and within 8 of r e s i d 100

   selects all backbone atoms which are within 8 units (e.g. within 8 A) of residue 100. Regular

   expressions may be used in strings to quickly specify many different names in a selection. When

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  Figure B.2: A protein-DNA complex, visualized with VMD. The double-helix structure of the
  DNA is clearly visible in the lower portion of the figure; above this are two identical protein
  segments bound to the nucleic acid sequence. The system is shown as a collection of different
  representations, to produce a complex image highlighting the secondary structure, location of ions,
  and solvent-accessible surface of subsections of the molecule.

  a selection changes during a trajectory (such as the atoms within some radius of another set of

  atoms), the user can request an update of the selection each time a new animation timestep is

  displayed.

     When displaying solid objects, VMD can make use of available hardware-accelerated lighting

  capabilities, a capability exploited in other molecular visualization packages such as SETOR[49].

  Up to four independent, infinitely-distant light sources may be positioned in the scene and used

  to illuminate the displayed objects. Each light can be turned on or off, and may be interactively

  moved to new positions with the mouse.



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             Style                             Description
           Name      Color determined by atom name
           Resname   Color determined by residue name
           Segname   Each segment is shown in a different color
           Molecule  Each molecule is shown in a different color
           Chain     Color determined by one-character chain identifer
           Beta      Color scale based on the beta values of the PDB file
           Occupancy Color scale based on the occupancy values of the PDB file
           Mass      Color scale based on the atomic mass of each atom
           Charge    Color scale based on the atomic charge of each atom
           Pos       Color scale based on the distance of each atom from the center
                                                                                       =

                      Table B.2: Selected molecule coloring styles available in VMD.

   B.3.3     R a s t e r I m a g e Generation

   An interface to a number of image rendering packages is provided in VMD which can be used to

   create input scripts for use by these programs. The generated input scripts may then be read by the

   selected package, to create a raster output image of the graphics scene displayed by VMD suitable

   for publication or slides. Table B.3 lists the currently supported image rendering packages.
                     Name                    Description
                    RasterSD Fast raster file generator
                    POV      Persistence of Vision ray tracing package
                    Rayshade Rayshade ray tracing package

                         Table B.3: Available rendering program output formats.


      The capability to create input scripts for image rendering programs may be combined with the

   Tel scripting language available in VMD to easily create high-quality movies of a molecule. As an

   example, the following script may be used to create a series of images showing a previously loaded

   molecule rotating about the 'Y' axis, by creating input scripts for the Raster3D [103] program which

   are processed immediately after they are created:

        ### Tel s c r i p t t o create a RasterSD movie of a rotating molecule
        for { set i 0 } { $i < 360 } { set i [ expr $i + 10 ] } {

            ### create and process a Raster3D s c r i p t

            set s c r i p t f i l e "rotate.$i.r3d"

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             set imagefile "rotate.Si.rgb"

             render RasterSD S s c r i p t f i l e

             catch { exec render < S s c r i p t f i l e -sgi (imagefile >

             ### r o t a t e the current image by 10 degree about the Y axis

             rot y by 10

         }

   After loading a molecule, this script would be invoked simply by typing (assuming it was in a file
   called movictcl): 'play movie.tcl'. More complex transformations are performed in a similar
   manner.

   B.3.4      Stereo Display

   The scene displayed in the graphics window may be rendered in stereo, to enhance the appearance

   and information content of the displayed systems. The stereo viewing parameters, which include

   the eye separation distance and the focal length, can be interactively controlled by the user. Two

   stereo display formats are available in VMD:

      1. A side-by-side stereo display, which splits the display window into two halves, a left-eye view

        and a right-eye view. This format may be used with all graphics display hardware, and is

        suitable for preparing images for publication.

      2. A crystal-eyes stereo display, which utilizes special hardware available on many graphics
        workstations to display stereo images to be viewed with liquid crystal-shuttered glasses.

      The stereo viewing modes may be used with standard display monitors, or with external stereo

   display equipment. As an example, VMD is currently being used with a three-dimensional projec-

   tion system for the display and analysis of molecules viewed simultaneously by several users. This

   system consists of a ceiling-mounted projector, echoing onto a large (6' by 8') screen the stereo

   images displayed on a graphics workstation monitor. The large-screen display makes it possible

   for many viewers to study collaboratively at a large magnification a biopolymer system; the stereo


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   display environment enhances the information content of the scene through the addition of visual

   depth cues. VMD contains several options to configure the graphics display for use with large-screen

   projection systems, e.g. to set the projection screen vertical and horizontal dimensions.

      One problem encountered when several people view the same computer-generated stereo image

   is that each person sees the scene from a different perspective. To help alleviate this problem,

   VMD supports the use of spatial tracking devices (such as the Polhemus Fastrak) which measure

   the 3D position and orientation of sensors relative to a fixed position, in order to provide a set

   of 3D pointers. VMD displays visual representations of the pointers on the screen, such that all

   viewers perceive the pointers at the same positions relative to the molecules.

      New features and user interface methods are currently being added to VMD for use with this

   stereo projection environment to provide a natural problem solving environment for structural

   biology. The goal of these enhancements is to help 'untie' the users from the keyboard, to make

   possible manipulation and analysis of molecular structures by several collaborators at the same

   time in a natural working environment. The user interface controls of VMD are being updated to

   make use of each available 3D pointer as a 3D mouse, that would be used for rotation and control of

   the molecules just as the normal, 2D mouse is used. Also being explored are an audio user interface

   to allow users to issue spoken commands. User interface controls such as these may eventually

   replace or augment keyboard and menu controls.

   B.3.5    Trajectory Analysis Tools

   VMD includes functions for analyzing molecular structures and trajectories. These functions access

   the internal VMD data structures to return or modify characteristics such as charge, mass, and

  position for individual atoms, residues, and molecules. More complex analysis capabilities, such

   as computing the RMS deviation or correlation functions of a dynamics trajectory, can then be

   implemented as Tel scripts without the need to modify the VMD source code.

      As an example, the following commands illustrate the use of the VMD analysis language to

  query and change the center of mass of a specific residue. The first step is to create an atom



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   selection and bind it to an identifier:

         vmd > set my.sel [atomselect top "resid 3"]

   Information about the atoms in this selection may then be retrieved using the "get" option:

         vmd > $my_sel get {name mass x y z}

         Info) iS 14.007 1.488 2.280 -0.863} {E 1.008 0.770 1.998 -1.467}

                    •CCA 12.011 1.981 3.643 -0.909} {CB 12.011 1.147 4.464 -1.880}
                    {C 12.011 1.865 4.326 0.444} {0 15.999 2.801 4.963 0.924}

   Using these atom selection commands, and a set of vector manipulation procedures implemented

   in Tel, the function to compute the center of mass of a selected set of atoms is then realized as

   follows:

         ### Tel procedure t o compute the center of mass of a set of atoms

        proc com {sel} {

              set atoms [$sel get {mass x y z}]

              set totalHass 0.0

              set com [veczero]

              foreach atom $atoms {

                  set mass [lindex $atom 0]

                  set pos [lrange $atom 1 3]

                  set totalHass [expr $totalHass + $mass]

                  set com [vecadd $com [vecscale $mass $pos]]

              }

              return [vecscale $com [expr 1.0 / $totalMass]]

        }

  The application of this procedure is straightforward; executing the new command "com" with a

  previously defined atom selection identifier as an argument returns the center of mass of the atoms

  in that selection:

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        vmd > com $my_sel

        Info) 4.59783 5.14667 4.275


  This information could then be used, for example, to move the center of mass of the atoms to some
  other position, for example to the origin:

        vmd > $my_sel moveby [vecinvert [com $sel]]

     In addition to the calculation of center of mass motion, several other Tel procedures are available
  in VMD for dynamic trajectory analysis including computation of RMSD values, autocorrelation
  functions, and Ramachandran plot (<f> — if> angle) data. New analysis functions can be easily
  developed and added to VMD by the user.

  B.4     Interactive Molecular Dynamics

  VMD is designed to act as a visualization console and graphical front end for a molecular dynamics

  application running on a remote supercomputer or high performance workstation. VMD uses a set

  of daemons and library routines, known as the MDCOMM software, to broker the communication

  of data and commands between VMD and a remote simulation program. The MDCOMM software

  interface is independent of the particular remote application; the daemons buffer data transfer

  between the application and VMD, and act as managers for the running jobs and interprocess

  communication. Once a particular simulation program has been suitably modified to work as an

  MDCOMM client, VMD can be used with that program without change.

     VMD is the visualization component of a larger set of computational tools for structural biology

  known as MDScope [112]. MDScope includes not only VMD and MDCOMM, but also the parallel

  molecular dynamics program NAMD [113]. NAMD is a parallel, portable molecular dynamics

  program written in C++, which implements the CHARMm force field [21] and contains numerous

  simulation options. NAMD uses a spatial decomposition algorithm to distribute the computation

  tasks among parallel processors, which partitions the volume of space occupied by the simulated

  molecule into uniform cubes, known as patches, assigned to different processing nodes. While


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   NAMD and VMD may be used independently of each other, taken together, VMD, NAMD and

   MDCOMM constitute MDScope. Information on MDScope may be obtained from the MDScope

   WWW home page, http://vw.ks.uiuc.edu/Research/mdscope.

      VMD provides an interface to initialize a new simulation, and can serve also to monitor and

   control certain simulation parameters. After a simulation is started and a connection between

   VMD and the application is made, molecular structures are communicated to VMD as they are

   calculated. The connection between VMD and a running simulation may be dropped and later

  reestablished, e.g., to allow a user to check on the progress of a running simulation without having

   to stop and restart the calculation. Molecules displayed in this manner may also be manipulated

  and rendered in the same fashion as molecules loaded from data files, and transferred molecular

  structures may be saved in an animation list for storage and playback.

  B.4.1    E x a m p l e of Use

  Figure B.3 illustrates an example of the use of VMD for interactive molecular dynamics. The

  first step in establishing a connection to a running simulation is to select a host computer, and

  to choose between starting a new simulation or reconnecting to a running job (Fig. B.3a). The

  initial connection to the host computer returns the lists of available applications and running

  simulations from a daemon running on the host computer. Selecting an available application in

  order to start a new simulation (in this case a simulation using NAMD) results in VMD requesting

  from the host computer the list of parameters necessary to start the job (Fig. B.3b). Once all the

  parameters are entered, the simulation program is launched, and the static molecular structure

  data are returned to VMD. As the molecular trajectory is computed, the coordinate sets are sent

  to VMD for display (Fig. B.3c). The available graphical user interface controls may be used to

  view or modify simulation parameters or display characteristics, or to terminate the simulation.

  Figure B.3c also shows several atoms together with the applied forces, the latter specified by the

  user with the mouse (the horizontal and vertical arrows). These forces have transformed the small

  polypeptide from an a-helix conformation to the form shown in the figure.



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      Once a connection to a running simulation has been established, VMD provides options to

   modify simulation parameters, such as the temperature, and remote connection parameters, such

   as the frequency with which coordinate sets are communicated from the simulation program to

   VMD. The user can also directly participate in the simulation through the addition of perturbative

   or guiding forces to selected atoms or residues, a feature developed and studied earlier in the

   program SCULPT [163]. Forces are added using the mouse to indicate the magnitude and direction

   of the additional interaction on selected atoms; these forces are communicated to the simulation

   program and incorporated into the dynamics.

      The use of interactive guiding forces in simulations of biomolecular systems is currently being

   applied or considered for a number of projects. Two systems being examined with these interac-

   tive tools are the protein bacteriorhodopsin, and the binding of biotin to the protein avidin. For

   bacteriorhodopsin (bR), a 26 kd membrane protein used to convert light energy into a proton gradi-

   ent for ATP synthesis in Halobacterium halobium [118], molecular dynamics simulations are being

   performed using interactive forces to guide the positioning of water molecules near key residues.

   Such water molecules could not be resolved in the experimentally determined bR structure, but

   are considered to play key roles in the proton transfer mechanism of bR Interactive forces are also

   being considered for the study of the interaction of the 32-atom biotin vitamin with the protein

   avidin. Avidin is a 15.6 kd protein found in tetrameric form in animal and reptile egg-white, which

   has a strong binding affinity for biotin [131]. Interactively applied forces could be used to pull biotin

   from the binding site in avidin, in order to shed light on the molecular mechanism of how avidin

   accomodates the biotin structure.

   B.5     Documentation and Availability

   Extensive documentation on how to use the visualization features of VMD and how to modify and

  extend the program is available. The following documents, in PostScript format, are provided via

   anonymous ftp:

      * an installation guide, describing how to compile and install VMD;

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      • a user's guide, explaining the capabilities and features of VMD;

      • a programmer's guide, listing the structure and layout of VMD and indicating how to add

         new capabilities.

   An on-line help feature is also available.

      The complete set of source code and documentation files for VMD, as well as a precom-

   piled binary for Silicon Graphics workstations, is available free of charge for noncommercial use

   via anonymous ftp from the ftp server ftp.ks.uiuc.edu, in the directory /pub/mdscope/vmd.

   Up-to-date information on VMD may be obtained by accessing the VMD WWW home page,

   http://www.ks.uiuc.edu/Research/vmd. VMD is available primarily for Silicon Graphics work-

   stations, running version 5 or later of the IRIX operating system. The program has also been

   compiled and run on Hewlett-Packard PA-RISC workstations running version 9 of the HP-UX

   operating system, and on IBM RS-6000 workstations running ADC.




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                             (a)                                             (b)




   Figure B.3: VMD being used to initiate and control a molecular dynamics simulation on a remote
   workstation, (a) Initially, VMD connects to a daemon running on the remote computer and requests
   a list of available applications and a list of currently running jobs, (b) After selecting an application,
   a list of required parameters for the simulation is retrieved, and isfilledin by the user, (c) Following
   the transfer of the completed parameter list to the remote host, the simulation program is launched
   and the molecular structure is returned to VMD. As the molecular trajectory is computed is it
   sent to VMD for display. The blue arrows indicate user-specified guiding forces being applied to
   selected atoms in the molecule, while the form at left displays the current simulation status and
   graphical user controls.


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    Appendix C

    Combined Quantum/Classical
    Simulations

   This appendix describes the derivation of the atomic forces which arise in the combined quan-

    tum/classical molecular dynamics simulations described in chapter 6. In this scheme, a single

   degree of freedom of the protein is treated quantum mechanically, while all other atoms in the

   molecule are treated classically.

    C.l    The Density Matrix Evolution Method
   C.l.l    Three-Level M o d e l H a m i l t o n i a n

   We consider here the case of a three-level system, dependent on a single coordinate q, which models

   a single molecular degree offreedomquantum mechanically. The system is assumed to be governed

   by the Hamiltonian
                                              (Ei(q)          Vu      Via   \
                                   H(q) =         Vu         32(g)    Vx                         (C.l)
                                              V Vxz           Vis    Ez(q) )
   where the diagonal elements Ei(q) represent potential energy surfaces for the system, and the off-

   diagonal elements Vj describe the coupling between surfaces i and j . In the discussion below, the

   Vij elements are taken to be constant, although this assumption could be relaxed in a more general

   derivation. Given an orthonormal basis set of stationary wavefunctions \fa(q)) for this system, the

   total time-dependent wavefunction \i/>{q, t)) is given by
                                                        3
                                        WW) = X>(*Mff)>-                                        (C2)
                                                       t=l


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   To describe the evolution in time of this system, we employ the density matrix p(t), where

                                          Pij(t) = ct(t)cj(t).                                  (C.3)

   The density matrix describes the evolution of the wavefunction subject to the Hamiltonian in (C.l),

   where the diagonal elements of p give the average occupation of each state, and the off-diagonal

   elements contain the relative phase of each component wavefunction \fa(q)). The density matrix

   has the properties of
                                                         2
                                         Trp = £ M           = 1                                (C.4)

   and

                                                  Pf = P,                                       (C5)

   and the average value of an operator A is given by

                                       (A) = (if>\A\ip) = TtpA.                                   (C.6)

   From (C.6), the expectation value of the energy of the system is then

                                     (H(q)) = V(q) = Tr , * ( ? ) .                             (C.7)

   Inserting (C.l) in (C.7), we then have for the potential energy of the system

                                    V(q) = 5>*£,-(g) + E * j % .                                (C8)
                                              i              i#j

   C.1.2    Derivation of Q u a n t u m Forces

   To couple this quantum degree of freedom q to the classically-treated molecular environment, we
   must determine the forces acting on the atoms involved in this degree of freedom and incorporate
   them into the numerical integration of the classical equations of motion. The net forces acting on
   the atoms in the degree of freedom q are then


                                           Fnet = Fc + Fam,                                     (C.9)




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  where Fc represents the "classical" forces arising from interaction with the surrounding molecular

  environment, and Fqm is determined from the negative gradient of the potential energy V(q) in

  (C.8):


                                       Fom(q) = ~^V(q)                                        (C.10)

                                                = -X>;|*(«)                                   (oil)
                                                           3
                                                = -E/%4m,<W-                                  (C.12)
                                                          t=i

  The second term in (C.8) drops out after taking the derivative. Here, Pqmjbl) is the force which
  would result from just the single potential energy surface Ei(q); the net force arising from the
  quantum degree of freedom is then just the average force from the three potential energy surfaces
  in (C.l), weighted by the occupation of each state (pa).
     As an example, in the study of the retinal photoisomerization reaction in chapter 6, the quantum
  mechanically treated reaction coordinate q is the Ci3=Cu dihedral angle rotation, which is a four-
  body interaction involving atoms C12, C13, Cw, and C15. The potential energy surfaces Ej(q)
  employed in the Hamiltonian matrix H, as shown in Fig. 6.2, have the form
                                      Ej(q) = kj[l+cos(njq      + Sj)],                       (C.13)

  which is the same functional form as the dihedral angle interaction term in the classical molecular
  dynamics force field. The force on each atom k involved in the Ci3=Cu dihedral angle due to the
  potential energy surface Ej(q) is then the negative gradient of this surface:


                                         Famjkiq) = -VfkEj(q)                                 (C.14)

  where q is a function of the atom positions r>.

  C.1.3    Evolution of t h e D e n s i t y M a t r i x

  In a combined quantum/classical simulation, we must compute the time evolution of the density

  matrix in conjunction with the computation of the classical and quantum mechanical forces. The


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  equation of motion for the density matrix of the quantum system is given by the Liouville-von

  Neumann equation,

                                                i> = j:\p,E\.                                          (CIS)

  In practice, to numerically compute the solution to (C.15), we must represent the complex-valued

  matrix p as
                                         ( ai-\rO%     61+A2       C1+IC2 \
                              H(q) =       h-ibi    1/2-ai  di+id2   ,                               (C.16)
                                         ^ ci — ici di— ia\ 1/2 — o% y
  where 0 1 . . . di are real quantities. Notice this representation preserves the properties of the density

  matrix that p* = p, and Trp = 1. Inserting (C.16) and (C.l) in (C.15), we obtain the following

  set of first-order, coupling linear differential equations which describe the evolution of the quantum

  system:

                                  2
                                                                                                    (C.17)
                         6l   =   ^[^2^23 — biVu]
                                  2
                         hi   =   -[—C2V13 — ^2^23]                                                 (C.18)

                         b\ = -A—diViz — C2V23 — biEn]                                              (C.19)

                         bi = ^[biEii-diViz+ciViz            +      (2ai+a2-l/2)Vu]                 (C.20)

                         Ci = -[-CiEzi + diVu — 62 Viz]                                             (C.21)

                         ci = ^[ci^i-diFi2+6iV23 + (o 1 +2a 2 -l/2)Vi3]                             (C.22)

                         di = -A-diEzi + ciVu + biViz]                                              (C.23)

                         di   =   r{di £ 3 2 - C1V12+ 61 Vi3 + ( a 2 - 01)^23]-                     (C.24)

  Here, Eij = Ei — Ej, where each energy surface E is evaluated at the current value of the reaction

  coordinate q. The solution of this system of differential equations may be computed numerically

  using, e.g., a fourth-order Runge-Kutta algorithm.

  C.1.4     Simulation Algorithm

  The algorithm for a classical molecular dynamics simulations combined with quantum mechanical

  treatment of a degree of freedom q is then as follows:


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      1. Initialize the density matrix p(t = 0) to indicate the initial quantum state of the system;

     2. For each time step in the simulation:

         (a) Calculate H(q) for the current reaction coordinate value q;

         (b) Update the density matrix p(t) through numerical solution of (C.15);

          (c) Find the forces Fqm for each atom in the degree of freedom q, using (appdforces) with

              the updated values of H(q) and p(t);

         (d) Calculate all other classical forces arising from the standard molecular dynamics force

             field, including the classical forces Fe acting on the atoms in the degree of freedom q;

          (e) Update the position of each atom in the molecule through numerical integration of the

             Newtonian equations of motion.

   The quantum system couples to the classical system through the forces Fqm- The classical equations

   of motion are then used to find the net force on the atoms and to update the positions of each

   atom, including the quantum reaction coordinate q. Thus, the external molecular environment acts

   essentially like a mean field which perturbs the quantum system.




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   Vita

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   1992. In January of 1992 he completed a M.S. degree at the University of Illinois, and joined

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